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                              No. 23-2185

  In the United States Court of Appeals
          for the Federal Circuit

                            LYNK LABS, INC.,
                                                    Appellant,
                                    -V-
                         HOME DEPOT U.S.A., INC.,
                                                    Appellee.
                  _________________________
On Appeal from the U.S. Patent and Trademark Office, No. PGR2022-00009

         Opening Brief of Appellant Lynk Labs, Inc.


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                             PATENT CLAIMS AT ISSUE
U.S. Patent No. 10,932,341, Claims 1-5:

      1. An LED lighting device comprising: a first operating LED circuit and at

least one additional LED circuit, at least one of the first operating LED circuit or the

at least one additional LED circuit including at least two LEDs connected in either

series or parallel, and the at least one additional LED circuit being configured to emit

a different color light compared to the first operating LED circuit; and a switch

capable of at least one of: (a) switching a voltage level input to at least one of the

first operating LED circuit or the at least one additional LED circuit, or (b) switching

the at least one additional LED circuit on or off, wherein (a) or (b) is selectable by a

user switching the switch, and wherein the LED lighting device is configured to

connect to an AC voltage power source.

      2. The LED lighting device of claim 1, wherein the switch has at least two

positions.

      3. The LED lighting device of claim 1, wherein the switching of the switch

provides at least two different DC forward voltages to at least one of the first

operating LED circuit or the at least one additional LED circuit.

      4.     The LED lighting device of claim 1, wherein the switch is connected

between the AC voltage power source and the LED lighting device.




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      5. The LED lighting device of claim 1, wherein the switching of the switch

changes light output of the LED lighting device.

U.S. Patent No. 10,932,341, Claims 7-12:

      7. The LED lighting device of claim 1, further comprising a driver

electrically coupled to the switch and at least one of the first operating LED circuit

or the at least one additional LED circuit.

      8. An LED lighting device comprising: a first operating LED circuit and at

least one additional LED circuit, at least one of the first operating LED circuit or the

at least one additional LED circuit including at least two LEDs connected in either

series or parallel, and the at least one additional LED circuit being configured to emit

a different color light compared to the first operating LED circuit; and a switch

capable of at least one of: (a) switching a brightness level of at least one of the first

operating LED circuit or the at least one additional LED circuit, or (b) switching the

at least one additional LED circuit on or off, wherein (a) or (b) is selectable by a user

switching the switch, and wherein the LED lighting device is configured to connect

to an AC voltage power source.

      9. The LED lighting device of claim 8, wherein the switch has at least two

positions.




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      10. The LED lighting device of claim 8, wherein the switching of the switch

provides at least two different DC forward voltages to at least one of the first

operating LED circuit or the at least one additional LED circuit.

      11. The LED lighting device of claim 8, wherein the switch is connected

between the AC voltage power source and the LED lighting device.

      12. The LED lighting device of claim 8, wherein the switching of the switch

changes light output of the LED lighting device.

U.S. Patent No. 10,932,341, Claims 14-19:

      14. The LED lighting device of claim 8, further comprising a driver

electrically coupled to the switch and at least one of the first operating LED circuit

or the at least one additional LED circuit.

      15. An LED lighting device comprising: a first operating LED circuit and at

least one additional LED circuit, at least one of the first operating LED circuit or the

at least one additional LED circuit including at least two LEDs connected in either

series or parallel, and the at least one additional LED circuit being configured to emit

a different color light compared to the first operating LED circuit; and a switch

capable of at least one of: (a) switching a voltage level input to at least one of the

first operating LED circuit or the at least one additional LED circuit, or (b) switching

the at least one additional LED circuit on or off, wherein (a) or (b) is selectable by




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switching the switch, and wherein the LED lighting device is configured to connect

to an AC voltage power source.

      16. The LED lighting device of claim 15, wherein the switch has at least two

positions.

      17. The LED lighting device of claim 15, wherein the switching of the switch

provides at least two different DC forward voltages to at least one of the first

operating LED circuit or the at least one additional LED circuit.

      18. The LED lighting device of claim 15, wherein the switch is connected

between the AC voltage power source and the LED lighting device.

      19. The LED lighting device of claim 15, wherein the switching of the switch

changes light output of the LED lighting device.




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                         CERTIFICATE OF INTEREST
     I certify the following information is accurate and complete to the best of my

knowledge.

                                Respectfully submitted,

                                /s/ Stephen P. McBride
                                Counsel for Appellant Lynk Labs, Inc.


1.     Represented Entity

       Lynk Labs, Inc.

2.     Real Party in Interest

       N/A

3.     Parent Corporation and Stockholders

       N/A

4.     Legal Representatives
       Other than counsel already entered an appearance in this court, the following

counsel have made previous appearances in related or lower court proceedings:

     Jason A. Engel, Katherine L. Allor, Erik J. Halverson, and
     Dennis J. Magewski of the firm K&L Gates

5.     Related Cases

       A Notice of Related Case Information was filed on July 31, 2023, ECF No. 4.

6.     Organizational Victims and Bankruptcy cases

       N/A


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                     STATEMENT OF RELATED CASES
      This is an appeal from the final written decision in Home Depot USA, Inc., v.

Lynk Labs, Inc., PGR2022-00009 (PTAB May 22 , 2023; Paper 38) by the United

States Patent and Trademark Office Patent Trial and Appeal Board (“PTAB” or

“Board”) for U.S. Pat. No. 10,932,341 (“the ’341 Patent”). Appx0001-0079 [FWD].

No appeal in or from the same proceeding in this PTAB was previously before this

Court or any other appellate court.




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                      JURISDICTIONAL STATEMENT
      The PTAB had jurisdiction under 35 U.S.C. § 6 over PGR2022-00009 that is

the subject of this appeal. The PTAB issued its Final Written Decision in PGR2022-

00009 on May 22, 2023. Appx0001-0079. Lynk timely filed its notice of appeal on

July 17, 2023. Appx3683-3688. This Court has jurisdiction under 35 U.S.C. §§

141(c), 319 and 28 U.S.C. § 1295(a)(4)(A).




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                          STATEMENT OF THE ISSUES
      1. Whether the Board erred by holding the language of claims 4, 11 and 18

impossible on its face.

      2. Whether the Board erred by construing the claim term “forward voltage”

as “the minimum voltage difference required between the anode and cathode of the

LEDs in the claimed circuit to allow current to flow through the LEDs.”

      3. Whether the Board, based on its construction for the claim term “forward

voltage,” erred in holding claims 3, 10 and 17 impossible.

      4. Whether the Board, based on its findings of impossibility of claims 3, 4,

10 ,11, 17 and 18, erred in holding the ’341 Patent is eligible for post grant review.




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                          STATEMENT OF THE CASE
      This case is an appeal from the Board’s decision that all challenged claims 1-

5, 7-12, and 14-19 of the ’341 Patent are unpatentable over certain references stated

in Petitioner’s grounds. The decision is Home Depot USA, Inc. v. Lynk Labs Inc.,

PGR2022-00009, Paper 38 (PTAB May 22, 2023). Appx0001-0079.


                               THE ’341 PATENT
      Patent Owner Lynk Labs, Inc. (“Lynk” or “Patent Owner”) is a practicing

entity that manufactures and supplies its patented products to LED lighting

manufacturers for various applications. Founded in 1997, Lynk is a pioneer in LED

technology for the general lighting market.

A.    Technical Background
      The general field of the ’341 Patent is LED lighting devices for multi-voltage

level and/or multi-brightness level operation. Appx0095 [’341 Patent, 1:39-41]. The

’341 Patent “specifically relates to multiple voltage level and multiple brightness

level light emitting diode circuits, single chips, packages and lamps ‘devices’ for

direct AC voltage power source operation, bridge rectified AC voltage power source

operation or constant DC voltage power source operation.” Appx0095 [’341 Patent,

1:41-46]. That is, the ’341 Patent discloses innovative LED lighting devices that can

be driven using multiple voltages to provide multiple brightness levels. The ’341

Patent explains that it would be “advantageous to have a multi-voltage and/or multi-

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brightness circuit that can provide options in voltage level, brightness level and/or

AC or DC powering input power preference.” Appx0096 [’341 Patent, 3:1-4]. These

LED circuits “can be of varied make up and can be combined with each other to

create desired systems given the scalable and compatible arrangements possible

with, and resulting from, the invention.” Appx0098 [’341 Patent, 8:6-10].

      Figure 9 of the ’341 Patent illustrates one possible arrangement. In Figure 9,

AC voltage source 78 is connected to an LED lighting device 62. Within the LED

lighting device 62, bridge rectifiers rectify an AC voltage input to DC to drive their

respective LED circuits.




      Figure 9 also illustrates a 2-way switch that can switch power to one or both

LED circuits within LED lighting device 62. In doing so, the switch “form[s] a multi-

voltage and/or multi-brightness LED device.” Appx0100 [’341 Patent, 11:36-39].



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The LED circuits of the ’341 Patent may be “configured to provide a means of

switching on at least one additional single voltage AC LED circuit within the multi-

voltage and/or multi-current AC LED circuit to provide increased brightness… .”

Appx0098 [’341 Patent, 7:3-8].

      The term “multi-voltage” in the ’341 Patent relates to LED “circuits and

devices that can be driven with more than one AC or DC forward voltage.”

Appx0096 [’341 Patent, 3:12-19]. The ’341 Patent explains several ways an LED

circuit can switch between multiple forward voltages. For example, a multi-voltage

LED circuit can be formed “by electrically connecting the two single voltage AC

LED circuits in parallel and a second forward voltage drive level by electrically

connecting the at least two single voltage level AC LED circuits in series.”

Appx0096 [’341 Patent, 4:12-19]. This connection occurs via “a switching means

that connects and/or disconnects at least one additional LED circuit to and/or from

a first LED circuit.” Appx0096 [’341 Patent, 4:12-19]. When a circuit is added in a

parallel configuration, the multi-voltage LED circuit operates at one forward

voltage. When a circuit is added in a series configuration, the multi-voltage LED

circuit operates at a second (higher) forward voltage.

      The ’341 Patent also teaches a second way to vary the forward voltage. An

LED circuit’s forward voltage may be varied by a “dimmer switch that … allows for

adjustability of the otherwise relatively fixed voltage … output of the LED circuit

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driver.” Appx0099 [’341 Patent, 9:17-24]. Thus, the ’341 Patent teaches a dimmer

switch can be connected to an output of an LED circuit driver and used to adjust the

voltage received by the LED circuit.

      The term “multi-brightness” in the ’341 Patent relates to increasing either or

both forward voltage and current across an LED circuit. For example, “switching on

at least one additional single voltage AC LED circuit within [the] multi-voltage

and/or multi-current AC LED circuit [ ] provide[s] increased brightness … .”

Appx0098 [’341 Patent, 7:3-8]. See also id., Appx0095 [2:4-10]. Similarly, the ’341

Patent explains that “LED circuits get brighter as the voltage and/or frequency of the

LED circuit driver output is increased to the LED circuits.” Id., Appx0099 [9:22-

24]. By connecting LED circuits in series to the multi-voltage LED circuit or by

using a dimmer switch, forward voltage can be increased, thereby causing the

brightness of the multi-voltage LED circuit’s light output to increase. Similarly, by

connecting LED circuits in parallel to the multi-voltage LED circuit, current can be

increased, which correspondingly increases brightness.

      The term “LED circuit” in the ’341 Patent encompasses both multi-voltage

LED circuits and single voltage LED circuits. Appx0096 [’341 Patent, 3:5-32]. LED

circuits may be “the same or different colors” and may “require[e] different forward

voltages and currents.” Appx0099 [’341 Patent, 9:7-9]. LED circuits can be driven




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with “direct AC voltage coupling, bridge rectified AC voltage coupling or constant

voltage DC power source coupling.” Appx0096 [’341 Patent, 3:5-11].

B.    Challenged Claims
      The Petition challenged claims 1-5, 7-12, and 14-19 of the ’341 Patent. Claims

1, 8, and 15 are independent and directed to an LED lighting device. The remainder

of the claims depend from independent claims 1, 8, and 15. The independent claims

are directed to LED lighting devices comprising at least two LED circuits configured

to emit different color lights, where the LED lighting device contains a switch that

selects between switching voltage level inputs to the LED circuits or switching the

LED circuits on or off. Additionally, the LED lighting device is configured to

connect to an LED voltage power source.

      The dependent claims recite further improvements on these concepts,

including using at least two different DC forward voltages to the LED circuits, using

switches to change the light output of the LED circuit, and using at least two different

AC voltage power sources.


                           PRIOR ART REFERENCES

      The Petition asserts as prior art U.S. Pat. Pub. No. 2002/0070914 to Bruning

et al. (“Bruning”), U.S. Pat. Pub. No. 2004/0164948 to Kabel et al. (“Kabel”), U.S.

Pat. Pub. No. 2002/0048169 to Dowling et al. (“Dowling”), U.S. Pat. No. 6,016,038



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to Mueller et al. (“Mueller”). Appx3102 [Pet., 4]. These are asserted in grounds 3-5

of the Petition. Appx3102-3103 [Pet., 4-5].

      This appeal is limited to the issues of PGR eligibility and Grounds 1 and 2,

which relate to § 112. Thus, the appeal does not discuss the prior art.


                           PROCEDURAL HISTORY
      The Petition (“Pet.”) for PGR2022-00009 was filed on November 12, 2021,

challenging claims 1-5, 7-12, and 14-19. Appx3091-3184 [Pet., 1-94]. The Board

instituted PGR2022-00009 in its decision dated May 25, 2022. Appx3264-3350

[Instn. Dec., 1-87]. The Patent Owner Response (“POR”) was filed on August 17,

2022. Appx3397-3475 [POR, 1-79]. The Petitioner filed a reply on November 9,

2022. Appx3511-3546 [Reply, 1-36]. The Patent Owner filed its sur-reply on

December 21, 2022. Appx3547-3583 [Sur-reply, 1-37]. The oral hearing was

conducted on February 28, 2023. Appx0083 [Certified List, 4]. The Board issued its

Final Written Decision on May 22, 2023. Appx0001-0079 [FWD]. The Patent

Owner timely filed its appeal on July 17, 2023. Appx3683-3688 [NOA].

      The Petition asserts that claims 1-5, 7-12, and 14-19 of the ’341 Patent are

unpatentable under five different grounds. Appx3102-3103 [Pet., 4-5].




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                       SUMMARY OF THE ARGUMENT
      This appeal is based on the FWD’s holding that several claims that are

possible under their plain language are nonetheless impossible. The Board’s holding

disregards the plain language of the claims, as well as the intrinsic and extrinsic

record and relevant legal authority.

      The ’341 Patent claims priority to several continuation applications. Some of

these applications were filed before the AIA was implemented. As such, the ’341

Patent is only eligible for post grant review if the Petitioner can carry its burden to

show that one or more claims in post-AIA applications are not entitled to claim

priority to these pre-AIA applications. The FWD relied on claims 3, 4, 10, 11, 17

and 18 from the ’341 Patent to hold that the ’341 Patent is eligible for post-grant

review.

      The FWD is erroneous because it starts from the premise that the ’341 Patent

must be eligible for post-grant review and works backwards, disregarding law and

facts that contradict the foundation of its ultimate determination. According to the

Board’s rationale, claims 3, 4, 10, 11, 17 and 18 are, at best, entitled to the filing

date of the ’341 Patent (Jan. 10, 2020) because they lack support under 35 U.S.C. §

112. According to the Board, these claims lack support under 35 U.S.C. § 112

because they are impossible. But claims 3, 4, 10, 11, 17 and 18 are clearly possible

on their face.


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      Claims 4, 11 and 18 recite “an LED lighting device comprising … a switch

… wherein the switch is connected between [an] AC voltage power source and [an]

LED lighting device.” Appx0100-0101 [’341 Patent, claims 4, 11 and 18]. Thus, the

claim are directed to a switch in an LED lighting device that is connected between

the lighting device and a power source. This is a typical arrangement of a lighting

device such as a desk lamp. The Board held this claim impossible, reasoning the

Patent Owner’s evidence “cannot show the claimed switch as being part of the

claimed LED lighting device and at the same time being disposed between the

voltage source and the claimed LED lighting device.” But the Board’s analysis reads

the claim term “connected” out of the claim and assumes the “switch” itself—rather

than its connection—must be between the lighting device and power source. On that

basis, the Board held the claim impossible.

      Claims 3, 10 and 17 require “the switching of the switch provides at least two

different DC forward voltages to at least one of the first operating LED circuit or the

at least one additional LED circuit.” Appx0100-0101 [’341 Patent, claims 3, 10 and

17]. The Board held that “Petitioner’s ‘impossibility of multiple minimum voltages’

arguments ... show a lack of written description … as well as [ ] a lack of enablement,

indefiniteness, and PGR eligibility.” Appx0040 [FWD]. Again, the claims at issue

are clearly possible on their face—a switch simply switches between two different

voltages for providing one of the voltages to one or more LED circuits. The Board’s

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impossibility finding is not based on the claim language; instead, it is based on the

adoption of an incorrect claim construction for “forward voltage” that conflicts with

the plain and ordinary meaning of these claims.

      As discussed below, the Board’s impossibility findings and claim construction

are not supported by the language of the claims, the intrinsic record, the extrinsic

record, or applicable legal authority. Thus, this Court should reverse, holding claims

3, 4, 10, 11, 17, and 18 are possible. Because the Board’s impossibility ruling is the

basis for its finding of lack of support under § 112 and its finding of PGR eligibility,

this Court should also reverse those findings.


                                    ARGUMENT

A.    STANDARDS OF REVIEW
      Obviousness is a legal question based on underlying findings of fact. Univ. of

Strathclyde v. Clear-Vu Lighting LLC, 17 F.4th 155, 160 (Fed. Cir. 2021). “We

review the Board’s legal determination of obviousness de novo and its factual

findings for substantial evidence.” Outdry Technologies Corporation v. Geox S.P.A.,

859 F.3d 1364, 1367 (Fed. Cir. 2017) (citing Belden Inc. v. Berk-Tek LLC, 805 F.3d

1064, 1073 (Fed. Cir. 2015)); TQ Delta, LLC v. Cisco Systems, Inc., 942 F.3d 1352,

1357 (Fed. Cir. 2019) (legal determination reviewed de novo).

      The Federal Circuit reviews legal conclusions de novo. AC Technologies S.A.

v. Amazon.com, Inc., 912 F.3d 1358, 1364 (Fed. Cir. 2019) (“We consider de novo

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the Board’s legal conclusions.”); In re Stepan Co., 868 F.3d 1342, 1345 (Fed. Cir.

2017). De novo review means the review is conducted anew, without deference to

the Board. See Motionless Keyboard Co. v. Microsoft Corp., 486 F.3d 1376, 1379

(Fed. Cir. 2007).

      The substantial evidence standard for issues of fact is satisfied if a reasonable

mind could arrive at the finding based on the evidence of record. Consol. Edison Co.

v. NLRB, 305 U.S. 197, 217 (1938). “Substantial evidence is more than a mere

scintilla. It means such relevant evidence as a reasonable mind might accept as

adequate to support a conclusion.” Id. at 216. The substantial evidence standard asks

‘whether a reasonable fact finder could have arrived at the agency’s decision.’” OSI

Pharms., LLC v. Apotex Inc., 939 F.3d 1375, 1381–82 (Fed. Cir. 2019) (quoting In

re Gartside, 203 F.3d 1305, 1312 (Fed. Cir. 2000)).

      Substantial evidence review is more than “simply rubber-stamping agency

factfinding.” OSI Pharm., 939 F.3d at 1382 (quoting Dickinson v. Zurbo, 527 U.S.

150, 162 (1999)). It asks “whether a reasonable fact finder could have arrived at the

agency’s decision” and involves an “examination of the record as a whole, taking

into account evidence that both justifies and detracts from an agency’s decision.”

Intelligent Bio-Sys., Inc. v. Illumina Cambridge Ltd., 821 F.3d 1359, 1366 (Fed. Cir.

2016).




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      This Court “review[s] questions of claim construction de novo.” Qualcomm

Inc. v. Intel Corp., 6 F.4th 1256, 1266 (Fed. Cir. 2021) (citing Williamson v. Citrix

Online, LLC, 792 F.3d 1339, 1346 (Fed. Cir. 2015)); see, e.g., PPC Broadband, Inc.

v. Corning Optical Communications RF, LLC, 815 F.3d 734, 739 (Fed. Cir. 2016).

B.    CLAIMS 4, 11, AND 18 ARE POSSIBLE
      The Final Written Decision held that claims 4, 11 and 18 were impossible and

therefore lack written description, are not enabled, and are indefinite. Appx0043

[FWD]. The Board’s decision misconstrues the language of the claims.

      Claim 4 of the ’341 Patent recites “the LED lighting device of claim 1,

wherein the switch is connected between the AC voltage power source and the LED

lighting device.” Appx0100 [’341 Patent, claim 1]. The LED lighting device of claim

1 comprises a switch. Id. Claims 11 and 18 are identical except that they depend

from independent claims 8 and 15, respectively. Appx0101 [’341 Patent, claims 11

and 18].

      As shown in the annotated version of Figure 7 of the ’341 Patent below, the

claimed switch can be both within the LED lighting device and “connected between

the AC voltage power source and the LED lighting device.” In particular, the

connection between the AC voltage power source and the switch (shown in blue) is

literally “between the AC voltage power source [the 12VAC circle] and the LED

lighting device [characterized by the red box]” as required by the claim. Even Home


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Depo’s expert conceded as much. See, e.g., Appx2865 [Neikirk Tr., 46:3-12] (“Q:

And do you see the line between voltage source 12 VAC and switch 60 [of Fig. 7]?

A. I do. Q. Does that represent the connection between the voltage source and the

switch 60? A. [ ] Yes, I would assume it does…”). At the same time, the switch is

still part of the LED lighting device.




      The Board states “Patent Owner’s annotated version of Figure 7 still would

not support a finding that the switch 60 is between LED lighting device 50 and

the AC voltage source.” Appx0046 [FWD]. The Board’s rational reads the claim

term “connected” out of the claim. Claims 4, 11, and 18 do not require the “switch

is between” an LED lighting device and the AC voltage source as stated by the

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Board. Instead, these claims require “the switch is connected between the AC

voltage power source and the LED lighting device.” Appx0100-0101 [’341

Patent, claims 4, 11, and 18] (emphasis added). That is, the claims require the

connection to be between the power source and LED lighting device, just as

Patent Owner’s annotated Fig. 7 shows.

      This Court has held that “rewriting the claims” to cure impossibility is

improper. Synchronoss Technologies, Inc. v. Dropbox, Inc., 987 F.3d 1358 (Fed.

Cir. 2021). For the same reason, rewriting the claims to create impossibility (as

done by the Board) is also improper. The Board’s conclusion otherwise assumes

impossibility of the claims based on a misstatement of the claim language.

      Similarly, the Board states that the arrangement above does not “support a

finding that the claimed ‘switch’ could be part of the LED lighting device of

independent claims 1, 8, and 15 and also be ‘connected between the AC voltage

power source and the LED lighting device,’ as recited in claims 4, 11, and 18.”

Appx0046-0047 [FWD]. But this statement directly contradicts Patent Owner’s

explanation, which shows one possible configuration where (a) the “LED lighting

device comprises … a switch” and (b) the “switch is connected between the AC

voltage power source and the LED lighting device.” In particular, the switch is




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plainly connected to the AC voltage power source by the wire marked in blue,

which is “between an AC voltage power source and the LED lighting device.”

      The FWD also implies the ’341 Patent may lack support for claims 4, 11,

and 18. Appx0046 [FWD] (“Even assuming, arguendo, Patent Owner could cite

to any support… .”). 1 The Board’s implication is wrong for two reasons. First,

this issue would be outside the scope of arguments presented in the Petition and

argued to the Board. The Petition never advanced the argument that claims 4, 11,

and 18 lack support in the specification. Instead, the Petition argued solely that

claims 4, 11, and 18 are impossible on their face and therefore “invalid as

indefinite [and for] lack of written description and lack of enablement.”

Appx3130-3131 [Petition, 32-33]. Thus, the Board’s discussion of support in the

specification is beyond the scope of the arguments presented and argued.

      Second, claims 4, 11, and 18 are supported by the intrinsic record. Figures

7 and 9 both disclose a switch “connected between the AC voltage power source

and the LED lighting device” as required by the claims. Appx0091, 0093 [’341

Patent, Figs 7 and 9]. For example, Fig. 9 discloses “a switch 74 electrically


1
 The FWD cites to prior applications in the ’341 Patent’s priority chain to reach its
conclusion that the ’341 Patent lacks § 112 support. Appx0045-0047 [FWD]. The
FWD appears to be conflating the issue of PGR eligibility with the issue of
impossibility. For purposes of this section, which relates solely to whether the
claims are impossible on their face, only the ’341 Patent disclosure is relevant.

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connected between the multi-brightness LED lighting device 62 and the AC

voltage source 78.” Appx0100 [’341 Patent, 11:40-43]. See id., Appx0100 [’341

Patent] 11:18-22] (describing the same arrangement for Fig. 7). This is exactly

what claims 4, 11, and 18 recite.

      To the extent the FWD characterizes the ’341 Patent as lacking support for

“an LED lighting device comprising … a switch” as required by the independent

claims, it is incorrect. The ’341 Patent expressly describes embodiments where

the switch is part of the LED lighting device. For example, the ’341 Patent

discloses “a multi-voltage and/or multi-current single chip AC LED … is

integrated within an LED lamp.” Appx0097-0098 [’341 Patent, 6:65-7:1]. In this

configuration, “[t]he multi-voltage and/or multi-current single chip AC LED [ ]

is configured to provide a means of switching [ ] to provide increased brightness

from the LED lamp.” Appx0098 [’341 Patent, 7:3-7:8]. Further, the ’341 Patent

is clear that an LED lighting device may be a lamp. Appx0100 [’341 Patent]

11:14-17] (“It is contemplated that the [ ] LED lighting device 50 is [ ] an LED

lamp.”). Additionally, the ’341 Patent is clear that its various LED circuits “can

be of varied make up and can be combined with each other… .” Appx0098 [’341

Patent, 8:6-10].




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      Accordingly, the FWD should be reversed because claims 4, 11 and 18 of the

’341 Patent are possible.

C.    CLAIMS 3, 10, AND 17 ARE POSSIBLE

      1.     Claims 3, 10, and 17 are possible under the plain and ordinary
             meaning of “two different DC forward voltages”
      Claim 3 recites “[t]he LED lighting device of claim 1, wherein the switching

of the switch provides at least two different DC forward voltages to at least one of

the first operating LED circuit or the at least one additional LED circuit.” Appx0100

[’341 Patent, claim 3]. Claims 10 and 17 are identical, except they depend from

independent claims 8 and 15, respectively. Appx0100 [’341 Patent, claim 3].

      These claims are plainly possible on their face. They require a switch that can

provide one of two different voltages to either or both of two LED circuits. One (of

many) possible arrangements is shown below (using ’341 Patent Figure 6 to help

illustrate), in which a switch has six positions—one to provide first voltage V1 to

LED circuit A, a second to provide second voltage V2 to LED circuit A, a third to

provide V1 to LED circuit B, a fourth to provide V2 to LED circuit B, a fifth to

provide V1 to both circuits at the same time, and a sixth to provide V2 to both circuits

at the same time:




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      Nor do these claims lack support in the specification. Independent claims 1, 8

and 15 recite two LED circuits (the “first operating LED circuit” and the “at least

one additional LED circuit”) that have different colors. Appx0100-0101 [’341

Patent, claims 1, 8 and 15]. The specification discloses that LED circuits may be

“the same or different colors,” thus the specification discloses two LED circuits with

different colors. Appx0099 [’341 Patent, 9:7-9].

      Claims 3, 10, and 17 recite that the two different color LED circuits receive

“at least two different DC forward voltages.” Appx0100-0101 [’341 Patent, claims

3, 10, and 17]. Thus, the “first operating LED circuit” and “at least one additional

LED circuit” are both multi-voltage circuits. The specification teaches LED circuits

“that can be driven with more than one AC or DC forward voltage ‘multi-voltage.’”

Appx0096 [’341 Patent, 3:12-16].



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      Claims 3, 10, and 17 require a switch to provide the multiple voltages.

Appx0100-0101 [’341 Patent, claims 3, 10 and 17]. The specification teaches “a

switching means that connects and/or disconnects” LED circuits to achieve multiple

forward voltages. Appx0096 [’341 Patent, 3:16-19]. The specification also teaches

a “dimmer switch” that adjusts the voltage input to the LED circuits. Appx0099

[’341 Patent, 9:17-21].

      The FWD argues that the patent does “not address the situation in which (1)

the two different DC forward voltages are provided to only the first operating LED

circuit, nor the situation in which (2) two different DC forward voltages are provided

to only the at least one additional LED circuit.” Appx0035 [FWD]. But as discussed

above, the claims require two multi-voltage LED circuits (each with a different

color) and the specification clearly discloses switching between multiple voltages in

a multi-voltage LED circuit. Further, the specification teaches its embodiments “can

be combined with each other to create desired systems given the scalable and

compatible arrangements possible with, and resulting from, the invention.”

Appx0098 [’341 Patent, 8:6-10]. The specification teaches that “LED circuits” with

“different colors” (Appx0099 [’341 Patent, 9:7-9]) and that each LED circuit can be

a “multi-voltage LED circuit.” Appx0096 [’341 Patent, 3:12-16].

      Further, “as a general rule, the words ‘a’ or ‘an’ in a patent claim carry the

meaning of ‘one or more.’” TiVo, Inc. v. EchoStar Commc'ns Corp., 516 F.3d 1290,

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1303 (Fed. Cir. 2008). The claim term “a switch” does not preclude the use of

multiple switches, or of one switch that controls multiple LED circuits. This is

supported by the specification. In various embodiments, the specification uses terms

such as “switching means” (Appx0096 [’341 Patent, 3:17-19]) and “switching

process” (Appx0100 [’341 Patent 11:31-35]) that clearly encompass one or more

switches.

      The Board’s analysis demands the specification disclose the language of the

claims word-for-word. But the written description requirement “does not demand …

that the specification recite the claimed invention in haec verba.” Ariad Pharms.,

Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1352 (Fed. Cir. 2010). Instead, “the test for

sufficiency is whether the disclosure of the application relied upon reasonably

conveys to those skilled in the art that the inventor had possession of the claimed

subject matter as of the filing date.” Id., 1351. The various limitations of claims 3,

10, and 17 are each described in the specification and are described as being

“combin[able]” and “scalable.” Appx0098 [’341 Patent] 8:6-10]. Thus, the Board’s

analysis is incorrect. At a minimum, one skilled in the art would have understood

from the specification that the inventor possessed switching voltage levels to two

different color multi-voltage LED circuits as required by claims 3, 10, and 17.

      Finally, the FWD does not dispute that the claims are possible on their face

under any construction of the term “forward voltage” that does not require “forward

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voltage” to be a single value for each LED circuit.2 Instead, the FWD bootstraps its

impossibility argument on its incorrect claim construction for the term “forward

voltage.” As discussed below, the Board’s construction is wrong.

      2.     “Forward Voltage” Claim Construction

             i.   The proper construction for “forward voltage” is “the
                  operating voltage for the claimed LED circuit”
      The term “forward voltage” in the ’341 Patent should be construed as the

operating voltage for the claimed LED circuit.

      The term “forward voltage” is present in dependent claims 3, 10, and 17.

Appx0100-0101 [’341 Patent, claims 3, 10, and 17]. Each of these claims is

substantially similar. Claim 3 is representative and is reproduced below:

      3. The LED lighting system of claim 1, wherein the switching of the

      switch provides at least two different DC forward voltages to at least

      one of the first operating LED circuit or the at least one additional LED

      circuit.

Id.

      Per the express language of claim 3, a forward voltage is the voltage

“provide[d]” to the claimed “operating LED circuit.” Appx0100 [’341 Patent, claim



2
 Both Patent Owner’s proposed construction and Petitioner’s alternate construction
allow for multiple forward voltages across a single LED circuit. See §§V.C.2.i,
V.C.2.iii.

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3]. This is essentially Patent Owner’s construction. Patent Owner’s construction uses

the term “operating” voltage for the LED circuit to clarify that the claim requires

voltage in a range that will cause the LED circuit to “operat[e]”—that is, illuminate

in the manner intended. If the forward voltage were zero, or below the minimum

turn on voltage, the LED circuit would not provide light and would not be an

“operating LED circuit.” If the forward voltage were above the maximum operating

voltage for that particular LED circuit, a number of undesirable effects could occur,

including LED failure, a shorter LED life, a shift away from the intended color or

intensity, and/or excessive heat generation. Under any of these conditions, the LED

circuit would not operate as intended.

      The claims also expressly require “forward voltage” to be a range of voltages.

Appx0100 [’341 Patent], claim 1 (“switching a voltage level input” to the operating

LED circuit), claim 3 (“the switching of the switch provides at least two different

DC forward voltages.”). Thus, the “forward voltage” is the “operating voltage.”

      The specification supports Patent Owner’s construction. Phillips, 415 F.3d at

1315 (“the specification ‘is always highly relevant to the claim construction analysis.

Usually, it is dispositive; it is the single best guide to the meaning of a disputed

term.’”) (internal citation and quotation omitted). The title of the ’341 Patent is

“multi-voltage and multi-brightness LED lighting devices and methods of using

same.” Appx0084 [’341 Patent, Title]. See also id., 1:25-29 (“The present invention

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specifically relates to multiple voltage level and multiple brightness level LED

devices, packages and lamps.”), 1:41-46 (same). Thus,’341 Patent comprises

providing multiple forward voltages to LED lighting devices to change the

brightness of the LED circuit.

      Likewise, the specification repeatedly discusses that the forward voltage

“drives” the LED circuit. See, e.g., Appx0096-0097 [’341 Patent, 3:12-14] (“This

invention comprises circuits and devices that can be driven with more than one AC

or DC forward voltage ‘multi-voltage’ at 6V or greater … .”); 4:33-35 (“each single

voltage series LED circuit is designed to be driven with a predetermined forward

voltage…”); 4:38-40 (“each multi-voltage AC or DC LED device would be able to

be driven with at least two different AC or DC forward voltages…”); 5:1-5

(referencing a first and second “forward voltage drive level.”), 5:47-54 (same). The

term “drives” underscores that the forward voltage must be in the range sufficient to

operate the LED circuit—that is, to turn on the LED circuit at the desired light

intensity. Thus, “the drive voltage level and/or the brightness level selectability [ ]

may be selected by the LED package user.” Appx0084 [’341 Patent, Abstract.] If the

forward voltage were not within the operating range, it would not drive the LED

circuit and there would be no “brightness level.”

      The extrinsic record confirms Patent Owner’s construction. A basic property

of diodes is that they have a range of forward voltages that may be applied for the

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diode to operate and are not limited to a single minimum voltage. For example, one

electrical engineering textbook discloses that “[t]he voltage dropped across a

conducting, forward-biased diode is called the forward voltage.” Appx2939-2947

[Ex 2011 All About Circuits]. As can be seen in the graph below, the forward voltage

(labelled “Forward Bias”) for this particular diode varies from a minimum of about

.5V to a maximum of about .9V depending on the current applied. Appx2755-2756

[Bretschneider Decl., ¶49].




      The above disclosure indicates that for even a single diode, the forward

voltage will vary depending on the current applied. This confirms there is no single,

fixed forward voltage for an LED circuit as the Board asserts. A POSITA reviewing

the ’341 Patent would readily understand that the forward voltage must be within



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the operating range (i.e., the operating voltage) for the specific LED circuit being

driven. Appx2756-2757 [Bretschneider Decl., ¶50]. Again, this is because forward

voltages outside of this range would not result in an “operating LED circuit.”

Appx2756-2757 [Bretschneider Decl., ¶50]. Designing LED circuits with forward

voltages within operating ranges is critical. LED circuits are designed to operate with

specific voltages and currents depending on the configuration and specifications of

the LEDs. A POSITA would understand that LED circuits would not be designed

with forward voltages outside of the operating range. Appx2756-2757

[Bretschneider Decl., ¶50].

       Accordingly, a POSITA would understand that the term “forward voltage” in

the ’341 Patent should be construed as the operating voltage for the claimed LED

circuit.

             ii.   The Board’s construction is incorrect
       The FWD incorrectly adopted a construction of “forward voltage” as “the

minimum voltage difference required between the anode and cathode of the LEDs

in the claimed circuit to allow current to flow through the LEDs.” (Appx0023

[FWD]). The Board’s construction is based entirely on a statement in the prosecution

history of the parent patent that “the ‘forward voltage’ of an LED circuit, as recited

in claim 1 [of the parent patent], is the minimum voltage difference required between




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the anode and cathode of the LEDs in the claimed circuit to allow current to flow

through the LEDs.” Appx2153 [Ex 1023] 9].

      “Claim language and the specification generally carry greater weight than the

prosecution history.” HTC Corp. v. IPCom GmbH & Co., 667 F.3d 1270, 1276 (Fed.

Cir. 2012). See also Phillips, 415 F.3d at 1317 (“[B]ecause the prosecution history

represents an ongoing negotiation between the PTO and the applicant, rather than

the final product of that negotiation, it often lacks the clarity of the specification and

thus is less useful for claim construction purposes.”). The FWD decision states that

“Patent Owner’s arguments [ ] urge us to ignore the intrinsic evidence (e.g.,

prosecution history disclaimer) in favor of extrinsic evidence (e.g., diode

manufacturing specification data sheets).” This is incorrect. Patent Owner’s

arguments before this Court and the Board begin with the language of the claims and

the specification. Phillips, 415 F.3d at 1314. The FWD does not address these

arguments, nor does it address the unrebutted extrinsic evidence Patent Owner

introduced to corroborate its construction.

      Instead, the FWD focuses almost entirely on a single sentence from the

prosecution history. But even there, the Board fails to address the context of the

statement within the larger prosecution history and the intrinsic record as a whole.

Read in context, the above statement from the parent prosecution history confirms

that an LED can have multiple forward voltages.

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                    a.     The FWD fails to show that prosecution history
                           disclaimer applies
      The Board’s construction rests entirely on its incorrect characterization of a

statement from the file history of the parent ’164 Application as an “express

definition” of forward voltage. Appx0017, Appx0024-0025 [FWD]. The Board’s

incorrect construction is based on an excerpt of applicant’s response to a rejection

during prosecution of the ’164 application. Appx2145-2156 [Ex1023]. The ’164

Application is the parent application to the ’341 Patent and issued as the ’001 Patent.

      “The words of a claim are generally given their ordinary and customary

meaning as understood by a person of ordinary skill in the art.” Thorner v. Sony

Computer Entertainment of America LLC, 669 F.3d 1362, 1365 (Fed. Cir. 2012)

(citing Phillips v. AWH Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005) (en banc).)

“There are only two exceptions to this general rule: 1) when a patentee sets out a

definition and acts as his own lexicographer, or 2) when the patentee disavows the

full scope of a claim term either in the specification or during prosecution.” Id.

Where the specification reveals “a special definition given to a claim term by the

patentee that differs from the meaning it would otherwise possess,” then the

“inventor’s lexicography governs.” Phillips, 415 F.3d at 1316.

      However, there is no express definition or disavowal of claim scope in the

specification of the ’341 Patent, and, as discussed below, the claims and the



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specification of the ’341 Patent directly contradict the Board’s construction. See

infra, §§V.C.2.ii.b, V.C.2.ii.c. Where, as here, the Board relies on prosecution

history by itself to limit the clear language of the claims and specification, the

doctrine of prosecution disclaimer applies. “[F]or prosecution disclaimer to attach, [

] the alleged disavowing actions or statements made during prosecution be both clear

and unmistakable.” Omega Eng'g, Inc. v. Raytek Corp., 334 F.3d 1314, 1325–26

(Fed. Cir. 2003). See, e.g., Lazare Kaplan Intern., Inc. v Photoscribe Technologies,

Inc., 628 F.3d 1359 (Fed. Cir. 2010) (“To the extent that the Defendants contend that

these statements amount to a disclaimer of subject matter, these statements fall short

of the clear and unmistakable disavowal necessary for the doctrine of prosecution

disclaimer to apply.”). “There is no ‘clear and unmistakable’ disclaimer” where, as

here, “a prosecution argument is subject to more than one reasonable interpretation,

one of which is consistent with a proffered meaning of the disputed term.” 01

Communique Lab'y, Inc. v. LogMeIn, Inc., 687 F.3d 1292, 1297 (Fed. Cir. 2012).

Further, “clearly describing a particular claim term to overcome [a] rejection is not

the same as clearly disavowing claim scope.” Continental Circuits. LLC v. Intel

Corp., 915 F.3d 788, 798–99 (Fed. Cir. 2019)

      The FWD held that “[d]uring prosecution, Applicant [ ] made clear that the

claimed ‘forward voltage of 6V or greater’ excludes a 120V AC voltage from a wall

outlet.” Appx0024 [FWD]. But the issue in this IPR is different. The issue is not

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whether “a forward voltage of 6V or greater” can be a 120V AC voltage from a wall

outlet. Instead, the issue is whether an LED circuit can have “at least two different

DC forward voltages” as required by claims 3, 10, and 17. Thus, the Board is

applying prosecution history estoppel to a different issue than the issue addressed

during prosecution of the ’164 Application. 01 Communique, 687 F.3d at 1298 (Fed.

Cir. 2012) (finding no prosecution history estoppel when the relevant “statements

addressed another point entirely” than the point addressed in the district court.)

      The Board states that “[w]hen a claim is not ambiguous, we do not read

limitations into the claim to preserve its validity.” Appx0025 [FWD] (citing and

quoting Bennett Regul. Guards, Inc. v. Atlanta Gas Light Co., 825 F. App’x 773,

777 (Fed. Cir. 2020). The Board’s analysis flips Bennett on its head. In contrast to

reading a limitation into an unambiguous claim to preserve its validity (as was the

issue in Bennett), the Board’s construction reads a limitation into an unambiguous

claim to create invalidity (i.e., impossibility).

      Both approaches are incorrect. The general rule is that “the words of a claim

are generally given their ordinary and customary meaning” regardless of whether

that meaning tends to preserve (or destroy) validity. Phillips, 1312-1313; see also

Bennett, 825 F. App’x at 777. There is no ambiguity here that the common and

ordinary understanding of the term “forward voltage” (as acknowledged in both

Patent Owner’s construction and Petitioner’s alternate construction) is that an LED

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may have a range of (multiple) forward voltages. See §§V.C.2.i, V.C.2.iii. Indeed,

Petitioner bases its invalidity positions with respect to claims 3, 10, and 17 on prior

art references that purportedly provide at least two different DC forward voltages to

an LED circuit. Appx3139 [Pet., 41] (“Bruning discloses … wherein the switching

of the switch … provides at least two different DC forward voltages (voltages VR0,

VG0, VB0 with maximum magnitudes that are a function of the duty cycle of switch

Q1) to at least one of the first operating LED circuit… .”). It is the Board that is

reading limitations into the claims, and the Board is doing so not to simply narrow

the claim, but instead to render the claims unintelligible.

      The FWD argues that, by distinguishing the prior art reference Colby (which

is not at issue in this PGR) on the basis that a 120V AC voltage from a wall outlet

is not “the minimum voltage difference required between the anode and cathode

of the LEDs in the claimed circuit to allow current to flow through the LEDs,”

the applicant disavowed any LED having more than one forward voltage:

      Applicant distinguished Colby on the basis that the 120V AC voltage
      from a wall outlet is not “the minimum voltage difference required
      between the anode and cathode of the LEDs in the claimed circuit to
      allow current to flow through the LEDs.” See Ex. 1023, 9 (emphasis
      added). Applicant’s argument specifically identifies the claim
      language at issue––“forward voltage of 6V or greater”––and
      specifically states that it is not disclosed because Colby does not
      disclose the minimum voltage and instead, discloses something else,
      something larger–– 120V AC voltage. Accordingly, we conclude
      that Applicant disclaimed any voltage that is more than “the


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      minimum voltage difference required between the anode and cathode
      of the LEDs in the claimed circuit to allow current to flow through
      the LEDs” from the scope of “forward voltage.”
Appx0025 [FWD].

      The FWD’s analysis is incorrect for a number of reasons. First, prosecution

history statements stripped “from their context provid[e] an incomplete and

ultimately inaccurate characterization” of disclaimer. Opticurrent, LLC v. Power

Integrations, Inc., No. 2021-1712, 2022 WL 539158, at *5 (Fed. Cir. Feb. 23, 2022).

The context of the ’001 Patent file history is clear that the Applicant did not intend

to disclaim any interpretation of forward voltage other than a single minimum

voltage. The Examiner rejected claim 1 of the ’164 Application over the prior art

reference Colby. Appx2153 [Ex. 1023, 9]. In response, the Applicant amended claim

1 of the ’164 Application to include the limitation “wherein the first operating LED

circuit and the at least one additional LED circuit both have a forward voltage of 6V

or greater.” Appx2153 [Ex. 1023, 9]. The limitation at issue (“a forward voltage of

6V or greater”) is not present in the ’341 Patent, which instead claims “two different

DC forward voltages.” Appx0100-0101 [’341 Patent, claims 3, 10, and 17]. Notably,

the ’341 Patent claims “voltages” plural, not “a … voltage” singular as is the case

for the ’164 Application. To the extent the Applicant disclaimed any interpretation

of “a forward voltage of 6V or greater” having multiple voltages, the limitation in

the ’341 Patent of “two different DC forward voltages” expressly differentiates from


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the limitation in the ’164 Application by requiring two different forward voltages.

Thus, the claim language at issue in the ’341 Patent is materially different than the

claim language in the ’164 Application.

      The issue addressed in the ’164 Application file history was also materially

different. There, the Examiner rejected the claims based on Colby’s disclosure of an

AC voltage provided by a wall outlet. Applicant amended the claims to include the

limitation “wherein the first operating LED and the at least one additional LED

circuit both have a forward voltage of 6V or greater” (Appx2147 [Ex 1023, 3]) and

argued that the “recited forward voltage [of an LED] is different from the AC voltage

provided by a typical wall outlet.” Appx2153 [Ex. 1023 June 13, 2019 Remarks, 9].

The issue of whether a wall outlet can provide a forward voltage for an LED circuit

is not relevant to the arguments made in this PGR. Nor is the prior art Colby

reference that Applicant was responding to in the ’001 Patent file history at issue in

this PGR. The issue addressed by Applicant (i.e., whether a wall outlet could supply

forward voltage to an LED circuit) is materially different than the issue in this PGR

(i.e., whether an LED circuit can have at least two different DC forward voltages.)

01 Communique, 687 F.3d at 1298 (Fed. Cir. 2012).

      Notably, the Applicant’s response qualified its statement to be limited to the

then-current version of claim 1 of the ’164 Application. Id. (“the ‘forward voltage’

of an LED circuit, as recited in claim 1…”, “the recited forward voltage is different

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from the AC voltage provided by a typical wall outlet”) (emphasis added). Thus, the

Applicant is stating that the claimed “a forward voltage of 6V or greater” with

respect to claim 1 of the ’164 Application is “the minimum voltage difference

required between the anode and cathode of the LEDs in the claimed circuit.”

(emphasis added). Applicant is expressly limiting its statement to “forward voltage

of 6V or greater,” as used in claim 1 of the ’164 Application. No similar language is

present in any of the claims of the ’341 Patent. On its face, Applicant’s statement

applies only to a different issue in the then-pending version of claim 1 of the ’164

Application. This qualified statement does not “clearly express an intent to redefine

the term” (Thorner v. Sony Computer Ent. Am. LLC, 669 F.3d 1362, 1365 (Fed. Cir.

2012)), much less meet the more demanding standard for prosecution history

disavowal. Thus, it is not a clear and unmistakable disavowal of claim scope

applying to the materially different claims of the ’341 Patent.

      This highlights the material distinction between the claim language of the ’164

Application (“a forward voltage of 6V or greater”) and the ’341 Patent (“two

different DC forward voltages”). Claim 1 of the ’164 Application requires “a

forward voltage”—that is, a single forward voltage—so, understandably, as used in

claim 1, the “forward voltage” is limited to “a” single forward voltage. The issue of

whether an LED (or LED circuit) can have multiple forward voltages was not at

issue. The ’341 Patent, on the other hand, expressly claims embodiments that go

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beyond a single forward voltage and provide “two different DC forward voltages”—

that is, voltages plural—to a single LED circuit. An example from the ’341 Patent is

a dimmer switch that adjusts the current (and voltage) across a single LED circuit.

Appx0099 [’341 Patent, 9:17-24].

      The Board’s application of prosecution history disclaimer is also contradicted

by the website that the Applicant cited (www.baldengineer.com/led-basics.html) in

its prosecution response for the ’164 Application. Appx2153 [Ex. 1023], 9;

Appx3973-3004 [Ex. 2014]. The website states that “[t]he ‘Forward Voltage’ rating

of a diode will determine the minimum voltage difference between the anode and

cathode to allow current to flow.” Appx2974 [Ex. 2014, 2]. This statement does not

say the forward voltage is the minimum voltage difference, it says the forward

voltage determines the minimum voltage difference. Ex. 2014 goes on to explain

that the “forward voltage defines the amount of voltage required for the current to

flow … . Any voltages below this level cause the LED to remain ‘open’ or non-

conductive.” Thus, the website is drawing a distinction between forward voltage and

minimum voltage—the forward voltage rating determines or defines the minimum

voltage, but is not necessarily limited to that minimum voltage.

      Further in the discussion, the Bald Engineer reference cites to data sheets

showing that LEDs have a forward voltage operating range, including a minimum

and maximum voltage:

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      Appx2976 [Ex. 2014, 4]. See id., 5 (“[t]he goal is to set the Forward Current

for the LED at 20mA which means the LED will drop 1.8-2.2V.”). Again, the Bald

Engineer reference cited in support of Applicant’s arguments in the ’164 Application

response confirms that an LED can have multiple forward voltages. This is

inconsistent with the Board’s construction and consistent with PO’s proposed

construction because it shows a range of possible forward voltages for a single

exemplary LED. Accordingly, the Board’s construction should be rejected.

      It is a bedrock principle of patent law that “the claims are ‘of primary

importance, in the effort to ascertain precisely what it is that is patented.’ Phillips,

415 F.3d at 1312 (quoting Merrill v. Yeomans, 94 U.S. 568, 570, 24 L.Ed. 235

(1876)). Further, “the prosecution history … often lacks the clarity of the

specification and thus is less useful for claim construction purposes” than the

specification. Phillips, 415 F.3d at 1317. Phillips’ guidance is especially instructive

here, where the statement Petitioner relies upon for its construction comes from the

file history for a different patent (the ’001 Patent) discussing different claims

(requiring LED circuits that have “a forward voltage of 6V or greater”) in the context

of prior art (Colby) that is not at issue here. See, e.g., Appx2153 [Ex. 1023 at 9]. As



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discussed above, the claims and specification of the ’341 Patent repeatedly and

unambiguously require that LED circuits have multiple forward voltages. See

§V.C.2.i. The statement from the prosecution history is expressly limited to different

claims in a different patent and involves issues and prior art that are not present in

this PGR. Accordingly, the Board’s construction should be rejected under de novo

review because there has been no clear and unmistakable disavowal of claim scope.

Continental Circuits, 915 F.3d at 798–99.

                    b.     The Board’s construction contradicts the claims of the
                           ’341 Patent
      Claims 3, 10, and 17 require “two different DC forward voltages” to an

“operating LED circuit.” Appx0100-0101 [’341 Patent, claims 3, 10 and 17]. That

“two different … voltages” is not a “single” voltage (as held by the Board) is “readily

apparent event to lay judges.” Phillips, 415 F.3d at 1314. Thus, claim construction

here should “involve[] little more than the application of the widely accepted

meaning of commonly understood words.” Phillips, 415 F.3d at 1314.

      Adopting the Board’s construction for “forward voltage” ignores the express

language of the claims. Id. at 1312 (“the claims of a patent define the invention to

which the patentee is entitled the right to exclude.”) (internal citations and quotations

omitted). This is not a case where prosecution history disclaimer is argued to exclude

a potential embodiment or limit the scope of a claim; instead, the Board’s flawed



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application of prosecution history disclaimer renders the commonly understood

words “two different DC forward voltages” nonsensical. And the term “two different

DC forward voltages” is central to the ’341 Patent. Indeed, the “invention

specifically relates to multiple voltage level [ ] LED devices.” Appx0095 [’341

Patent, 1:26-28].

      “[T]he context of the surrounding words of the claim also must be considered

in determining the ordinary and customary meaning.” ACTV, Inc. v. Walt Disney

Co., 346 F.3d 1082, 1088 (Fed. Cir. 2003). Claims 1 and 14 further demonstrate a

POSITA would understand an LED circuit in the ’341 Patent to have multiple

voltage levels. Appx2754 [Bretschneider Decl], ¶46. Independent claims 1 and 14

each recite “”switching a voltage level input to at least one of the first operating LED

circuit or the at least one additional LED circuit.” Appx0100-0101 [’341 Patent,

claims 1 and 14]. Consistent with claims 3, 10 and 17, claims 1 and 14 already

require at least two different voltages to an operating LED circuit. The Board’s

construction to the contrary—requiring only a single voltage to the LED circuit—

therefore directly contradicts claims 1 and 14 as well.

                    c.     The Board’s construction contradicts the specification
                           of the ’341 Patent
      “There is a strong presumption against a claim construction that excludes a

disclosed embodiment.” Nobel Biocare Services AG v. Instradent USA, Inc., 903



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F.3d 1365 (Fed. Cir. 2018) (quoting In re Katz Interactive Call Processing Patent

Litig., 639 F.3d 1303, 1324 (Fed. Cir. 2011).The Board’s construction—which limits

the claimed LED circuits to a single forward voltage—reads out numerous

embodiments in the specification expressly disclosing multi-voltage circuits that

provide multiple forward voltages to LED circuits. See, e.g., Appx0096-0097 [’341

Patent, 3:12-19] (“This invention comprises circuits … driven with more than one

AC or DC forward voltage ‘multi-voltage’ … based on a switching means that

connects and/or disconnects at least one additional LED circuit to and/or from a first

LED circuit”), 6:4-6 (“According to another aspect of the invention, a multi-voltage

… LED circuit…”), 6:47-51 (“multiple individual discrete LED chips are used to

form at least one multivoltage … LED circuit. … Each multi-voltage … LED circuit

… comprises at least two single voltage AC LED circuits.”); Appx2754-2755

[Bretschneider Decl, ¶¶47-48].

      Indeed, interpreting two different forward voltages to be one fixed minimum

voltage (per the Board’s construction) contradicts one of the stated advantages of the

’341 Patent, which is “to provide multiple voltage level … LED circuits, chips,

packages and lamps … that can easily be electrically configured for at least two

forward voltage drive levels … .” Appx0096 [’341 Patent, 3:5-12]. See, e.g.,

Appx0084, Appx0096-0097 [’341 Patent, Title, Abstract, 3:12-19, 4:38-45, 4:65-

5:6, 5:44-51].

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      Numerous other embodiments support the fact that LED circuits in the ’341

Patent can have multiple forward voltages. For example, the ’341 Patent discloses

embodiments where “each multi-voltage … LED circuit … comprises at least two

single voltage AC LED circuits.” Appx0097 [’341 Patent, 6:47-51]. Similarly, the

’341 Patent discloses embodiments where “a dimmer switch [ ] regulates voltage or

… integrated circuitry [ ] allows for adjustability of the otherwise relatively fixed

voltage … output of the LED circuit driver.” Appx0099 [’341 Patent, 9:17-24]. The

output of an LED circuit driver is the input to the LED circuit. Appx3127 [Pet], 29

(“‘Driver’ is … ‘circuitry that supplies an input to another circuit.’”). Thus, the

dimmer switch or other integrated circuitry “adjust” the forward voltage provided to

the LED circuit. Indeed, the express field of the invention “specifically relates to

multiple voltage level … light emitting diode circuits.” Appx0095 [’341 Patent,

1:41-46].

      “One of the cardinal sins of patent law [is] reading a limitation from the

written description into the claims.” Phillips v. AWH Corp., 415 F.3d 1303, 1320

(Fed. Cir. 2005) (citations and quotations omitted). The FWD violates this rule by

arguing that the ’341 Patent’s use of “the term ‘forward voltage’ in connection with

‘single voltage series LED circuits’ … support Petitioner’s position that there is only

one ‘forward voltage’ for an individual circuit.” Appx0026 [FWD]. Here, the Board

improperly imports a narrowing embodiment from the specification to the exclusion

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of multiple embodiments discussed in the preceding paragraphs that disclose

providing multiple forward voltages to a single LED circuit. Indeed, the

specification directly contradicts the Board’s conclusion, stating “ [t]his invention

comprises circuits and devices that can be driven with more than one AC or DC

forward voltage ‘multi-voltage’ … .” Appx0096 [’341 Patent] 3:11-13]. The Board’s

reliance on passages discussing single voltage LED circuits—which, as discussed

above, can be combined with switches in parallel or series arrangements to form

multi-voltage LED circuits—ignores the specification of the ’341 Patent.

      Even in the non-limiting embodiments of the ’341 Patent that discuss a “single

voltage” LED circuit, the ’341 Patent discusses that these two single voltage LED

circuits may be combined to create a multi-voltage LED circuit. See, e.g., Appx0096

[’341 Patent, 4:12-18] (“According to another aspect of the invention, each multi-

voltage AC LED device would be driven with at least two different AC forward

voltages resulting in a first forward voltage drive level by electrically connecting the

two single voltage AC LED circuits in parallel and a second forward voltage drive

level by electrically connecting the at least two single voltage AC LED circuits in

series.”); 4:28-32 (“at least two single voltage series LED circuits, … are formed …

providing a multi-voltage AC or DC operable LED device.”); 6:47-51 (“multiple

individual discrete LED chips are used to form at least one multivoltage … LED




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circuit. … Each multi-voltage … LED circuit … comprises at least two single

voltage AC LED circuits.”).

      The Board states “it is not apparent from the disclosure of the ’341 patent that

brightness or light output levels of an LED device are changed based on adding or

removing one or more individual circuit (i.e., the single voltage series LED circuit)

with different forward voltages.” Appx0026 [FWD]. Here, the Board takes the

position that an “LED circuit” must be a “single voltage series LED circuit.” This

confuses the issue. As discussed above, “multi-voltage LED circuits” are disclosed

in the specification of the ’341 Patent. These “multi-voltage LED circuits” are still

“LED circuits” as required by the claims.

      Further, the ’341 Patent teaches “single voltage LED circuits” are combined

to form “multi-voltage LED circuits.” For example, the ’341 Patent teaches

“switching on at least one additional single voltage AC LED circuit within multi-

voltage and/or multi-current AC LED circuit to provide increased brightness from

the LED lamp.” Appx0098 [’341 Patent, 7:3-8]. Thus, the ’341 Patent expressly

teaches that adding additional LED circuits to a multi-voltage LED circuit “provides

increased brightness.” And “each multi-voltage AC or DC LED device would be

able to be driven with at least two different AC or DC forward voltages resulting in

a first forward voltage drive level by electrically connecting the two single voltage

series LED circuits in parallel and a second forward voltage drive level by

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electrically connecting the at least two single voltage level series LED circuits in

series.” Appx0096 [’341 Patent, 4:38-45].

      Thus, the Board’s construction cannot be reconciled with the disclosure of the

specification.

                   d.      The Board’s construction contradicts the extrinsic
                           record

      “[E]xtrinsic evidence in the form of expert testimony can be useful to a court

… to establish that a particular term in the patent or the prior art has a particular

meaning in the pertinent field.” Phillips, 415 F.3d at 1318. The extrinsic record

confirms the Board’s proposed construction is incorrect. Appx2755-2757

[Bretschneider Decl, ¶¶49-50]. Patent Owner’s expert, Dr. Bretschneider, explained

that contemporaneous LED datasheets are clear that the type of commercially

available LEDs that the ’341 Patent is directed to are not limited to a single minimum

forward voltage. App2759-2763 [Bretschneider Decl, ¶¶57-62]. For example,

Appx2948-2968 [Ex 2012 Samsung Datasheet] is a publicly available datasheet for

a typical LED, Samsung High Power LED LH502C. Page 3 lists various electro-

optical characteristics for the LED. Appx2950 [Ex 2012 Samsung Datasheet, 3]. One

characteristic is “Forward Voltage VF.” Id. As can be seen in the highlighted excerpt

below, the datasheet lists a “Min.” (the minimum, 5.9V.), a “Typ.” (typical forward

voltage, 6.1V), and a “Max.” (maximum forward voltage, 6.3V). Thus, the Samsung



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datasheet recommends a range of forward voltages between 5.9 and 6.3V, not one

single forward voltage and not just a minimum voltage.




      Similarly, page 10 of the datasheet displays various characteristic graphs for

the LED. Appx2957 [Ex 2012, Samsung Datasheet, 10]. In the top left corner is a

graph of forward voltage versus forward current. As can be seen from the highlighted

portion of the graph below, current flows from a forward voltage of around 5V

to around 6.5 V. Appx2957 [Ex 2012, Samsung Datasheet, 10]. Again, this

demonstrates there is a range of potential forward voltages for the Samsung LED

depending on the amount of current desired.




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      As another example, Appx2969-2972 [Ex. 2013 Cree Datasheet] is a publicly

available datasheet for Cree MegaBright LEDs in the CxxxMB290-S0100 series. As

shown in the highlighted portion of page 2 of the datasheet (below), the typical

forward voltages for these LEDs can range from a minimum of 3.0V to a maximum

of 3.8 or 4.0V. Appx2970 [Ex. 2013 Cree Datasheet, 2]. Once again, there is no

single forward voltage associated with the LED.




      At page 4, the Cree datasheet also shows a characteristic curve of forward

current versus forward voltage that is similar to the graph from the Samsung

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datasheet (albeit with the axes switched.) Appx2972 [Ex. 2013 Cree Datasheet, 4].

As the Cree graph shows below (highlighted in yellow), these LEDs have a forward

voltage range of about 3.0V to 4.0 or 4.5V depending on the desired amount of

current. Appx2972 [Ex. 2013 Cree Datasheet, 4]. Again, the forward voltage is not

limited to a single minimum voltage.




      Thus, an LED’s forward voltage is not limited to a single minimum forward

voltage, as required by the Board’s construction.

           iii.   Petitioner’s alternate construction is incorrect
      The Petition also proposed an alternate construction for “forward voltage” of

“a voltage in a diode’s forward direction.” Appx3124 [Pet.] 26]. Petitioner’s



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alternate construction is also incorrect because it allows for forward voltages that

could be less than the minimum operating voltage and greater than the maximum

operating voltage. In essence, Petitioner’s alternate construction completely ignores

the intrinsic record and the context in which “forward voltage” is used.

      As discussed above, claims 3, 10 and 17 require the first LED circuit to be

“operating.” See also Appx0100-0101 [Ex. 1001 ’341 Patent, claims 1, 7, 8, 14, 15]

(also referring to “operating LED circuits.”). The forward voltage cannot be any

voltage because if the forward voltage is outside of the operating range of the LED

circuit, the LED circuit will not provide light or will otherwise not operate. Similarly,

as discussed above in §V.A.1, the specification is clear that the forward voltage

“drives” the LED circuits. See, e.g., Appx0096-0097 [Ex. 1001 ’341 Patent, 3:5-11;

4:12-18; 4:18-27; 4:38-45; 5:27-34.] This means that the forward voltage applied to

the LED circuit is within the appropriate range to allow the LED to illuminate as

intended. Even the materials relied upon to support Petitioner’s first proposed

construction indicate that the forward voltage range is not just any voltage (as argued

by Petitioner), but is specified by the particular LED(s) being used. See, e.g.,

Appx2975-2976 [Bald Engineer, 3] (“forward voltage rated at 3.0 volts), 4 (showing

a range of forward voltages between 1.8V and 2.2V). Thus, Petitioner’s proposed

alternative construction is also incorrect.




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      The forward voltage should therefore be construed as the operating voltage

for the claimed LED circuit.

D.    THE ’341 PATENT IS INELIGIBLE FOR POST GRANT REVIEW
      PGRs may only be filed against patents subject to the first inventor-to-file

provisions of the AIA. See AIA § 6(f)(2)(A) (stating that the provisions of Section

6(d) “shall apply only to patents described in section 3(n)(1)”). Patents subject to the

first-inventor-to-file provisions are those that issue from applications “that contain[]

or contained at any time . . . a claim to a claimed invention that has an effective filing

date as defined in section 100(i) of title 35, United States Code, that is on or after”

March 16, 2013. AIA § 3(n)(1). “The moving party has the burden of proof to

establish that it is entitled to the requested relief.” 37 C.F.R. § 42.20(c). Thus,

Petitioner has the burden of establishing eligibility for post-grant review. Trican

Industries, Inc., v. Little Giant Ladder Systems, LLC, PGR2021-00044, Paper 10, 14

(PTAB Aug. 3, 2021).

      The Final Written Decision determined the ’341 Patent is ineligible based

entirely on its incorrect determination that claims 3, 4, 10, 11, 17, and 18 are

impossible. First, the Final Written Decision held that claims 3, 10 and 17, and

claims 4, 11, and 18 lack written description and enabling disclosure based entirely

on its incorrect determination that these claims are impossible. Appx0051 [FWD].

Based on this determination, the Board held that “the effective filing date is, at best,


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only as early as the filing date of the ’295 application” (which issued as the ’341

Application) filed on January 10, 2020. Appx0051 [FWD]. The Board then held that

“PGR eligibility of the ’341 Patent is conferred by the effective filing date of claims

3, 4, 10, 11, 17, and 18.” Appx0052 [FWD].

      Thus, the FWD collapses the analyses of (1) facial impossibility of claims, (2)

§ 112 support in the specification and (3) PGR eligibility into a single impossibility

analysis. Appx0050-0051 [FWD].

      With respect to (1) facial impossibility of the claims, as discussed above,

claims 4, 11, and 18 are possible under any interpretation of the claims and claims

3, 10, and 17 are possible under the correct interpretation of the term “forward

voltage.” See supra, §§V.B, V.C.

      With respect to (2), § 112 support, the as discussed above, the Board’s finding

of lack of written description, enablement and definiteness were based on its findings

of impossibility. See supra¸§§V.B, V.C. For claims 4, 11, and 18, the Board

misstated the claim language to hold the claims impossible and therefore lacking in

§ 112 support. With respect to claims 3, 10, and 17, the Board’s holding bootstrapped

an impossibility finding based on its incorrect construction for “forward voltage.”

Id. Because the Board found claims 3, 4, 10, 11, 17, and 18 impossible, it reasoned

they were also not supported in the written description, not enabled, and indefinite.




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      With respect to (3), PGR eligibility, there is no dispute that the disclosure in

the specification of the ’341 Patent is identical to the disclosure in pre-AIA

applications. As illustrated below, the ’341 Patent is a direct continuation of the pre-

AIA ’597 PCT, filed on May 28, 2010. Further, each application in the priority chain

(and the corresponding patent) is also expressly incorporated by reference into the

’341 Patent. Id., Appx0095 [1:21-23] (“the contents of each of these applications are

expressly incorporated herein by reference.”).




      Thus, because claims 3, 4, 10, 11, 17, and 18 are supported by pre-AIA

applications (in particular, the ’597 PCT), the FWD did not establish the ’341 Patent


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is eligible for PGR. The Court should reverse the Board’s decision on PGR

eligibility.


                       CONCLUSION AND RELIEF SOUGHT
       For the reasons set forth above, the Board’s decision and judgment should be

reversed or vacated and remanded.


Date: October 30, 2023                Respectfully submitted,


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October 30, 2023




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Dated: October 30, 2023



                                 Respectfully submitted,

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                                        ADDENDUM
Final Written Decision (May 22 2023) .................................................... Appx0001

Ex. 1001 US Patent No. 10,932,341 (Feb 23 2021) .................................. Appx0084




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Trials@uspto.gov                                                Paper 38
571-272-7822                                       Entered: May 22, 2023

      UNITED STATES PATENT AND TRADEMARK OFFICE
                     _______________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                      _______________

                       HOME DEPOT U.S.A., INC.,
                             Petitioner,

                                   v.

                          LYNK LABS, INC.,
                            Patent Owner.
                            ____________

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                          Patent 10,932,341 B2
                             ____________

Before JON B. TORNQUIST, MONICA S. ULLAGADDI, and
SCOTT RAEVSKY, Administrative Patent Judges.

ULLAGADDI, Administrative Patent Judge.


                            JUDGMENT
                       Final Written Decision
           Determining All Challenged Claims Unpatentable




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                           I.          INTRODUCTION
      Home Depot U.S.A., Inc. (“Petitioner”) filed a Petition (Paper 1,
“Petition” or “Pet.”) requesting post-grant review of claims 1–5, 7–12, and
14–19 (“the challenged claims”) of U.S. Patent No. 10,932,341 B2
(Ex. 1001, “the ’341 patent”), accompanied by the supporting Declaration of
Dr. Dean Neikirk (Ex. 1002). Lynk Labs, Inc. (“Patent Owner”) filed a
Preliminary Response (Paper 5, “Preliminary Response” or “Prelim. Resp.”).
      Upon review of these papers, we instituted post-grant review,
pursuant to 35 U.S.C. § 324, as to the challenged claims based on the
challenges set forth in the Petition. Paper 10 (“Institution Decision” or “Inst.
Dec.”).
      Subsequent to institution, Patent Owner filed a Patent Owner
Response (Paper 20, “PO Resp.”), Petitioner filed a Reply to Patent Owner’s
Response (Paper 29, “Pet. Reply”), and Patent Owner filed a Sur-Reply
(Paper 30, “Sur-Reply”). On February 28, 2023, we held an oral hearing. A
transcript of the hearing is of record. Paper 37 (“Tr.”).
      For the reasons that follow, we conclude that Petitioner has proven by
a preponderance of the evidence that the challenged claims of the ’341
patent are unpatentable.
                               II.     BACKGROUND
                          A.         Real Parties in Interest
      Petitioner (i) identifies Home Depot Product Authority, LLC as a real
party-in-interest, (ii) identifies The Home Depot, Inc. as a potential real
party-in-interest because it is also a named defendant in a related litigation
(discussed infra), and (iii) “[i]n an abundance of caution,” identifies as
potential real parties-in-interest suppliers of certain products that have been



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accused in the litigation and from whom Petitioner has requested
indemnification, including Bel Air Lighting, Inc., New Bright Technology,
Cordelia Lighting, Elec-Tech Solid State Lighting (HK) Ltd., Globe Electric,
King of Fans, Inc., Leedarson Lighting/Green Intelligence Co., and Year
Young Industrial Co. Pet. 1. Petitioner notes that “[t]hese suppliers have not
yet controlled or participated in the drafting of this Petition, and none has
consented to being named an RPI.” Id.
      Patent Owner identifies itself as the real party-in-interest. Paper 3, 1.
                            B.     Related Matters
      The parties identify: Lynk Labs, Inc. v. The Home Depot USA, Inc., et
al., No. 6:21-cv-00097 (W.D. Tex.) as a related matter involving the ’341
patent. Pet. 2; Paper 3, 1. Patent Owner also identifies Lynk Labs, Inc. v.
Home Depot USA, Inc. et al., No. 1:21-cv-05021 (N.D. Ga.) (“the Related
Litigation”) and notes that the Georgia Litigation “was transferred from the
Western District of Texas.” Paper 28, 1.
      Patent Owner also identifies U.S. Patent Application Nos. 17/001,074,
17/157,264, 17/216,032, 17/266,505, and 17/306,450 as “pending
applications [that] may affect, or be affected by, a decision in this
proceeding.” Paper 3, 1.
      Petitioner also challenges the ’341 patent, specifically, claims 1–3, 5,
7–10, 12, 14–17, and 19, in IPR2022-00143 and institution was denied on
May 27, 2022.
      Petitioner also challenges U.S. Patent No. 10,537,001, a parent of the
’341 patent, in IPR2021-01541, inter partes review was instituted on May
16, 2022, and a Final Written Decision finding all challenged claims
unpatentable issued on April 26, 2023.



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                           C.     The ’341 Patent
      The ’341 patent issued from U.S. Application No. 16/740,295, filed
on January 10, 2020 (“the ’295 application”). Ex. 1001, codes (21), (22).
The ’295 application was filed as (i) a continuation of U.S. Application
No. 16/274,164, filed on February 12, 2019, now U.S. Patent
No. 10,537,001 (Ex. 1020, “the ’001 patent”), and in turn is (ii) a
continuation of U.S. Application No. 15/685,429, filed on August 24, 2017,
now U.S. Patent No. 10,271,393, and in turn is (iii) a continuation of U.S.
Application No. 14/172,644, filed on February 4, 2014, now U.S. Patent No.
9,750,098, and is in turn (iv) a continuation of U.S. Application No.
13/322,796, filed as Application No. PCT/US2010/001597 (Ex. 1018, “the
’597 PCT”) on May 28, 2010, now U.S. Patent No. 8,648,539. Ex. 1001,
code (63).
      U.S. Patent No. 8,648,539 claims priority as a continuation-in-part of
U.S. Application No. 12/287,267, filed on October 6, 2008, now U.S. Patent
No. 8,179,055. Id. The ’341 patent also claims the benefit of U.S.
Provisional Application No. 61/217,215, filed on May 28, 2009, and U.S.
Provisional Application No. 60/997,771, filed on October 6, 2007. Id. at
code (60).
      The ’341 patent is titled “Multi-Voltage and Multi-Brightness LED
Lighting Devices and Methods of Using Same” and “relates to light emitting
diodes (‘LEDs’) for AC operation . . . [and] to multiple voltage level and
multiple brightness level LED devices, packages and lamps.” Id. at code
(54) (Title), 1:25–28.
      The ’341 patent explains that existing LED packages do not provide
“a multi-voltage and/or multi-current circuit monolithically integrated on a



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single substrate.” Id. at 2:65–67. The ’341 patent provides that it would be
advantageous to (i) have a multi-voltage and/or multi-brightness circuit that
can “provide options in voltage level, brightness level and/or AC or DC
powering input power preference,” and (ii) provide multiple voltage level
and/or multiple brightness level light emitting LED circuits, chips, packages,
and lamps “that can easily be electrically configured for at least two forward
voltage drive levels with direct AC voltage coupling, bridge rectified AC
voltage coupling or constant voltage DC power source coupling.” Id. at 3:1–
12. To this end, the ’341 patent discloses an
      invention [that] comprises circuits and devices that can be driven
      with more than one AC or DC forward voltage “multi-voltage”
      at 6V or greater based on a selectable desired operating voltage
      level that is achieved by electrically connecting the LED circuits
      in a series or parallel circuit configuration and/or more than one
      level of brightness “multi-brightness” based on a switching
      means that connects and/or disconnects at least one additional
      LED circuit to and/or from a first LED circuit. The desired
      operating voltage level and/or the desired brightness level
      electrical connection may be achieved and/or completed at the
      LED packaging level when the multi-voltage and/or multi-
      brightness circuits and/or single chips are integrated into the
      LED package, or the LED package may have external electrical
      contacts that match the integrated multi-voltage and/or multi-
      brightness circuits and/or single chips within, thus allowing the
      drive voltage level and/or the brightness level selectability to be
      passed on through to the exterior of the LED package and
      allowing the voltage level or brightness level to be selected at the
      LED package user, or the PCB assembly facility, or the end
      product manufacturer. . . .
      According to another aspect of the invention, each multi-voltage
      AC LED device would be able to be driven with at least two
      different AC forward voltages resulting in a first forward voltage
      drive level by electrically connecting the two single voltage AC
      LED circuits in parallel and a second forward voltage drive level


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      by electrically connecting the at least two single voltage level AC
      LED circuits in series.
Id. at 3:12–32, 4:12–19.
      Figures 1 and 2 of the ’341 patent, illustrating schematic diagrams of
multi-voltage and/or multi-brightness LED lighting devices, are reproduced
below. Id. at 9:56–57, 10:12–13.




Figures 1 and 2 illustrate schematic diagrams of multi-voltage and/or multi-
        brightness LED lighting devices. Id. at 9:56–57, 10:12–13.
      The multi-voltage and/or multi-brightness LED lighting device 10
illustrated in Figure 1 includes at least two AC LED circuits 12 configured
in an imbalanced bridge circuit, each of which have at least two LEDs 14.
Id. at 9:56–10:11. The at least two AC LED circuits have electrical contacts
16a, 16b, 16c, and 16d at opposing ends to provide connectivity options for
an AC voltage source input. Id. For example, if 16a and 16c are electrically
connected together and 16b and 16d are electrically connected together and
one side of the AC voltage input is applied to 16a and 16c and the other side
of the AC voltage input is applied to 16b and 16d, the circuit becomes a
parallel circuit with a first operating forward voltage. Id. If, however, only
16a and 16e are electrically connected and the AC voltage inputs are applied


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to electrical contacts 16b and 16d, a second operating forward voltage is
required to drive the single chip 18. Id. The ’341 patent further explains that
single chip 18 may also be configured to operate at more than one brightness
level, i.e., “multi-brightness,” by “electrically connecting for example 16a
and 16b and applying one side of the line of an AC voltage source to 16a
a[n]d 16b and individually applying the other side of the line from the AC
voltage source a second voltage to 26b and 26c.” Id.
      In the multi-voltage and/or multi-brightness LED lighting device 20
illustrated in Figure 2, the at least two AC LED circuits 12 are integrated
onto substrate 22. Id. at 10:12–23. The at least two AC LED circuits 12 are
configured in an imbalanced bridge circuit, each of which have at least two
LEDs 14. Id. The at least two AC LED circuits have electrical contacts 16a,
16b, 16c, and 16d on the exterior of the substrate 22 and can be used “to
electrically configure and/or control the operating voltage and/or brightness
level of the multi-voltage and/or multi-brightness LED lighting device.” Id.
      Figures 6 and 7 of the ’341 patent, illustrating more schematic
diagrams of multi-voltage and/or multi-brightness LED lighting devices, are
reproduced below. Id. at 10:65–66, 11:18–19.




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Figures 6 and 7 illustrate schematic diagrams of multi-voltage and/or multi-
       brightness LED lighting devices. Id. at 10:65–66, 11:18–19.
      The multi-voltage and/or multi-brightness LED lighting device 50
illustrated in Figure 6 includes at least two AC LED circuits 52, each of
which have at least two LEDs 54 in series and anti-parallel relation. Id. at
10:65–11:17. The at least two AC LED circuits 52 have at least three
electrical contacts 56a, 56b and 56c, and are electrically connected together
in parallel at one end 56a and left unconnected at the opposing ends of the
electrical contacts 56b and 56c. Id. One side of an AC voltage source line is
electrically connected to 56a and the other side of an AC voltage source line
is individually electrically connected to 56b and 56c “with either a fixed
connection or a switched connection thereby providing a first brightness
when AC voltage is applied to 56a and 56b and a second brightness when an
AC voltage is applied to 56a, 56b and 56c.” Id. The multi-voltage and/or
multi-brightness LED device shown in Figure 7, which is similar to the
device shown in Figure 6, is further integrated within a lamp 58 and

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connected to a switch 60 to control the brightness level of the multi-voltage
and/or multi-brightness LED lighting device. Id. at 11:18–22.
         Figure 9 of the ’341 patent, reproduced below, illustrates another
schematic diagram of a multi-brightness LED lighting device. Id. at 11:40–
43.




     Figure 9 illustrates another schematic diagram of a multi-voltage and/or
      multi-brightness LED device including at least two single voltage LED
    circuits integrated with a single chip or within a substrate. Id. at 11:36–42.
         The device illustrated in Figure 9 includes: two sets of four LEDs,
each set configured in a bridge circuit; two bridge-rectified series LED
circuits having plural LEDs connected in series; and a switch 74 electrically
connected between the multi-brightness LED lighting device 62 and an AC
voltage source 78, to enable a change in the brightness level of the multi-
brightness LED lighting device. Id. at 11:23–43.1




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 We refer to the description of Figure 8 with respect to Figure 9 because the
description of Figure 9 references the description of Figure 8.

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                            D.     Illustrative Claims
         Petitioner challenges claims 1–5, 7–12, and 14–19 of the ’341 patent.
Pet. 1. Claims 1, 8, and 15 are independent. Claim 1 is illustrative and
reproduced below.
               1. [1.pre] An LED lighting device comprising:
                   [1.a] a first operating LED circuit and at least one
               additional LED circuit,
                          [1.b] at least one of the first operating LED
                      circuit or the at least one additional LED circuit
                      including at least two LEDs connected in either
                      series or parallel, and
                          [1.c] the at least one additional LED circuit
                      being configured to emit a different color light
                      compared to the first operating LED circuit; and
                   [1.d] a switch capable of at least one of:
                          (a) switching a voltage level input to at least one
                      of the first operating LED circuit or the at least one
                      additional LED circuit, or
                          (b) switching the at least one additional LED
                      circuit on or off,
                   [1.e] wherein (a) or (b) is selectable by a user switching
               the switch, and
                   [1.f] wherein the LED lighting device is configured to
               connect to an AC voltage power source.
Ex. 1001, 12:9–27.2
                             E.     Asserted Grounds
         Petitioner presents the following challenges as summarized in the
chart below. Pet. 5.
    Ground Claim(s) Challenged           35 U.S.C. §      Reference(s)/Basis
    1                                                    Lack of Written
                                           112(a),
           3, 10, 17                                     Description; Lack of
                                           112(b)3
                                                         Enablement;

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    Bracketed reference numbering/lettering reflects Petitioner’s annotations.


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    Ground Claim(s) Challenged         35 U.S.C. §        Reference(s)/Basis
                                                        Indefiniteness
    2                                                   Lack of Written
                                         112(a),        Description; Lack of
             4, 11, 18
                                         112(b)         Enablement;
                                                        Indefiniteness
    3        1, 3, 5, 7, 8, 10, 12,
                                           1024         Bruning5
             14, 15, 17, 19
    4        1–3, 5, 7–10, 12, 14–                      Bruning, Kabel6
                                           1034
             17, 19
    5        1, 2, 5, 7–9, 12, 14–         103          Dowling,7 Mueller8

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  Per the Manual of Patent Examining Procedure (MPEP) § 2159.02,
America Invents Act (“AIA”) 35 U.S.C. §§ 102, 103 took effect on March
16, 2013. AIA 35 U.S.C. §§ 102, 103 apply to any patent application that
contains or contained at any time a claim to a claimed invention that has an
effective filing date that is on or after March 16, 2013. If a patent application
(1) contains or contained at any time a claim to a claimed invention having
an effective filing date as defined in 35 U.S.C. § 100(i) that is on or after
March 16, 2013 or (2) claims or ever claimed the benefit of an earlier filing
date under 35 U.S.C. §§ 120, 121, or 365 based upon an earlier application
that ever contained such a claim, then AIA 35 U.S.C. §§ 102, 103 apply to
the application, (i.e., the application is an AIA application). If there is ever
even a single claim to a claimed invention in the application having an
effective filing date on or after March 16, 2013, AIA 35 U.S.C. §§ 102, 103
apply in determining the patentability of every claimed invention in the
application. This is the situation even if the remaining claimed inventions all
have an effective filing date before March 16, 2013, and even if a claim to a
claimed invention having an effective filing date on or after March 16, 2013,
is canceled. Infra §§ III.A.2–3 (determining that at least one claim in the
’341 patent has an effective filing date after March 16, 2013 and implicating
AIA versions of the statues for each challenged ground).
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  U.S. Patent Application Publication No. 2002/0070914 A1, published June
13, 2002 (Ex. 1004, “Bruning”).
6
  U.S. Patent Application Publication No. 2004/0164948 A1, published
August 26, 2004 (Ex. 1005, “Kabel”).
7
  U.S. Patent Application Publication No. 2002/0048169 A1, published April
25, 2002 (Ex. 1006, “Dowling”).
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  U.S. Patent No. 6,016,038, issued January 18, 2000 (Ex. 1007, “Mueller”).

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    Ground Claim(s) Challenged           35 U.S.C. §      Reference(s)/Basis
           16, 19
                               III.    ANALYSIS
                             A.       Legal Standards
       “The specification shall contain a written description of the invention,
and of the manner and process of making and using it, in such full, clear,
concise, and exact terms as to enable any person skilled in the art to which it
pertains, or with which it is most nearly connected, to make and use the
same.” 35 U.S.C. § 112(a). The Federal Circuit “has consistently held that
§ 112, first paragraph[9], contains a written description requirement separate
from enablement.” Ariad Pharm. v. Eli Lilly and Co., 598 F.3d 1336, 1351
(Fed. Cir. 2010) (en banc). “[T]he test for sufficiency [of the written
description] is whether the disclosure of the application relied upon
reasonably conveys to those skilled in the art that the inventor had
possession of the claimed subject matter as of the filing date.” Id.
       “To prove that a claim is invalid for lack of enablement, a challenger
must show . . . that a person of ordinary skill in the art would not be able to
practice the claimed invention without undue experimentation.” Enzo Life
Sciences, Inc. v. Roche Molecular Systems, Inc., 928 F.3d 1340, 1345 (Fed.
Cir. 2019). Factors to be considered in determining whether a disclosure
would require undue experimentation include:
       (1) the quantity of experimentation necessary, (2) the amount of
       direction or guidance presented, (3) the presence or absence of
       working examples, (4) the nature of the invention, (5) the state
       of the prior art, (6) the relative skill of those in the art, (7) the
       predictability or unpredictability of the art, and (8) the breadth of

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 The AIA recodified 35 U.S.C. § 112, first paragraph, as
35 U.S.C. § 112(a). Pub. L. No. 112-29, 125 Stat. at 296–97.

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      the claims.
In re Wands, 858 F.2d 731, 737 (Fed. Cir. 1988).
      In this post-grant review proceeding, we apply the test for
indefiniteness approved by the Supreme Court in Nautilus, Inc. v. Biosig
Instruments, Inc., 572 U.S. 898 (2014). See Memorandum on Approach to
Indefiniteness Under 35 U.S.C. § 112 in AIA Post-Grant Proceedings (Jan.
6, 2021), 5 (“The office now clarifies that the Board shall follow Nautilus in
AIA post-grant proceedings”).10 Under Nautilus, a claim of a patent
challenged for indefiniteness is unpatentable if the claim, read in light of the
patent specification and the prosecution history, fails to inform, with
reasonable certainty, those skilled in the art about the scope of the invention.
Nautilus, 572 U.S. at 901.
      “A claim is anticipated only if each and every element as set forth in
the claim is found, either expressly or inherently described, in a single prior
art reference.” Verdegaal Bros., Inc. v. Union Oil Co. of , 814 F.2d 628, 631
(Fed. Cir. 1987).
      A patent claim is unpatentable under 35 U.S.C. § 103 if the
differences between the claimed subject matter and the prior art are such that
the subject matter, as a whole, would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains. KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying
factual determinations including: (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;


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  Available at https://www.uspto.gov/sites/default/files/documents/
IndefinitenessMemo.pdf.

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(3) the level of ordinary skill in the art; and (4) when in evidence, objective
evidence of nonobviousness. 11 Graham v. John Deere Co., 383 U.S. 1, 17–
18 (1966).
        In a post-grant review, as in an inter partes review, “the petitioner has
the burden from the onset to show with particularity why the patent it
challenges is unpatentable.” See Harmonic Inc. v. Avid Tech., Inc., 815 F.3d
1356, 1363 (Fed. Cir. 2016). This burden of persuasion never shifts to Patent
Owner. Dynamic Drinkware, 800 F.3d at 1378.
        We analyze the challenges presented in the Petition in accordance
with the above-stated principles.
                    B.     Level of Ordinary Skill in the Art
        Petitioner contends that:
        A person of ordinary skill in the art (“POSITA”) as of October
        6, 2007 (earliest listed priority date) or January 10, 2020 (actual
        filing date), would have had a bachelor’s degree in electrical
        engineering, or similar technical filed, with two years of relevant
        experience in the field of design and/or development of LEDs
        and circuits in the context of lighting control systems. An
        increase in experience could compensate for less education.
Pet. 24 (citing Ex. 1002 ¶ 46).
        Patent Owner contends that
        the ’341 Patent is directed toward lighting devices. Thus, the
        proper field is “the field of design and/or development of LEDs
        and circuits in the context of lighting devices,” not “lighting
        control systems.” Indeed, as seen in ’341 Patent, Figs. 1-12, the
        disclosure is directed to devices such as LED packages and
        lamps, not the control systems that can be used to control LEDs.
        So, for example, the ’341 Patent is directed to devices like LED



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     Patent Owner does not present objective evidence of nonobviousness.

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      chips, bulbs, or lamps, not multicomponent lighting control
      systems.
PO Resp. 4–5 (citing PO Resp. § II.A; Ex. 1001, 1:26–29 (“The present
invention specifically relates to multiple voltage level and multiple
brightness level LED devices, packages and lamps.”), 1:41–46 (“The present
invention specifically relates to multiple voltage level and multiple
brightness level light emitting diode circuits, single chips, packages and
lamps ‘devices.’”); Ex. 2008 ¶ 40 (Bretschneider Decl.)).
      Each of the challenged claims of the ’341 patent recites an “LED
lighting device.” Accordingly, we determine that the level of ordinary skill
in the art is “a bachelor’s degree in electrical engineering, or similar
technical field, with two years of relevant experience in the field of design
and/or development of LEDs and circuits,” as Petitioner proposes and that
“the field of design and/or development” would be “in the context of
lighting devices” as Patent Owner proposes, in which “[a]n increase in
experience could compensate for less education.” Id.; Pet. 24 (citing Ex.
1002 ¶ 46).
      Our definition is consistent with the specification of the ’341 patent
and the cited references. The findings and conclusions rendered in this
Decision would not change had we adopted Petitioner’s definition in its
entirety.
                            C.   Claim Construction
      In this post-grant review, filed on November 12, 2021, we construe
the claims of the ’341 patent using the same claim construction standard that
would be used to construe the claim in a civil action under 35 U.S.C.
§ 282(b) (2021), including construing the claim in accordance with the
ordinary and customary meaning of such claim as understood by one of

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ordinary skill in the art and the prosecution history pertaining to the patent.
37 C.F.R. § 42.200(b); see Phillips v. AWH Corp., 415 F.3d 1303, 1312–
1314 (Fed. Cir. 2005) (en banc). In construing claims in accordance with
their ordinary and customary meaning, we take into account the specification
and prosecution history. Phillips, 415 F.3d at 1315–17.
      Petitioner sets forth proposed constructions for the terms “forward
voltage,” “switch,” “selectable by a user switching the switch,” and “driver.”
Pet. 24–29. According to Petitioner, “[b]ecause the prior art asserted herein
discloses the preferred embodiment within the indisputable scope of the
claims, the Board need not construe the outer bounds of the claims as part of
these proceedings.” Id. at 24.
      In the present proceeding, we need only construe “forward voltage” in
order to decide Petitioner’s challenges. We do not need to expressly construe
any of the other claim terms. See Nidec Motor Corp. v. Zhongshan Broad
Ocean Motor Co., 868 F.3d 1013, 1017 (Fed. Cir. 2017) (citing Vivid Techs.,
Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir. 1999) (“[O]nly
those terms need be construed that are in controversy, and only to the extent
necessary to resolve the controversy.”)).
                 1.     Petitioner’s Proposed Constructions of “Forward
                                         Voltage”
      Petitioner asserts “‘[f]orward voltage’ should be construed as ‘the
minimum voltage difference required between the anode and cathode of the
LEDs in the claimed circuit to allow current to flow through the LEDs’
based on the [Patent Owner’s] express definition in the intrinsic record.” Pet.
25. Petitioner represents that Patent Owner, in the Related Litigation,
asserted that this “express definition” should not be applied. Id. at 26 (citing



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Ex. 1022, 35–38).12 Petitioner urges that, “[i]n the alternative, ‘forward
voltage’ should be construed as ‘a voltage in a diode’s forward direction.’”
Id. at 25–26.
                2.     Petitioner’s Initial Claim Construction Contentions
      Petitioner contends that during prosecution of U.S. Application No.
16/274,164 (the application underlying the parent of the ’341 patent, the
’001 patent, “the ’164 application”), Patent Owner expressly defined
“forward voltage.” Pet. 25 (citing Ex. 1023, 9 (Amendment)). During
prosecution of the ’164 application, Applicant asserted that:
      Colby[13] fails to disclose that the first operating LED circuit and
      the at least one additional LED circuit both have a forward
      voltage of 6V or greater [as amended]. Stating that “US plugs
      operate on 120V 60Hz,” the Office Action essentially relies on
      the disclosure of ‘AC voltage’ in Colby having a ‘frequency of
      60 Hz’ as disclosing the forward voltage required by claim 1.
      Office Action, p. 4; Colby, 4:26–31. However, Applicant
      respectfully submits that the disclosure of an AC voltage
      supplied from a wall outlet does not disclose the forward voltage
      of an LED.
      “the forward voltage” of an LED circuit, as recited in claim 1, is
      the minimum voltage difference required between the anode and
      cathode of the LEDs in the claimed circuit to allow current to
      flow through the LEDs.” (See, e.g., LED Tutorial - Learn the
      basics,      https://www.baldengineer.com/led-basics.htm l.)
      Thus; the recited forward voltage is different from the AC
      voltage provided by a typical wall outlet.

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   In the Related Litigation, we note that Patent Owner states that “[t]he
passage from the prosecution history referencing the ‘Bald Engineer’
[webpage] is generally consistent with the plain and ordinary meaning in the
context of the claims under the discussion in the ’001 patent” and “[t]hus,
the term requires no further construction.” Ex. 1022, 36 (referring to
definition at https://www.baldengineer.com/led-basics.html).
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   U.S. Patent No. 7,748,877 B1 to Colby (Ex. 1037, “Colby”).

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Ex. 1023, 9 (citing Ex. 2014, “Bald Engineer LED Tutorial”).
                      3.    Patent Owner’s Response and Sur-reply
      First, Patent Owner argues that limiting “forward voltage” to a single
minimum voltage would be inconsistent with the two forward voltages
recited in dependent claims 3, 10, and 17, is “contrary to the central purpose
of the ’341 Patent, which is to provide multiple voltage levels and multiple
brightness levels to LED circuits,” and “would exclude numerous
embodiments of the ’341 Patent discussed above, including the embodiment
covering the stated purpose of the patent.” PO Resp. 11–13; see Sur-reply
11–12, 22.
      Second, Patent Owner further argues that “[t]he Petition does not
attempt to argue that the statement in the prosecution history for the ’001
Patent is a clear and unmistakable disavowal of the explicit teachings of the
claims and specification of the ’341 Patent,” and the “Petition cannot do so
because the statement is from the file history for another patent discussing
different claim language in a context that is different than the construction
proposed here.” PO Resp. 19; see Sur-reply 6–7, 9–10 (Patent Owner
characterizing Applicant as arguing, during prosecution, that “one could not
simply use AC mains . . . as the forward voltage for LEDs because the
forward voltage is a function of the operating characteristics of the LED
circuits,” and “[t]hus, the applicant did not define forward voltage as one
specific minimum voltage”). According to Patent Owner,
      the claim language being addressed in the ’001 Application
      (“forward voltage of 6V or greater”) is different, the application
      under review (’164 Application) is different, and the prior art
      being addressed (the Colby reference) is not at issue here. Taken
      together, it is very unclear how the statement applies in the
      context of the ’341 Patent. What is clear is that Petitioner’s


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      position is expressly and repeatedly contradicted by the plain
      language of the claims and specification of the ’341 Patent. Thus,
      adopting Petitioner’s proposed construction would be clear legal
      error.
PO Resp. 19–20.
      Third, Patent Owner contends that
      “[t]he minimum voltage difference required” does not rule out,
      and in fact implies the potential use of voltages in excess of that
      minimum. This interpretation is supported by the language of the
      claim being discussed (“a forward voltage of 6V or greater”),
      which clarifies that a forward voltage can have values equal to or
      greater than the minimum voltage (there, 6V) to allow current to
      flow.
      This interpretation is also supported by the website that the
      Applicant cited (www.baldengineer.com/led-basics.html) in
      support of its statement. Ex. 2014 [Bald Engineer]. The website
      states that “[t]he ‘Forward Voltage’ rating of a diode will
      determine the minimum voltage difference between the anode
      and cathode to allow current to flow.” Read carefully, the website
      is drawing a distinction between forward voltage and minimum
      voltage—the forward voltage rating determines the minimum
      voltage, but is not necessarily limited to that minimum voltage.
      Further in the discussion, the website cites to data sheets showing
      that yellow LEDs have a forward voltage operating range,
      including a minimum and maximum voltage.
Id. at 22 (citing Ex. 2008 ¶¶ 69, 71) (alteration in original); see Sur-reply 2
(citing PO Resp. 16–17; Pet. Reply 6, 9), 10. Patent Owner presents a
portion of the Bald Engineer LED Tutorial, reproduced below, that shows a
minimum and maximum value of a forward voltage for a particular LED.
    Items               Symbol   Test Condition   Min.   Typ.   Max.   Unit
    Forward Voltage     VF       IF=20mA          1.8    ---    2.2    V


              Table Reproduced from Bald Engineer Tutorial
             Describing Forward Voltage of an LED. Ex. 2014.

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Patent Owner also argues that “Petitioner’s second proposed construction (‘a
voltage in a diode’s forward direction’) is also incorrect because it allows for
forward voltages that could be less than the minimum operating voltage and
greater than the maximum operating voltage.” PO Resp. 23.
                4.    Patent Owner’s Proposed Construction of “Forward
                                       Voltage”
      Disputing Petitioner’s proposed constructions, Patent Owner contends
that “a POSITA would understand that the term ‘forward voltage’ in the
’341 Patent should be construed as the operating voltage for the claimed
LED circuit.” PO Resp. 11. Patent Owner further contends its
      construction uses the term “operating” voltage for the LED
      circuit to clarify that the claim requires voltage in a range that
      will actually cause the LED circuit to “operat[e]”—that is,
      illuminate in the manner intended. If the forward voltage were
      zero, below the minimum turn on voltage the LED circuit would
      not provide light and would not be an “operating LED circuit.”
Id. at 7 (alteration in original). According to Patent Owner,
      [i]f the forward voltage were above the maximum operating
      voltage for that particular LED circuit, a number of undesirable
      effects would occur, including possible LED failure, a shorter
      LED life, a shift away from the intended color or intensity, and/or
      excessive heat generation. Under any of these conditions, the
      LED circuit would not operate as intended.
Id. at 7–8 (citing Ex. 2008 ¶ 46).
      Patent Owner cites numerous portions of the specification in support
of its position. Id. at 8 (citing Ex. 1001, code (54) (Title), code (57)
(Abstract), 1:25–28, 1:41–46, 3:12–14, 4:33–35, 4:38–41, 5:27–34); see id.
at 9 (citing Ex. 2008 ¶ 48). The cited portions of the specification disclose
“multi-voltage and multi-brightness LED lighting devices” as well as that
“the forward voltage ‘drives’ the LED circuit.” Id.


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      Patent Owner also cites extrinsic evidence. Id. at 8–10 (citing Ex.
2011 (“All About Circuits”); Ex. 2008 ¶¶ 49, 50), 14 (citing Ex. 2012
(“Samsung Datasheet”)), 16 (citing Ex. 2013 (“Cree Datasheet”)). In
particular, Patent Owner cites manufacturer specification sheets for
particular makes of diodes and argues that within “even a single diode, the
forward voltage will vary depending on the current applied.” Id. at 10. Patent
Owner explains that
      [a] basic property of diodes is that they have a range of forward
      voltages that may be applied for the diode to operate and are not
      limited to a single minimum voltage. For example, one electrical
      engineering textbook discloses that “[t]he voltage dropped across
      a conducting, forward-biased diode is called the forward
      voltage.” Ex. 2011 [All About Circuits] explains that forward
      voltage “varies only slightly for changes in forward current and
      temperature” and provides a graph showing the relationship. As
      can be seen in the graph below, the forward voltage (labelled
      “Forward Bias”) for this particular diode varies from a minimum
      of about .5V to a maximum of about .9V depending on the
      current applied.
Id. at 9 (citing Ex. 2008 ¶ 49) (second alteration in original).
                                  5.     Petitioner’s Reply
      With respect to Patent Owner’s first argument, Petitioner responds
that “the fact that the ‘operating’ LED circuit limitation may further limit the
voltages required to practice the claim as a whole does not mean that it
should be read into other limitations” particularly when “the ‘forward
voltage’ limitation is applied in the alternative to the ‘additional’ LED
circuit, which lacks the ‘operating’ limitation.” Pet. Reply 3–4.
      With respect to Patent Owner’s second argument, Petitioner
characterizes Patent Owner as “assert[ing] a definition or disclaimer related
to a claim term in a parent patent cannot be used against the child patent.”


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Id. at 7 (citing PO Resp. 18–19). Petitioner argues that Patent Owner “again
attempts to distance its definition of ‘forward voltage’ in the parent’s
prosecution history from the use of the exact same term in the claims of the
341 patent” and argues that “there is no basis in fact or law to ignore the
definition.” Id. at 8 (citing PO Resp. 21–22); see id. at 7 (citing Cordis Corp.
v. Boston Scientific Corp., 658 F.3d 1347, 1356 n.5 (Fed. Cir. 2011).
      With respect to Patent Owner’s third argument, Petitioner contends
that the Bald Engineer LED Tutorial “is explicit that the ‘forward voltage’ is
a single, minimum voltage.” Id. at 8 (citing Ex. 2014, 2 (“minimum voltage
difference,” “The forward voltage defines the amount of voltage required for
the current to flow through the diode junction. Any voltages below this level
cause the LED to remain ‘open’ or non-conductive.”)). Petitioner contends
that the Bald Engineer LED Tutorial “does mention an LED datasheet as an
example, but that datasheet . . . , merely shows minor variances in the single
forward voltage that is possible based on either manufacturing tolerances or
operating conductions[14].” Id. at 9 (citing Ex. 1034 ¶¶ 16–17).
      Petitioner similarly contends that Exhibits 2011, 2012, and 2013 are
LED data sheets “which show relatively minor variations in purported
‘forward voltages’ based on manufacturing tolerances and operating
conditions.” Id. at 6 (citing PO Resp. 13–18). Petitioner persuasively points
out that, “[o]n cross examination, [Patent Owner’s] expert admitted that
those minor variations were based on operating conditions, and that at
constant temperature and current there would be single forward voltage.”



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  In its Petitioner’s Reply, Petitioner uses the term “operating conductions.”
We presume the Petitioner intends to refer to “operating conditions” as set
forth in Dr. Neikirk’s Reply Declaration (Ex. 1034 ¶ 16).

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Id. (citing Ex. 1035, 61:1–9, 61:21–62:3) (emphasis added). Petitioner
further persuasively contends that “these minor variations are inconsistent
with [Patent Owner’s] theories regarding the disclosure of multiple forward
voltages in the specification” because “[Patent Owner’s] (incorrect) theory is
that the switch could change the forward voltage by cutting it in half or
doubling it, by changing the parallel/serial configuration of the LED
circuits.” Id. (emphasis added). According to Petitioner,
      with respect to EX2012, a particular Samsung LED device would
      have a forward operating voltage somewhere between 5.9V and
      6.1V. PO’s expert admitted that for such a device, neither
      [halving the voltage to] 3V nor [doubling the voltage to] 12V
      would be a forward voltage because the LED would not operate
      at 3V and would be destroyed at 12V. Thus, this extrinsic
      evidence exposes an additional flaw in PO’s analysis of the
      intrinsic record.
Id. at 6–7 (citing Ex. 1035, 63:1–64:5, 65:5–21, 62:9–17).
                                      6.     Analysis
      Having reviewed the entire record developed during trial, we are
persuaded that Petitioner’s claim construction position is supported by
evidence, and we maintain our preliminary construction of “forward
voltage.” Patent Owner’s arguments are unavailing as they urge us to ignore
the intrinsic evidence (e.g., prosecution history disclaimer) in favor of
extrinsic evidence (e.g., diode manufacturing specification data sheets).
      The intrinsic record––including the disclosures in the ’341 patent and
the disclaimer made during prosecution of the application underlying the
’001 parent patent––persuades us that Petitioner’s first construction, “the
minimum voltage difference required between the anode and cathode of the
LEDs in the claimed circuit to allow current to flow through the LEDs” is
supported by the record.

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      As we explained in our Institution Decision, one exception to the
general rule that claim terms are given their ordinary and customary
meaning is “when the patentee disavows the full scope of a claim term either
in the specification or during prosecution.” Uship Intellectual Props., LLC v.
United States, 714 F.3d 1311, 1313 (Fed. Cir. 2013) (quoting Thorner v.
Sony Computer Entm’t Am., LLC, 669 F.3d 136s2, 1365 (Fed. Cir. 2012)).
During prosecution, Applicant “ma[de] clear that the invention does not
include a particular feature”––that is, made clear that the claimed “forward
voltage of 6V or greater” excludes a 120V AC voltage from a wall outlet.
GE Lighting Solutions, LLC v. AgiLight, Inc., 750 F.3d 1304, 1309 (Fed.
Cir. 2014) (quoting SciMed Life Sys. Inc. v. Advanced Cardiovascular Sys.,
Inc., 242 F.3d 1337, 1341 (Fed. Cir. 2001)) (disavowal requires that “the
specification [or prosecution history] make[] clear that the invention does
not include a particular feature”).
      As the ’001 patent is the parent to the ’341 patent, we consider
arguments made during the prosecution of the application underlying the
’001 patent relevant to determining how “forward voltage” should be
construed in the child patent, the ’341 patent. Patent Owner cites no
authority that would support disregarding the statements in the ’001 patent
for any reason, including because the ’001 patent is a parent patent, the
claim term “forward voltage” is used differently in the claim (i.e., claim 1 of
the ’001 patent recites “forward voltage of 6V or greater”), or that the
statements made during prosecution were used to distinguish a different
reference, Colby.
      We agree with Petitioner that “there is no basis in fact or law to ignore
the definition.” Pet. Reply 8 (citing PO Resp. 21–22); see id. at 7 (citing



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Cordis Corp. v. Boston Scientific Corp., 658 F.3d 1347, 1356 n.5 (Fed. Cir.
2011) (“Arguments made in the course of prosecuting the [parent]
application are relevant, however, because a disclaimer in the parent
application carries forward into the construction of the same claim term in
the child.”). Patent Owner’s “recharacteriz[ation] [of] its disclaimer over
Colby as merely related to wall outlets” is unavailing. Id. (citing PO Resp.
19–21). When a claim is not ambiguous, we do not read limitations into the
claim to preserve its validity. See Bennett Regul. Guards, Inc. v. Atlanta Gas
Light Co., 825 F. App'x 773, 777 (Fed. Cir. 2020) (“Claims are construed to
preserve validity only if, ‘after applying all the available tools of claim
construction . . . the claim is still ambiguous.’”).
      Even though, when read in isolation, 120V AC voltage might
theoretically fall under the “or greater” portion of the amended claim
limitation “forward voltage of 6V or greater,” Applicant distinguished Colby
on the basis that the 120V AC voltage from a wall outlet is not “the
minimum voltage difference required between the anode and cathode of the
LEDs in the claimed circuit to allow current to flow through the LEDs.” See
Ex. 1023, 9 (emphasis added). Applicant’s argument specifically identifies
the claim language at issue––“forward voltage of 6V or greater”––and
specifically states that it is not disclosed because Colby does not disclose the
minimum voltage and instead, discloses something else, something larger––
120V AC voltage. Accordingly, we conclude that Applicant disclaimed any
voltage that is more than “the minimum voltage difference required between
the anode and cathode of the LEDs in the claimed circuit to allow current to
flow through the LEDs” from the scope of “forward voltage.”




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        We also agree with Petitioner that the ’341 patent repeatedly uses the
term “forward voltage” in connection with “single voltage series LED
circuits.” See Pet. 25 (citing Ex. 1001, 4:5–7:8; Ex. 1021, 28–30; Ex. 1002
¶ 47). These disclosures support Petitioner’s position that there is only one
“forward voltage” for an individual circuit (i.e., a single voltage series LED
circuit). In contrast, the forward voltage may differ based on the connection
type, i.e., parallel or series, between at least two circuits. See, e.g., Ex. 1001,
4:12–27. It is not apparent from the disclosure of the ’341 patent that
brightness or light output levels of an LED device are changed based on
driving an individual circuit (i.e., the single voltage series LED circuit) with
different forward voltages. See generally id. Instead, it appears that
brightness levels or light output levels change based on adding or removing
one or more individual circuits connected in series or parallel to a “first
operating LED circuit.” Id. at 3:45–49 (“It would further be advantageous to
provide multi-brightness LED devices that can be switched to different
levels of brightness by simply switching additional circuits on or off in
addition to a first operating circuit within a single chip and or LED
package.” (emphasis added)).
   D.      Challenge 1—Lack of Written Description and Enablement, and
                      Indefiniteness of Claims 3, 10, and 17
        Petitioner contends claims 3, 10, and 17 are invalid because they lack
written description and enablement under 35 U.S.C. § 112(a) and because
they are indefinite under 35 U.S.C. § 112(b). Pet. 29–32.
                            1.     Petitioner’s Initial Contentions
        First, Petitioner contends that, “[u]nder any construction of ‘forward
voltage,’ such as the alternative construction, claims 3, 10 and 17 are not
supported by the specification as filed.” Pet. 31 (citing Ex. 1002 ¶ 59).

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Petitioner contends that this is because, “none of these embodiments
includes a switch, wherein switching the switch provides two different DC
forward voltages to an LED circuit.” Id. at 32 (citing Ex. 1002 ¶ 64); see id.
at 31–32 (citing Pet. §§ V.A, V.C.1.a; Ex. 1002 ¶¶ 59–64).
      Second, Petitioner contends that “[u]nder the correct construction of
‘forward voltage,’ each of the ‘first operating LED circuit’ and the ‘one
additional LED circuit’ has a single ‘forward voltage’ because each has a
single ‘minimum.’” Id. at 30 (citing Pet. § V.E.2). According to Petitioner,
“[b]ecause each circuit has only a single ‘forward voltage,’ no switch can
provide ‘at least two different’ forward voltages to either circuit” and
“[t]hus, under the correct construction of ‘forward voltage,’ these claims are
to impossible subject matter that is not disclosed in the specification.” Id.
(citing Ex. 1002 ¶ 57). We refer to these arguments as Petitioner’s
“impossibility of multiple minimum voltages” arguments.
      Petitioner contends that, “because the specification does not describe
or enable this impossible subject matter, the claims are invalid for lack of
written description and lack of enablement.” Id. at 30–31. Petitioner also
contends that “[a] claim to impossible subject matter is invalid as
indefinite.” Id. Petitioner also takes the position that “[n]one of these
embodiments disclose or enable the full breadth of these claims” because the
claims encompass a situation in which the two different voltages are applied
to only one of the LED circuits––under any construction of “forward




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voltage” as it appears in the claim term “two different DC forward voltages.”
Id. at 19–20.
                2.   Patent Owner’s Response and Sur-reply
      First, Patent Owner points to paragraphs 28 and 30 of the ’597 PCT,
which disclose an LED device that is “driven with at least two different DC
forward voltages,” including “a first forward voltage drive level when the
two single voltage LED circuits are connected in parallel and a second
forward voltage drive level that is twice the level of the first forward voltage
drive level when the at least two LED circuits are connected in series.” Ex.
1018 ¶¶ 28 (emphases added), 30. Patent Owner takes the position that,
“[b]ecause the claims provide different voltages to ‘at least one of’ the two
circuits, they clearly allow for different voltages to one or both of the LED
circuits.” PO Resp. 27 (emphasis added). According to Patent Owner, “the
’597 Application repeatedly and expressly discloses single multi-voltage
LED circuits (that is, LED circuits that operate using more than one forward
voltage).” Id. (citing Ex. 1018 ¶¶ 13 (“The art is deficient in that it does not
provide a multi-voltage . . . circuit monolithically integrated on a single
substrate”), 14 (“It would further be advantageous to have a multi-
voltage . . . circuit that can provide options in voltage level, brightness level
and/or AC or DC powering input power preference.”). Patent Owner also
contends that “[t]wo different forward voltages can clearly be applied to the
two different LED circuits—that is, one forward voltage for the ‘first
operating LED circuit’ and a different forward voltage for the ‘one
additional LED circuit.’” Id. at 39–40; see Sur-reply 14 (citing PO Resp. 26–
27) (Patent Owner arguing that Petitioner “ignores the fact that the two LED




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circuits connected together create a combined circuit that uses two different
forward voltages depending on whether it operates in parallel or series”).
      Second, Patent Owner further contends that, “just because the circuit
resides within a device does not mean it is no longer a circuit,” “[n]or does
the fact that a multi-voltage circuit is composed of two or more single
voltage circuits mean that each of the single circuits cannot be driven with
more than one voltage, or that the multi-voltage circuit is no longer a
circuit.” PO Resp. 29; see id. at 28 (citing Ex. 1018, Fig. 9, ¶ 60); Sur-reply
4. Patent Owner contends that the term “‘LED circuit’ is a common term
that a POSITA would understand covers numerous possible circuit
configurations, not just single voltage LED circuits.” PO Resp. 30 (citing
Ex. 2008 ¶ 84). Patent Owner further contends that “an LED circuit may be
two LEDs and a switch that switches the LEDs between a parallel and a
series configuration,” and that “[w]hether in the parallel or series
configuration, it is still the same circuit, yet the two configurations would
have different forward voltages.” Id. (citing Ex. 2008 ¶ 86). Patent Owner
states that Figure 12 of the ’341 patent shows LED circuits that are
connected in series and characterizes the LED circuits as “form[ing] an LED
circuit with one forward voltage.” Id. at 41 (citing Ex. 2008 ¶ 99) (emphasis
added). Patent Owner further states that “when the LED circuits are
connected in parallel, the resulting LED circuit would have a second
(different) forward voltage.” Id. at 41–42 (citing Ex. 2008 ¶ 99); see Sur-
reply 15 (citing-in-part PO Resp. 13).
      Patent Owner also contends that “different LED circuits are not
limited to the same number of LEDs” and accordingly, “[a] POSITA would
understand that LED circuits with various scalable or flexible configurations



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may need to be driven with multiple different forward voltages.” Id. at 24
(citing Ex. 1001, 10:17–18 (“LED circuits 12 configured in a[n] imbalanced
bridge circuit.”)).
      Patent Owner further contends “claim 1 (from which claim 3 depends)
recites a switch capable of ‘switching a voltage level input’ to the LED
circuits” and “[t]hus, the claim itself requires an LED circuit to have more
than one voltage level options that can be delivered to the LED circuit and
are selectable by a switch.” PO Resp. 40. According to Patent Owner, “the
specification clearly and repeatedly teaches that LED circuits may have
more than one voltage level.” Id. (citing Ex. 1001, 3:5–12 (“It would further
be advantageous to provide multiple voltage level LED circuits . . . that can
easily be electrically configured for at least two forward voltage drive
levels”), 3:12–19). According to Patent Owner, these disclosures support a
finding that “the ’341 Patent teaches connecting LED circuits in series and
parallel configurations to form new circuits” and that “[e]ach of these new
circuits may (depending on the configuration) have a different forward
voltage.” Id. at 41 (citing Ex. 2008 ¶ 98) (emphases added); see also Sur-
reply 22 (“[a] POSITA would understand that voltage can be increased
across an LED to increase brightness” and “[i]ndeed, the dimmer aspect of
the ’341 Patent is essentially disclosing one way to increase LED
brightness”), 24 (“The ’341 Patent is also clear that forward voltage can be
changed to increase brightness.” (citing Ex. 1001, 3:11–19; 7:3–8; 9:17–24;
11:31–35)).
      Third, citing column 3, lines 12 through 19 of the ’341 patent, Patent
Owner contends that
      [t]his disclosure alone discloses “a switch” (e.g., switching
      means) “wherein switching the switch” (e.g., connecting or

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      disconnecting the at least one additional LED circuit to and/or
      from a first LED circuit) “provides two different DC forward
      voltages” (e.g., more than one AC or DC forward voltage) to an
      LED circuit (one additional LED circuit or the first LED circuit
      or the combination of the one additional LED circuit with the
      first LED circuit). There are numerous other embodiments of the
      ’341 Patent disclosing similar configurations. To the extent there
      are minor differences between an embodiment and the specific
      claim language (e.g., the term “switch” is not explicitly
      mentioned in a particular embodiment or the embodiment does
      not specify whether it uses AC or DC), a POSITA would easily
      understand how to implement those differences and would
      understand that they can look to other embodiments for the
      differences.
PO Resp. 43–44 (citing Ex. 1001, 4:33–45, 5:35–51, 5:52– 6:3; Figs. 8, 9,
11, 12; Ex. 2008 ¶ 102) (emphasis added); see Sur-reply 14 (Patent Owner
arguing that “[a] POSITA would understand how to use a switch to change
between two forward voltage levels”), 22–23 (Patent Owner arguing that
“[t]he circuits in Fig. 12 are provided as an exemplary ‘LED package 100’
that can be integrated into larger circuits and modified” which “would
include, for example, ‘wiring’ the package to be switchable between series
and parallel configurations” because “the ’341 Patent is meant to improve on
the type of fixed prior art configuration Petitioner seeks to limit Fig. 12 to”).
                                  3.     Petitioner’s Reply
      Petitioner responds to Patent Owner’s first argument by arguing that
“providing a single forward voltage to one of the circuits and a different
single forward voltage to the other circuit would not practice the claims,
much less disclose and enable its full breadth.” Pet. Reply 17.
      Petitioner responds to Patent Owner’s second argument by arguing
that Patent Owner’s “attempt to characterize the entirety of LED device 100
as a single claimed LED circuit fails because the claims require multiple

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LED circuits,” that is, the claimed “first operating LED circuit” and the
claimed “at least one additional LED circuit.” Id.
      Petitioner responds to Patent Owner’s third argument by arguing that
Patent Owner “fails to address that the claims require that the switching of
the switch provide the at least two different forward voltages, which is not
disclosed.” Id. (citing PO Resp. 39–40). Petitioner characterizes Patent
Owner as “argu[ing] that claim 1 requires the switch provide multiple
‘voltage level options,’” and argues that this “does not address whether a
switch can provide two different ‘forward voltages’ as required by claim 3,
i.e., two different minimums, under Petitioner’s construction.” Id. (citing PO
Resp. 40). Petitioner also contends that “no switch is disclosed that would
provide multiple ‘DC forward voltages’ to the LED device 100 as a whole.”
Id. at 18 (citing Pet. 17–20).
      Petitioner also argues that Patent Owner’s “conclusion with respect to
claim 3 and Figure 12 . . . is incorrect.” Id. (citing PO Resp. 41–42).
According to Petitioner, “LED device 100 can be wired into either a parallel
or a serial configuration during manufacture, and the resulting LED device
100 will then have one of two different possible forward voltages and will be
coupled to the appropriate voltage source.” Id. (citing Pet. 11–12; Ex. 1002
¶ 22) (emphasis added). Petitioner contends that “[t]he forward voltage
provided to the two LED circuits 92 within LED device 100 will be the same
regardless of the configuration.” Id. (citing Pet. 11–12; Ex. 1002 ¶ 22)
(emphasis added).
                                 4.     35 U.S.C. § 112(a)
      With respect to the written description requirement, we are persuaded
that under the construction of “forward voltage” adopted in Section III.C,



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written description support is lacking in the ’295 application underlying the
’341 patent.15
       Claims 3, 10, and 17 recite “wherein the switching of the switch
provides at least two different DC forward voltages to at least one of the first
operating LED circuit or the at least one additional LED circuit.”
       With regard to Patent Owner’s first argument, encompassed within the
scope of each of claims 3, 10, and 17 are three situations: (1) when two
different DC forward voltages are provided to only the first operating LED
circuit; (2) when two different DC forward voltages are provided to only the
at least one additional LED circuit; and (3) when two different DC forward
voltages are provided to the first operating LED circuit and the at least one
additional LED circuit. We agree with Petitioner’s position––that it is
necessary to support the full breadth of these claims (i.e., all three
situations)––and not merely one of the three situations, as Patent Owner
contends. See Pet. 19; PO Resp. 27, 39–40; see also LizardTech, Inc. v.
Earth Resource Mapping, Inc., 424 F.3d 1336, 1345 (Fed. Cir. 2005)
(“Whether the flaw in the specification is regarded as a failure to
demonstrate that the patentee possessed the full scope of the invention
recited in [a] claim . . . or a failure to enable the full breadth of that claim,
the specification provides inadequate support for the claim under section
112, paragraph one.”).
       The ’295 application does not provide sufficient written description
support for situations (1) and (2) under our adopted construction of “forward



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  Here and below, we consider the parties’ citations to and discussion of
’597 PCT relevant to our analysis of the ’295 application because the ’597
PCT and the ’295 application have substantially similar disclosures.

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voltage” as it appears in the claim term “two different DC forward voltages”
recited in claims 3, 10, and 17. Supra § III.C (forward voltage is construed
as “the minimum voltage difference required between the anode and cathode
of the LEDs in the claimed circuit to allow current to flow through the
LEDs”). The cited portions of the ’597 PCT disclose “a first forward voltage
drive level when the two single voltage LED circuits are connected in
parallel and a second forward voltage drive level that is twice the level of
the first forward voltage drive level when the at least two LED circuits are
connected in series.” Ex. 1018 ¶¶ 28 (emphasis added), 30; supra n.14
(considering citations to the ’597 PCT relevant to the analysis of the ’295
application because the ’597 PCT and ’295 application have substantially
similar disclosures). That is, the forward voltage drive level in the ’597 PCT
depends on whether the (at least) two single voltage LED circuits are
connected together in parallel or in series. This is distinguishable from
situations (1) and (2) because the cited portions do not disclose that the two
different forward voltage drive levels are applied to only one single voltage
LED circuit––the cited portions describe only a situation in which at least
two LED circuits are required.
      Patent Owner’s first argument is unpersuasive because the
configuration changes that Patent Owner references in the ’295 application
and the ’341 patent are disclosed as being based on the type of wiring
connection, parallel or serial, between two LED circuits, i.e., the “at least
one of the first operating LED circuit” and the “the at least one additional




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LED circuit.”16 The disclosures of the ’295 application and the ’341 patent
do not address the situation in which (1) the two different DC forward
voltages are provided to only the first operating LED circuit, nor the
situation in which (2) two different DC forward voltages are provided to
only the at least one additional LED circuit.
      We are persuaded by Petitioner that Patent Owner’s second argument
that draws the LED circuit “box” around two single voltage LED circuits is
unavailing as the independent claims from which dependent claims 3, 10,
and 17 require both a “first operating LED circuit” and “at least one
additional circuit.” See Pet. Reply 17. For this reason, Patent Owner’s
argument that Petitioner’s challenge “ignores the fact that the two LED
circuits connected together create a combined circuit that uses two different
forward voltages depending on whether it operates in parallel or series” is
unavailing. Sur-reply 14 (citing PO Resp. 26–27). The claims require
multiple LED circuits––that is, the claimed “first operating LED circuit” and
the claimed “at least one additional LED circuit.” Pet. Reply 18.
      We further agree that “[t]he forward voltage provided to the two LED
circuits 92 within LED device 100 will be the same regardless of the
configuration.” Pet. Reply 18 (citing Pet. 11–12; Ex. 1002 ¶ 22) (emphasis
added). Petitioner’s counsel clarified, during the hearing, that there is no
disclosure that would support a finding that the switch provides two different
forward voltages, for example, by switching the wiring configuration (e.g.,
from serial to parallel or vice versa) between two LED circuits.



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  Patent Owner cites to portions of the ’341 patent. We cite the
corresponding portions of the ’295 application as is relevant to our
determinations regarding challenges based on 35 U.S.C. §§ 112(a)–(b).

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      JUDGE ULLAGADDI: [C]ouldn’t it be argued that there’s one
      DC forward voltage applied when it’s in a first configuration
      between these two single voltage LED circuits and a second DC
      forward voltage when it’s in the other configuration?
      MR. ERICKSON: No, it cannot, Your Honor, for two reasons.
      First, the claim requires that a switch provide the different DC-
      forward voltages, and nowhere is there disclosure of a switch that
      switches between the serial and parallel embodiments. So that’s
      the first reason why that argument would fail.
      The second reason why that argument would fail is that the claim
      at issue requires the different DC voltages be applied to at least
      one of the first or the one additional circuit. And when you
      switch those between parallel and serial, you're always providing
      6 volts. In this example, if the individual LED circuits are 6 volt
      LED circuits. if they’re in parallel, the driver applies 6 volts.
      You’re always getting 6 volts to each LED. If they're in series,
      the driver provides 12 volts to the series, but that results in 6 volts
      being applied to each LED circuit.
Tr. 9:17–10:8. We credit the testimony of Dr. Neikirk, who testifies that,
when “the two 6V LED circuits are wired in parallel, the LED device will
have a 6V forward voltage” and “the two 6V LED circuits are wired in
series, the LED device will have a 12V forward voltage.” Ex. 1002 ¶ 22
(citing Ex. 1001, Fig. 4, Fig. 5, 10:49–64). That is, in either case, the voltage
drop across one LED circuit is the same as the voltage drop across the other
LED circuit. Accordingly, Patent Owner’s argument that “[t]wo different
forward voltages can clearly be applied to the two different LED circuits—
that is, one forward voltage for the ‘first operating LED circuit’ and a
different forward voltage for the ‘one additional LED circuit’” is unavailing.
PO Resp. 39–40.
      In response to Patent Owner’s argument that “different LED circuits
are not limited to the same number of LEDs” and accordingly, “[a] POSITA



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would understand that LED circuits with various scalable or flexible
configurations may need to be driven with multiple different forward
voltages,” this may be relevant to situation (3), but does not address
situations (1) or (2) set forth above. See Sur-reply 24 (citing Ex. 1001,
10:17–18 (“LED circuits 12 configured in a[n] imbalanced bridge circuit.”)).
      Patent Owner’s arguments that “[a] POSITA would understand that
voltage can be increased across an LED to increase brightness,” that “the
dimmer aspect of the ’341 Patent is essentially disclosing one way to
increase LED brightness,” and that “[t]he ’341 Patent is also clear that
forward voltage can be changed to increase brightness” are inapposite. Sur-
reply 22, 24 (citing Ex. 1001, 3:11–19; 7:3–8; 9:17–24; 11:31–35)). The
voltage used to drive an LED or circuit, which can be increased or
decreased, is not the same as or equivalent to the claimed “forward voltage,”
which is “the minimum voltage difference required between the anode and
cathode of the LEDs in the claimed circuit to allow current to flow through
the LEDs” as construed in Section III.C. Patent Owner’s Sur-reply
arguments are unavailing for similar reasons:
      Petitioner argues that a switch could not change the forward
      voltage by cutting it in half or doubling it. Petitioner confuses the
      difference between providing forward voltages to several LED
      circuits (as required by the claims) and providing forward
      voltages to a single LED. If a switch is switching between
      different LED circuits (for example, an LED circuit in parallel
      and an LED circuit in series), then the forward voltage might
      easily be doubled or halved. On the other hand, if a switch is
      increasing current to a single LED, then the voltage would
      increase gradually. PO’s expert testimony is fully consistent
      with this understanding.




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Sur-reply 8 (citing Pet. Reply 6) (emphasis added).
      With regard to Patent Owner’s third argument, the cited portion in
column 3, lines 12 through 19 of the ’341 patent discloses that
      [the] invention comprises circuits and devices that can be driven
      with more than one AC or DC forward voltage “multi-voltage”
      at 6V or greater based on a selectable desired operating voltage
      level that is achieved by electrically connecting the LED circuits
      in a series or parallel circuit configuration and/or more than one
      level of brightness “multi-brightness” based on a switching
      means that connects and/or disconnects at least one additional
      LED circuit to and/or from a first LED circuit.
Ex. 1001, 3:12–19. At best, the cited portion of the ’341 patent (and the
corresponding portion of the ’295 application) indicates that the “switching
means” connects and disconnects LED circuits. Id. The cited portion does
not indicate that the switch is capable of changing the configuration of the
interconnection between LED circuits from series to parallel or vice versa.
Id. Nor does it indicate that the switch is the electrical component that
“provides at least two different DC forward voltages” to “the first operating
LED circuit” or to “the at least one additional LED circuit,” as encompassed
by the scope of claims 3, 10, and 17.
      Patent Owner takes the position that
      [t]o the extent there are minor differences between an
      embodiment and the specific claim language (e.g., the term
      ‘switch’ is not explicitly mentioned in a particular embodiment
      or the embodiment does not specify whether it uses AC or DC),
      a POSITA would easily understand how to implement those
      differences and would understand that they can look to other
      embodiments for the differences.”
PO Resp. 43–44; see Sur-reply 14 (Patent Owner arguing that “[a] POSITA
would understand how to use a switch to change between two forward
voltage levels”). However, the claimed subject matter must be disclosed in

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the specification––it is not sufficient for the claimed subject matter to be
obvious in view of the specification’s disclosure. Ariad, 598 F.3d at 1351
(holding that “the test for sufficiency is whether the disclosure of the
application relied upon reasonably conveys to those skilled in the art that the
inventor had possession of the claimed subject matter as of the filing date”
and that “a description that merely renders the invention obvious does not
satisfy the requirement” (emphasis added)); Turbocare Div. of Demag
Delaval Turbomachinery Corp. v. Gen. Elec. Co., 264 F.3d 1111, 1119 (Fed
Cir. 2001) (affirming summary judgment for failing to satisfy the written
description requirement where the “original disclosure is completely lacking
in any description of an embodiment in which the spring is located” where
claimed, and holding that, although “[s]uch an embodiment may have been
obvious from” that disclosure, “that is not enough to satisfy the written
description requirement”); Rivera v. International Trade Commission, 857
F.3d 1315, 1322 (Fed. Cir. 2017) (finding that “[t]he specification [] does
not teach a container with an integrated filter, and so, does not provide
written description support for such a container, even if that type of
container might be rendered obvious by the specification”). Similarly, Patent
Owner’s argument that “[t]he circuits in Fig. 12 are provided as an
exemplary ‘LED package 100’ that can be integrated into larger circuits and
modified” which “would include, for example, ‘wiring’ the package to be
switchable between series and parallel configurations” is unavailing because
the “original disclosure is completely lacking in any description of an
embodiment in which” the “‘wiring’. . . [is] switchable between series and
parallel configurations.” Sur-reply 22–23; see Pet. Reply 18.




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      We further disagree that Petitioner is attempting to read any particular
embodiment into claims 3, 10, and 17. None of the embodiments, considered
individually or in combination, discloses or enables the full breadth of
claims, as Petitioner contends. See Pet. 31–32.
      Based on the complete record developed during trial, Petitioner
establishes, by a preponderance of the evidence, that claims 3, 10, and 17
lack sufficient written description support in the ’295 application underlying
the ’341 patent as required by 35 U.S.C. § 112(a).
      Separate from the written description requirement, 35 U.S.C. § 112(a)
includes an enablement requirement. Ariad Pharmaceuticals, Inc. v. Eli Lilly
and Co., 598 F.3d 1336, 1344 (Fed. Cir. 2010) (en banc). Enablement
requires the specification of a patent to “teach those skilled in the art how to
make and use the full scope of the claimed invention without ‘undue
experimentation.’” Genentech, Inc. v. Novo Nordisk, A/S, 108 F.3d 1361,
1365 (Fed. Cir. 1997) (quoting In re Wright, 999 F.2d 1557, 1561 (Fed. Cir.
1993)); see also Amgen v. Sanofi, No. 21-757, 598 U.S. __, slip op. at 13
(2023) (“[T]he specification must enable the full scope of the invention as
defined by its claims.”).
       Petitioner’s “impossibility of multiple minimum voltages” arguments
with respect to the inventions recited in claims 3, 10, and 17 are persuasive
to show a lack of written description as discussed above, as well as to show
a lack of enablement, indefiniteness, and PGR eligibility, as discussed
below. We agree that, “[b]ecause each circuit has only one such minimum,
there is only one ‘forward voltage’ for each circuit, and no switch can




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provide ‘at least two different DC forward voltages’ to either [individual]
circuit.” Pet. 18.
       As we discussed above, the ’295 application (and the ’341 patent)
addresses two different forward voltages based on the type of wiring
connection, parallel or serial, between two circuits, i.e., the “at least one of
the first operating LED circuit” and “the at least one additional LED circuit.”
Similar to what we discussed above, the disclosures of the ’295 application
and the ’341 patent do not address or explain how it would even be possible
to apply two different minimum voltages for the very same circuit as would
be necessary in two of the three situations encompassed by the scope of
claims 3, 10, and 17, i.e., the situations in which: (1) the two different DC
forward voltages are provided to only the first operating LED circuit; and (2)
two different DC forward voltages are provided to only the at least one
additional LED circuit. We further note that the portions of the ’295
application corresponding to the portions of the ’341 patent cited by
Petitioner refer to the disclosed LED circuits as “single voltage LED
circuits.” Ex. 1003, 17–19 (’295 application as filed, paragraphs 28 and 30).
This disclosure further lends support to a finding that multiple minimum
voltages are not applied to individual circuits, the single voltage LED
circuits, unless at least two of these single voltage LED circuits are
connected together.
       Based on the complete record developed during trial, we are
persuaded that Petitioner establishes, by a preponderance of the evidence,
that the ’295 application underlying the ’341 patent lacks enabling
disclosure supporting claims 3, 10, and 17 as required by 35 U.S.C. § 112(a).




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       For the purposes of the analysis of PGR eligibility in Section III.F
infra, we also determine that neither the ’597 PCT nor the applications
intervening between the ’597 PCT and the ’295 application provide
sufficient written description support or enabling disclosure for claims 3, 10,
and 17 for the same reasons discussed above.
                                 5.     35 U.S.C. § 112(b)
       We are persuaded that it is more likely than not that the ’295
application underlying the ’341 patent “fails to inform, with reasonable
certainty, those skilled in the art about the scope of the invention.” Nautilus,
572 U.S. at 901. That is, it is unclear what the scope of claims 3, 10, and 17
is, given that a POSITA could not possibly apply two different DC forward
voltages, under the construction of “forward voltage” that we adopted in
Section III.C, to only one of the two single voltage LED circuits. That is,
apply two different DC forward voltages to: (1) only the claimed the first
operating LED circuit; or (2) only the at least one additional LED circuit, as
is encompassed by the scope of claims 3, 10, and 17. We are persuaded that
Petitioner establishes that claims 3, 10, and 17 are indefinite because it
would have been impossible to apply two different minimum voltages (i.e.,
the claimed “two different DC forward voltages”) to only one single voltage
LED circuit (i.e., only one of the claimed first operating circuit and the at
least one additional circuit). Cf. Synchronoss Techs., Inc. v. Dropbox, Inc.,
987 F.3d 1358, 1366–67 (Fed. Cir. 2021) (finding the challenged claims
indefinite and therefore invalid because they “nonsensical and require an
impossibility—that the digital media file contain a directory of digital media
files”).
       Based on the complete record developed during trial, we are



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persuaded that Petitioner establishes, by a preponderance of the evidence,
that claims 3, 10, and 17 are indefinite under 35 U.S.C. § 112(b).
   E.      Challenge 2—Lack of Written Description and Enablement, and
                      Indefiniteness of Claims 4, 11, and 18
        Petitioner contends that claims 4, 11, and 18 are invalid (i) because
the Specification does not describe or enable the allegedly impossible
subject matter and thus, these claims lack written description and enabling
support in the ’295 application or the ’341 patent; and (ii) because claims 4,
11, and 18 are drawn to impossible subject matter, they are also indefinite.
Pet. 32–33.
                            1.       Petitioner’s Initial Contentions
        Petitioner argues that claims 4, 11, and 18 of the ’341 patent claim
“impossible subject matter [that] is not disclosed in the Pre-AIA
Applications,” particularly because “the independent claims define the ‘LED
lighting device’ [as] compris[ing] the switch, but the dependent claims [4,
11, and 18] require that the switch be ‘between’ that same ‘LED lighting
device’ and the power source.” Pet. 20–21.
                       2.        Patent Owner’s Response and Sur-reply
        Patent Owner disputes Petitioner’s position and contends that “[t]hese
features [of dependent claims 4, 11, and 18] are clearly supported and
disclosed in the ’597 [PCT] Application” because Figures 7 and 9 of the
’597 Application “clearly disclose 2-way switch 60 connected between an
AC power source and an LED lighting device” and because “the ’597
Application discloses embodiments where the switch is part of the LED
lighting device. PO Resp. 32–33 (citing Ex. 1018 ¶¶ 57, 58, Figs. 7, 9).
Patent Owner argues that “[t]here does not appear to be any dispute that this
claim is directed toward an arrangement similar to Fig. 7, except that the box

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50 comprising the LED device is extended to encompass switch 60 as shown
in the red box,” reproduced below. Id. at 45.




                    Patent Owner’s annotated version of Figure
                       7 of the ’341 patent. Id. at 46.
      Patent Owner alternatively contends that the claimed switch acts as an
interface:
      While the independent claims characterize the LED device as
      “comprising” the switch, a POSITA would understand that
      Claims 4, 11 and 18 are simply specifying where in the LED
      device the switch would be connected relative to the power
      source. In other words, the claims are directed to a switch that
      acts as the interface between the AC voltage power source and
      the LED lighting device. By acting as the interface, this switch is

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      both a part of the LED lighting device (as the independent claims
      require) and between the AC voltage power source and the LED
      lighting device (as the dependent claims require).
Id. at 46–47 (citing Ex. 1001, Figs. 7, 9 (Patent Owner arguing that the cited
figures show a switch located between a voltage source and the rest of a
LED device)); see Sur-reply 16–17, 25–26.
                                 3.    Petitioner’s Reply
      Petitioner’s responds that claims 4, 11, and 18 “are nonsensical
because they require the switch, which is part of the LED lighting device, to
be connected to itself.” Pet. Reply 14 (citing Becton, Dickinson and Co. v.
Tyco Healthcare Group, LP, 616 F.3d 1249, 1254–56 (Fed. Cir. 2010)).
      Petitioner contends that “[Patent Owner’s] assertion that these claims
are disclosed in Figures 7 and 9 and [0057]-[0058] of the ’597 PCT is wrong
for multiple reasons.” Id. (citing PO Resp. 32–33). Petitioner contends that
“[e]ach of Figures 7 and 9 and the accompanying text discloses a switch that
is external to the LED device.” Id. (citing Ex. 1018 ¶ 59 (“switch 74 is
electrically connected between the multi-brightness LED device 62 and the
AC voltage source 78”)). According to Petitioner, “[n]othing in those
disclosures describe how the switch can be both a part of the LED lighting
device and between that device and the AC voltage source.” Id. (citing Ex.
1034 ¶¶ 25–27).
                                4.     35 U.S.C. § 112(a)
      Patent Owner’s arguments are unavailing. As to Patent Owner’s initial
contention, Patent Owner cites portions in Figures 7 and 9 of the ’597 PCT
and the ’341 patent that depict switch 60 as being external to multi-voltage
and/or multi-brightness LED lighting device 50 and lamp 58 in Figure 7 and
depict two-way switch 74 as external to multi-brightness LED lighting


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device 62 in Figure 9. See PO Resp. 32–33 (citing Ex. 1018 ¶¶ 57, 58, Figs.
7, 9). Patent Owner also cites paragraphs 57 and 58 of the ’597 PCT in
support of its argument. Id.; supra n.14. Paragraph 57 of the ’597 PCT
describes Figure 7 and does not disclose how switch 60 is part of LED
lighting device 50 and/or lamp 58. Ex. 1018 ¶ 57. Paragraph 58 of the ’597
PCT describes Figure 8, which depicts “at least two bridge rectified 68 series
LED circuits 69,” but does not depict a switch, let alone one included within
multi-brightness LED lighting device 62. Id. ¶ 58. The cited figures of the
’597 PCT do not depict and the cited portions do not describe how the
claimed “switch” can be a constituent part of the LED lighting device of
independent claims 1, 9, and 15 and be between the LED lighting device and
AC voltage power source as required by claims 4, 11, and 18. Even
assuming, arguendo, Patent Owner could cite to any support for re-drawing
the box corresponding to multi-voltage and/or multi-brightness LED lighting
device 50 in its annotated version of Figure 7 to include switch 60, Patent
Owner’s annotated version of Figure 7 still would not support a finding that
switch 60 is between LED lighting device 50 and the AC voltage source.
      As to Patent Owner’s alternative “interface” contention, even
assuming, arguendo, that Patent Owner cited to sufficient underlying
evidence or support for characterizing the switch as an “interface,” such
evidence would still not support a finding that the claimed “switch” could be
part of the LED lighting device of independent claims 1, 8, and 15 and also
be “connected between the AC voltage power source and the LED lighting




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device,” as recited in claims 4, 11, and 18, which depend directly from
claims 1, 8, and 15.
      We agree that the portions of the ’295 application corresponding to
the portions of the ’341 patent and the ’597 PCT cited by Patent Owner do
not and cannot show the claimed switch as being part of the claimed LED
lighting device and at the same time being disposed between the voltage
source and the claimed LED lighting device.
      We are persuaded that the Petition shows by a preponderance of the
evidence that claims 4, 11, and 18 lack sufficient written description support
in the ’295 application underlying ’341 patent as required by 35 U.S.C.
§ 112(a).
      With regard to the enablement requirement, we are persuaded that the
’295 application does not “teach those skilled in the art how to make and use
the full scope of the claimed invention without ‘undue experimentation’”
because it is “impossible” for the switch to be both part of the LED lighting
device and between the LED lighting device and the voltage source, as
discussed above in this section.
      We are persuaded that the Petition shows by a preponderance of the
evidence that claims 4, 11, and 18 lack sufficient enabling disclosure in the
’295 application underlying ’341 patent as required by 35 U.S.C. § 112(a).
      For the purposes of the analysis of PGR eligibility in Section III.F
infra, we also determine that neither the ’597 PCT nor the applications
intervening between the ’597 PCT and the ’295 application provide




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sufficient written description support or enabling disclosure for claims 4, 11,
and 18 for the reasons discussed above.
                                 5.     35 U.S.C. § 112(b)
      We are persuaded that the ’295 application underlying the ’341 patent
“fails to inform, with reasonable certainty, those skilled in the art about the
scope of the invention” for reasons similar to those discussed above.
Nautilus, 572 U.S. at 901. That is, it is unclear what the scope of claims 4,
11, and 18 is, given that a POSITA could not possibly make the claimed
switch both a constituent part of the claimed LED lighting device (as
required by claims 1, 8, and 15 from which claims 4, 11, and 18 directly
depend) and dispose it between the claimed LED lighting device and the
claimed AC voltage power source (as required by claims 4, 11, and 18).
      In view of the above, the Petition establishes by a preponderance of
the evidence that claims 4, 11, and 18 are indefinite under 35 U.S.C.
§ 112(b).
                   F.     Eligibility for Post-Grant Review
      The post-grant review provisions set forth in section 6(d) of the
Leahy-Smith America Invents Act, Pub. L. No. 112-29, 125 Stat. 284
(September, 2011) (“AIA”), apply only to patents subject to the first-
inventor-to-file provisions of the AIA. See AIA § 6(f)(2)(A) (stating that the
provisions of Section 6(d) “shall apply only to patents described in section
3(n)(1)”). Patents subject to the first-inventor-to-file provisions are those
that issue from applications “that contain[] or contained at any time . . . a
claim to a claimed invention that has an effective filing date as defined in
section 100(i) of title 35, United States Code, that is on or after” March 16,
2013. AIA § 3(n)(1); see supra n.4. “A petition for a post-grant review may



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only be filed not later than the date that is 9 months after the date of the
grant of the patent or of the issuance of a reissue patent (as the case may
be).” 35 U.S.C. § 321(c).
      Petitioner contends that the ’341 patent is eligible for post-grant
review because, even if some of the claims are entitled to the benefit of a
filing date before March 16, 2013 by virtue of the parent application(s), (i)
challenged claims 3, 4, 10, 11, 17, and 18 have an earliest effective filing
date that is on or after March 16, 2013, and (ii) one of the parent applications
of the ’341 patent that issued as a patent contains claims having earliest
effective filing dates on or after March 16, 2013. Pet. 16–23. Petitioner
further contends that the Petition was filed within nine months of the issue
date of the ’341 patent. Id. at 3.
      Patent Owner argues that, “[t]o the extent the Board determines
claims 3, 4, 10, 11, 17, or 18 are not supported by Pre-AIA Applications
because it determines that the claims are impossible, the claims are still
ineligible for post-grant review because new matter added during
prosecution cannot convert pre-AIA claims to post-AIA claims.” PO Resp.
36. According to Patent Owner,
      [t]he Final Guidelines for Implementing the Fist Inventor To File
      Provisions of the AIA provide that “an amendment (other than a
      preliminary amendment filed on the same day as [the]
      application) seeking to add a claim to a claimed invention that is
      directed to new matter in an application filed on or after March
      16, 2013, that, as originally filed, discloses and claims only
      subject matter also disclosed in a previously filed pre-AIA
      application to which the application filed on or after March 16,
      2013, is entitled to priority or benefit under 35 U.S.C. 119, 120,
      121, or 365, would not change the application from a pre-AIA
      application into an AIA application.”



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Id. at 37 (citing 78 Fed. Reg. 11,083 (Feb. 14, 2013) (Ex. 2015)); see Sur-
reply 20–21 (Patent Owner arguing, in part, that “the Guidelines clarify that
a claim to new matter does not have a filing date and therefore does not
impact the other claims in the patent, not contradicting the AIA”).
      AIA § 3(n)(1) reads as follows:
      (n) EFFECTIVE DATE. —
            (1) IN GENERAL. — Except as otherwise provided in this
            section, the amendments made by this section shall take effect
            upon the expiration of the 18-month period beginning on the
            date of the enactment of this Act, and shall apply to any
            application for patent, and to any patent issuing thereon,
            that contains or contained at any time—
                   (A) a claim to a claimed invention that has an effective
                   filing date as defined in section 100(i) of title 35, United
                   States Code, that is [after March 15, 2013]; or
                   (B) a specific reference under section 120, 121, or 365(c)
                   of title 35, United States Code, to any patent or
                   application that contains or contained at any time such a
                   claim.
      We are persuaded by Petitioner’s response that “[t]he statute’s [AIA
§ (3)(n)(1)] explicit [language] ‘contains or contained at any time’ limitation
on ‘a claim’ does not provide for, nor permit, an exception for claims added
by amendment during prosecution.” Pet. Reply 10. Petitioner also
persuasively argues that the “‘Examination Guidelines’ cited by Patent
Owner do not conflict with the statute defining PGR eligibility of issued
patents.” Id. (emphasis added).
      To determine whether any of claims 3, 4, 10, 11, 17, and 18 of the
’341 patent is entitled to a right of priority and effective filing date based on
the ’597 PCT (i.e., the first application in the priority chain filed before
2013), we determine whether the earlier-filed application satisfies the
following two requirements set forth in 35 U.S.C. § 112(a)––“(1) a written

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description of the subject matter of the claim(s) at issue in the later filed
nonprovisional application, and (2) an enabling disclosure to permit one of
ordinary skill in the art to make and use the claimed invention in the later
filed nonprovisional application without undue experimentation.” See MPEP
§ 211.05.
      We are persuaded that the ’597 PCT lacks sufficient written
description support for the inventions recited in claims 3, 10, and 17 of the
’341 patent. Supra § III.D. Dependent claims 3, 10, and 17 of the ’341 patent
are therefore not entitled to an effective filing date as early as that of the
’597 PCT (i.e., 2010). Id. Independently, the ’597 PCT lacks an enabling
disclosure for the inventions recited in claims 3, 10, and 17 of the ’341
patent––for this additional reason, these claims do not receive an effective
filing date corresponding to the ’597 PCT.
      Our determinations of lack of written description support and lack of
enabling disclosure for claims 4, 11, and 18 and ’597 provide two additional,
independent bases for PGR eligibility. See AIA § 3(n)(1).
      We further do not agree with Patent Owner that Petitioner is arguing
that “the claims are not entitled to any priority date at all,” nor do we agree
that the claims are not entitled to any priority date. PO Resp. 32. In this case,
the effective filing date is, at best, only as early as the filing date of the ’295
application from which the ’341 patent matured. Patent Owner has not
demonstrated that any of the applications intervening between the ’597 PCT
and the ’295 application––U.S. Patent Application Nos. 16/274,164,
15/685,429, and 14/172,644––provide sufficient support (i.e., enablement or
written description) for claims 3, 4, 10, 11, 17, and 18 of the ’341 patent.
The ’295 application was filed on January 10, 2020, which is after March



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16, 2013, and thus the first-inventor-to-file provisions of the AIA apply to
our analysis of all of the challenged claims. See supra n.4.
      We further determine that Petitioner filed the Petition within the
9-month statutory period for requesting post-grant review in accordance with
35 U.S.C. § 321(c). The ’341 patent issued on February 23, 2021 (see Ex.
1001, code (45)), and the Petition in this proceeding was accorded a filing
date of November 12, 2021 (see Paper 4). Thus, the Petition was filed less
than 9 months after the date of issuance of the ’341 patent.
      In view of the above, we are persuaded that PGR eligibility of the
’341 patent is conferred by the effective filing date of claims 3, 4, 10, 11, 17,
and 18.
      Petitioner additionally argues that claims 1–15 of the ’001 patent have
an effective filing date on or after March 16, 2013 because none of the pre-
AIA applications in the priority chain of the ’001 patent disclose the subject
matter of independent claims 1 and 11 and dependent claims 9 and 15 of the
’001 patent. Pet. 21–23. Patent Owner disputes Petitioner’s contentions. PO
Resp. 15–16. As we determine that the ’341 patent is PGR eligible on the
basis of the effective filing date of claims 3, 4, 10, 11, 17, and 18, we need
not determine whether any of claims 1–15 of the ’001 patent have an
effective filing date on or after March 16, 2013.
                G.     Challenge 3—Anticipation by Bruning
      Petitioner contends that claims 1, 3, 5, 7, 8, 10, 12, 14, 15, 17, and 19
are unpatentable as anticipated under 35 U.S.C. § 102 over Bruning. Pet. 33–
53. For the reasons that follow, we are persuaded that Petitioner
demonstrates anticipation of claims 1, 5, 7, 8, 12, 14, 15, 17, and 19 by
Bruning by a preponderance of the evidence.



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                               1.     Overview of Bruning
      Bruning is titled “Control and Drive Circuit Arrangement for
Illumination Performance Enhancement with LED Light Sources.” Ex. 1004,
code (54) (Title). Bruning “relates to backlighting of display panels,
including the backlighting in LCD panels.” Id. ¶ 1. More particularly,
Bruning discloses a backlight for an LCD display comprised of an array of
LEDs, the backlight driven and controlled by a fast pulse power converter to
provide a response time for the backlight on the order of microseconds. Id. at
code (57) (Abstract).
      Bruning’s Figure 4, reproduced below, illustrates an LED backlight.
Id. ¶ 31.




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               Figure 4 illustrates an LED backlight. Id. ¶ 31.

      Figure 4 illustrates drive circuitry for an LED backlight. Id. The drive
circuitry includes: an AC voltage source 204 connected to inductors 206a,
206b and capacitor 208; diodes D1a, D1b, D1c, D1d comprising a full wave
rectification bridge circuit which provides full wave rectification of the AC
input of AC source 204; capacitor Co for smoothing the rectified AC signal
further into a first order DC voltage that is provided across points X–Y in
Figure 4; and converter circuitry between points X and Y. Id. ¶¶ 31–32. The
converter circuitry between points X and Y in Figure 4 includes a multiple
output transformer 220, a switch Q1, and a resistor R1. Id. ¶ 32. Multiple


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output transformer 220 has a primary winding N1 and three secondary
windings N2, N3, and N4 each magnetically coupled to the primary
winding. Id. Secondary windings N2, N3, and N4 are included in LED sub-
array circuits 210R, 210G, and 210B of an RGB LED array. Id.
      Switch Q1 is cycled on and off by a central controller 224. Id. ¶ 33.
When Q1 is on (closed), the rectified voltage applied across X–Y drops
across primary winding N1; and when Q1 is off (open), the rectified voltage
drops across switch Q1. Id. When switch Q1 is “off,” the circuit between
points X and Y is open. Id. ¶ 34. In addition, a negative voltage appears
across primary winding N1, induced by secondary windings N2–N4, when
Q1 is off. Id. During the “on” portions of a switching cycle of switch Q1, a
voltage VX'-Y' is created across points X’ and Y’ in LED sub-array 210R due
to the induced voltage in secondary winding N2 created by current iN1, in
primary winding N1. Id. ¶ 35. Similar voltages are created in the other
secondary windings (N3 and N4). Id.
      LED sub-arrays 210R, 210G, and 210B generate the light output of
the LED backlight 200 using applied voltages VR0, VG0, and VB0,
respectively. Id. ¶ 40. Since turns ratios between primary winding N1 and
secondary windings N2, N3, and N4 of transformer 220 are fixed, voltages
VR0, VG0, VB0 applied to LED sub-arrays 210R, 210G, and 210B,
respectively, are controlled by controller 224 by controlling the duty cycle of
switch Q1. Id. ¶ 38. And, since voltages VR0, VG0, VB0 establish the
maximum level of light output of LED sub-arrays 210R, 210G, and 210B,
respectively, the maximum level of light output by LED sub-arrays 210R,
210G, and 210B, respectively, are likewise controlled by controller 224, by
controlling the duty cycle of switch Q1. Id. In addition, a “panel light



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setting” input to central controller 224 (controlled by a user or by other
input, including video input) adjusts the duty cycle of Q1 and thus the
maximum light output of LED sub-arrays 210R, 210G, and 210B. Id.
      The drive circuitry in Figure 4 further includes a switch Q5 and
controllers 232R, 232G, and 232B. See Fig. 4. Switching Q5 on and off in a
cyclical manner causes the current through red LED 230R to rise and fall in
a cyclical manner, thus resulting in a cyclical rise and fall in the light output
of red LED 230. Id. ¶ 42. Controller 232R independently controls the
switching of switch Q5. Id. The duty cycle set by controller 232R controls
the amount of time that Q5 is turned on and off in a switching cycle. Id.
Controller 232R and switch Q5 have response times on the order of
microseconds; thus, the duty cycle may be on the order of microseconds. Id.
Similarly, the light output of green and blue LED sub-arrays 210G and 210B
are independently controlled by the independent controllers 232G and 232B.
Id. ¶ 44. Thus, independent controllers 232R, 232G, and 232B determine the
relative output of red, green, and blue light, respectively, output by LED
sub-arrays 210R, 210G, and 210B, respectively. Id. Since the duty cycle of
each controller (and the resulting cyclical change of light output) is on the
order of microseconds, the eye integrates the separate color outputs into a
resulting color composite. Id. Thus, controllers 232R, 232G, and 232B may
be used to regulate the color point and/or color content of the generated
white light. Id.
                                 2.     Independent Claim 1
      [1.pre] “An LED lighting device comprising:”
      Petitioner contends that “Bruning discloses an LED lighting device
(Figs. 2, 4) comprising an LED backlight for a mobile device, including the



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claimed elements as shown below.” Pet. 34 (citing Ex. 1004, codes (54)
(Title), (57) (Abstract), Figs. 1–5, ¶¶ 4, 7, 9–15, 24–29, 31–51; Pet. § VIII.A
(Bruning overview); Ex. 1002 ¶ 67). Patent Owner does not contest
Petitioner’s evidence and arguments with respect to the preamble. See PO
Resp. Based our review of the complete record developed during trial, we
are persuaded that Petitioner demonstrates sufficiently that Bruning
discloses the preamble of claim 1.17
      [1.a] “a first operating LED circuit and at least one additional
      LED circuit”
      Petitioner contends “Bruning discloses a first operating LED circuit
(LED sub-array circuit 210R) and at least one additional LED circuit (e.g.,
LED sub-array circuits 210G and 210B).” Pet. 34–35 (citing Ex. 1004
¶¶ 31–44 (paragraph 40 disclosing “LED sub-array circuits 210R, 210G,
210B”)). Patent Owner does not contest Petitioner’s evidence and arguments
with respect to this limitation. See PO Resp. Based our review of the
complete record developed during trial, we are persuaded that Petitioner
demonstrates sufficiently that Bruning discloses limitation 1.a.
      [1.b] “at least one of the first operating LED circuit or the at
      least one additional LED circuit including at least two LEDs
      connected in either series or parallel”
      Petitioner contends that “Bruning discloses at least one of the first
operating LED circuit (LED subarray circuit 210R) or the at least one
additional LED circuit (e.g., LED sub-array circuits 210G and 210B)


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  We need not determine whether the preambles of any of claims 1, 8, and
15 are limiting because Petitioner persuasively shows that Bruning discloses
the subject matter of the preambles in this third challenge and also
persuasively shows that the combination of Bruning and Kabel teaches the
subject matter of the preambles in the following, fourth challenge.

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including at least two LEDs connected in either series or parallel (‘One LED
230R is used in FIG. 4b to represent all of the LEDs in the sub-array
210R.’).” Pet. 36 (citing Ex. 1004 ¶¶ 24, 25, 31–44; Ex. 1002 ¶ 69).
Petitioner further contends that “Bruning discloses that each of the sub-
arrays includes at least two LEDs connected in either series or parallel, and
preferably includes redundant connections to minimize the impact of a
failure or short of an LED.” Id. (citing Ex. 1004 ¶¶ 24, 25, 40; Ex. 1002
¶ 70). Patent Owner does not contest Petitioner’s evidence and arguments
with respect to this specific limitation. See PO Resp. Based our review of the
complete record developed during trial, we are persuaded that Petitioner
demonstrates sufficiently that Bruning discloses limitation 1.b.
       [1.c] “the at least one additional LED circuit being configured to emit
       a different color light compared to the first operating LED circuit”
       Petitioner contends that Bruning discloses “the at least one additional
LED circuit (e.g., sub-array circuits 210G and 210B emitting green and blue
light, respectively) being configured to emit a different color light compared
to the first operating LED circuit (LED sub-array circuit 210R emitting red
light).” Pet. 36 (citing Ex. 1004 ¶¶ 4, 7, 9, 11, 12, 14, 15, 24–29, 37, 40, 48–
50, Fig. 4; Ex. 1002 ¶ 71). Patent Owner does not contest Petitioner’s
evidence and arguments with respect to this limitation. See PO Resp. Based
our review of the complete record developed during trial, we are persuaded
that Petitioner demonstrates sufficiently that Bruning discloses limitation
1.c.
       [1.d] “a switch capable of at least one of: (a) switching a voltage
       level input to at least one of the first operating LED circuit or the at
       least one additional LED circuit, or (b) switching the at least one
       additional LED circuit on or off” and



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       [1.e] “wherein (a) or (b) is selectable by a user switching the switch,
       and”
       Petitioner contends:
       Each of the “panel light setting” and “switch Q1” individually
       satisfies this limitation under the proper construction of “switch.”
       ...
       Bruning discloses a switch (“switch Q1”) capable of switching a
       voltage level input to at least one of the first operating LED
       circuit (LED sub-array circuit 210R) or the at least one additional
       LED circuit (e.g., LED sub-array circuits 210G and 210B).
       Switch Q1 controls the voltages VR0, VG0, VB0 that are applied
       to the red, green, and blue LED sub-arrays 210R, 210G and
       210B, respectively. Specifically, switch Q1’s duty cycle
       (controlled by the user via controller 224) controls the voltage
       applied to the LED circuits . . .
       Additionally, Bruning discloses that “the duty cycle of Q1 . . .
       may be used to adjust the overall intensity of the LED backlight.”
       This is because Q1’s duty cycle controls the applied voltages
       VR0, VG0, VB0, and the applied voltages VR0, VG0, VB0
       determine their respective circuits’ maximum current and
       maximum brightness level.
Pet. 38–39 (citing Ex. 1004 ¶¶ 26, 36–38, 45, Fig. 4a; Ex. 1002 ¶¶ 72–75)
(third alteration in original).
       Petitioner alternatively contends that
       Bruning also discloses a switch (“panel light setting”) capable of
       switching a voltage level input to at least one of the first
       operating LED circuit (LED sub-array circuit 210R) or the at
       least one additional LED circuit (e.g., LED sub-array circuits
       210G and 210B). Bruning discloses that the user directly controls
       the “panel light setting” switch to adjust Q1’s duty cycle. The
       setting of the panel light setting switch controls the voltages
       (VR0, VG0, VB0) that are applied to the red, green, and blue
       LED sub-arrays 210R, 210G and 210B, respectively, via
       controller 224 and switch Q1 as discussed above.



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Id. at 39–40 (citing Ex. 1004 ¶ 38; Ex. 1002 ¶ 76). Petitioner also
contends that Bruning discloses that
      each of voltages (VR0, VG0, VB0) is selectable by a user
      switching the switch (panel light setting switch and switch Q1).
      The voltages are selectable by a user directly operating the panel
      light setting switch, which effects the change in the voltages via
      controller 224 and switch Q1 as discussed above. The voltages
      are selectable by a user indirectly operating switch Q1, which the
      user indirectly operates via the panel light setting switch and
      controller 224.
Id. at 40 (citing Ex. 1002 ¶ 78); see Ex. 1002 ¶ 77.
                         Patent Owner’s Arguments
      Patent Owner argues the Bruning does not explicitly describe how its
“panel light setting” works, nor does it describe the panel light setting as a
switch. PO Resp. 56–57.
      Rather, Patent Owner contends that the panel light setting is merely an
input to central controller 224, which is the component that actually ‘adjusts
the duty cycle of [transistor] Q1.’” Id. at 57 (citing Ex. 1004 ¶ 38). Patent
Owner further argues that “switch Q1 is a transistor ‘controlled by controller
224,’ which sets the ‘duty cycle of switch Q1’” “and is therefore not capable
of being switched by a user.” Id. at 53 (citing Ex. 1004 ¶¶ 37, 38); see Sur-
reply 26. According to Patent Owner, “it would be ‘impossible’ for a user to
perform the switching function of transistor Q1, which has cycles ‘each
having a period on the order of 10 microseconds.’” PO Resp. 54 (citing Ex.
1004 ¶ 33; Ex. 2010, 81:20–24). Patent Owner contends that “[a] user
cannot possibly switch that fast, nor could a user reasonably switch that
many times” and that “[u]ser input may influence the controller to set a
different rate of switching for Q1, but Q1 still switches regardless of
user input.” Id. at 54 (citing Ex. 2008 ¶ 117).

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      Patent Owner also argues that “the claims require that the switch
individually switch a single LED circuit.” Id. at 55 (citing Ex. 1001, claim
1); see Sur-reply 26–27. According to Patent Owner, “in Bruning[’s] Fig. 4,
Q1, through primary winding N1, affects voltage to each of secondary
windings N2-N4—and therefore LED circuits 210R, 210G and 210B—
simultaneously,” but “does [not] individually switch any of these circuits.”
PO Resp. 55–56 (citing Ex. 1004 ¶¶ 33, 34).
                        Analysis of Parties’ Arguments
      With regard to Patent Owner’s argument about the Bruning’s “panel
light setting,” Petitioner acknowledges, in its fourth challenge applying
Bruning in view of Kabel, that Bruning does not explicitly describe how its
“panel light setting” is implemented. Pet. 54. We do not view Petitioner’s
acknowledgment as a deficiency of Petitioner’s third challenge because
independent claim 1 does not include any limitations specifying how the
switch should be implemented––rather, claim 1 includes limitations
specifying the function(s) that the switch must perform. Patent Owner’s
argument that Bruning does not explicitly describe the “panel light setting”
as a switch is unavailing because the relevant inquiry is whether a POSITA
would have understood Bruning’s “panel light setting” to disclose a switch
that performs the claimed function(s) recited in independent claim 1.
      We are persuaded by Petitioner’s argument that the user in Bruning
“controls the ‘panel light setting’ switch to adjust Q1’s duty cycle.” Id. at 39
(citing Ex. 1004 ¶ 38); see Ex. 1004 ¶¶ 36, 37. Petitioner also persuasively
points to Bruning’s disclosure of adjusting Q1’s duty cycle to affect “the
voltages (VR0, VG0, VB0) that are applied to,” and “establish the maximum




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level of light output” by, “the red, green, and blue LED sub-arrays 210R,
210G and 210B.” Pet. 39–40 (citing Ex. 1002 ¶ 76); Ex. 1004 ¶ 38.
      Patent Owner’s second argument again implicitly construes the
claimed “switch” to be directly controlled by the claimed user, although
Patent Owner apparently withdraws its construction, requiring the same, that
was initially set forth in its Preliminary Response. See generally PO Resp.
We discern no argument or evidence in the record in support of requiring the
claimed “switch” to be directly controlled by the claimed “user.” Merely
because “switch Q1 is a transistor ‘controlled by controller 224’” does not
mean that the switch is “not capable of being switched by a user.” See PO
Resp. 53, 56 (citing Ex. 1004 ¶¶ 37, 38). Having reviewed the entire record
developed during trial, we maintain our preliminary determination that the
claims do not exclude controlling the claimed “switch” indirectly, for
example, by a user through a controller. As such, we agree with Petitioner
that switch Q1 also teaches the claimed “switch” because switch Q1 is
indirectly controlled by the claimed “user” via controller 224 and/or via
Bruning’s panel light setting. Because we determine that a user can
indirectly control Bruning’s panel light setting, for example by using
controller 224, the period length of the transistor’s cycles (i.e., on the order
of microseconds) does not undermine the user’s ability to control the
switching. See id. at 22 (citing Ex. 1004 ¶ 33).
      We further discern no argument or evidentiary support in the record to
support a finding that “the claims require that the switch individually switch
a single LED circuit.” PO Resp. 55. Instead, we agree with Petitioner that
“[t]he claims require a switch that switches a voltage level input to ‘at least
one of’ the LED circuits, which literally encompasses switching a voltage



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level input to all of the LED circuits.” Pet. Reply 22 (citing Ex. 1035, 77:7–
14).
       Based upon our review of complete record developed during trial, we
are persuaded that Petitioner demonstrates sufficiently that Bruning
discloses limitations 1.d and 1.e.
       [1.f] “wherein the LED lighting device is configured to connect to an
       AC voltage power source”
       Petitioner points to Bruning’s disclosure of an “ac input of ac source
204” as disclosing this limitation. Pet. 40 (citing Ex. 1004 ¶¶ 13, 26, 31–44,
Figs. 3, 4). Patent Owner does not contest Petitioner’s evidence and
arguments with respect to this limitation. See PO Resp. Based our review of
the complete record developed during trial, we are persuaded that Petitioner
demonstrates sufficiently that Bruning discloses limitation 1.f.
       For the foregoing reasons, we determine that Petitioner establishes by
a preponderance of the evidence that claim 1 is anticipated by Bruning.
                          3.     Dependent Claims 3, 10, and 17
       Claims 3, 10, and 17 recite “wherein the switching of the switch
provides at least two different DC forward voltages to at least one of the first
operating LED circuit or the at least one additional LED circuit.” As
discussed above in Section III.C, we adopt one of Petitioner’s proposals for
construing “forward voltage”––“the minimum voltage difference required
between the anode and cathode of the LEDs in the claimed circuit to allow
current to flow through the LEDs.” In Section III.D.5, under the adopted
definition, we determine that claims 3, 10, and 17 were indefinite under 35
U.S.C. § 112(b). As we are unable to ascertain the scope of these claims, we
cannot reach the merits of Petitioner’s prior art-based challenges to claims 3,
10, and 17. Cf. Samsung Elecs. Am., Inc. v. Prisua Eng’g Corp., 948 F.3d

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1342, 1353 (Fed. Cir. 2020) (“[T]he proper course for the Board to follow, if
it cannot ascertain the scope of a claim with reasonable certainty for
purposes of assessing patentability, is to decline to institute the IPR or, if the
indefiniteness issue affects only certain claims, to conclude that it could not
reach a decision on the merits with respect to whether petitioner had
established the unpatentability of those claims under sections 102 or 103.”).
                              4.     Dependent Claims 5 and 7
      Claim 5 recites in part, “wherein the switching of the switch changes
light output of the LED lighting device.” Patent Owner does not specifically
address Petitioner’s challenge to dependent claim 5. See generally PO Resp.
Petitioner persuasively cites Bruning’s disclosure of voltages VR0, VG0,
VB0 that “establish the maximum level of light output of LED sub-arrays
210R, 210G and 210B, respectively.” Pet. 43 (citing Pet. VIII.B.1 (showing
for claim 1); Ex. 1002 ¶ 83; Ex. 1004 ¶¶ 37, 40). Petitioner persuasively
contends Bruning additionally “discloses that ‘the duty cycle of Q1 … may
be used to adjust the overall intensity of the LED backlight.” Id. (citing Ex.
1004 ¶¶ 26, 45) (alteration in original). Petitioner contends, and we agree,
“[a] POSITA would understand that the adjustment of the light output of the
LED backlight is an adjustment to the perceived brightness of the laptop
screen by a user.” Id. (citing Ex. 1002 ¶ 84).
      Claim 7 recites in part, “a driver electrically coupled to the switch and
at least one of the first operating LED circuit or the at least one additional
LED circuit.” Patent Owner does not specifically address Petitioner’s
challenge to dependent claim 7. See generally PO Resp. Petitioner
persuasively contends that “Bruning discloses the LED lighting device of
claim 1, further comprising a driver (‘drive circuitry’) electrically coupled to



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the switch (‘panel light setting’ switch) and at least one of the first operating
LED circuit (LED sub-array circuit 210R) or the at least one additional LED
circuit (e.g., LED sub-array circuits 210G and 210B).” Pet. 44 (citing Ex.
1004 ¶¶ 13, 31–44, code (57) (Abstract)).
      According to Petitioner, “[t]he labeled driver in Figure 4 is circuitry
that converts or conditions the power input—ac source 204—and supplies a
power output to an LED circuit—the other sides of the transformer N1.” Id.
at 46 (citing Ex. 1004 ¶ 31, Figs. 3–4; Ex. 1002 ¶ 86). Petitioner contends,
and we agree, that “Bruning discloses that the driver is electrically coupled
to the user-controlled panel light setting switch via central controller 224”
and that Bruning’s “driver is electrically coupled to each of the LED circuits
210R, 210G, 210B, via secondary windings, diodes, transistors, and
resistors, as shown in Figure 4.” Id. (citing Ex. 1004 ¶¶ 32, 33, 38, Fig. 4;
Ex. 1002 ¶¶ 87, 88).
      For the foregoing reasons, we determine that Petitioner establishes, by
a preponderance of the evidence, that claims 5 and 7 are anticipated by
Bruning.
                                5.     Independent Claim 8
      Independent claim 8 is substantially similar to independent claim 1
except that the claimed “switch” switches a “brightness level” instead of a
“voltage level.” Claim 8 recites in part, “switching a brightness level of at
least one of the first operating LED circuit or the at least one additional LED
circuit.” Petitioner substantially refers to its analysis of independent claim 1
in support of independent claim 8. Pet. 46–48. Petitioner contends that
“[e]ach of the ‘panel light setting’ switch and ‘switch Q1’ individually
satisfies [the “brightness”] limitation under the proper construction of



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‘switch.’” Id. at 47 (citing Petitioner’s analysis of limitation 1.d (switches
the voltage level) and claim 5 (switches the brightness level); Ex. 1002
¶ 93).
         As set forth above with respect to dependent claim 5 in Section
III.G.3, Petitioner persuasively contends Bruning “discloses that ‘the duty
cycle of Q1 . . . may be used to adjust the overall intensity of the LED
backlight” and that “[a] POSITA would understand that the adjustment of
the light output of the LED backlight is an adjustment to the perceived
brightness of the laptop screen by a user.” Id. at 43 (citing Ex. 1004 ¶¶ 26,
45; Ex. 1002 ¶ 84). According to Petitioner, the duty cycle of Q1 affects the
applied voltages VR0, VG0, and VB0 and “[t]he maximum brightness of
each circuit is determined by the voltages VR0, VG0, VB0 [which] are
selectable by a user directly operating the panel light setting switch, which
effects the change in the voltages via controller 224 and switch Q1.” Id. at
48 (citing Petitioner’s analysis of limitation 1.d; Ex. 1002 ¶¶ 94–95).
         Patent Owner addresses independent claims 1, 8, and 15 together, and
does not appear to make any arguments that are only applicable to
independent claim 8. PO Resp. 20–23. As such, in finding Patent Owner’s
arguments unavailing, we rely on our analysis set forth in Section III.G.2.
         For the foregoing reasons, we determine that Petitioner demonstrates
by a preponderance of the evidence that independent claim 8 is anticipated
by Bruning.
                             6.     Dependent Claims 12 and 14
         Dependent claims 12 and 14 recite features substantially similar to
dependent claims 5 and 7, respectively. Petitioner refers to its showing for
dependent claims 5 and 7 in support of its showing for dependent claims 12



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and 14. Pet. 48. We adopt our analysis with respect to claims 5 and 7 set
forth above. Supra § III.G.4. For the foregoing reasons, we determine that
Petitioner demonstrates by a preponderance of the evidence that claims 12
and 14 are anticipated by Bruning.
                                 7.     Independent Claim 15
         Independent claim 15 is substantially similar to independent claim 1
except that it does not a require a user to interact with the claimed switch.
Instead, claim 15, recites in part, “wherein (a) or (b) is selectable by
switching the switch.” Petitioner cites its showing for independent claim 1 in
support of its showing for most limitations. Pet. 49, 53. Petitioner cites
additional portions of Bruning to disclose limitations 15.d and 15.e. Id.
         Petitioner contends that “claim 15 is broader than claim 1 because
claim 15 omits ‘user’” and “[t]hus, Bruning additionally discloses this
limitation by disclosing a switch (color specific switches (Q4, Q5)) capable
of (b) switching the at least one additional LED circuit (e.g., LED sub-array
circuits 210G and 210B, respectively) on or off.” Id. at 49 (citing Ex. 1004
¶¶ 41–46, Figs. 4, 4b–4d18; Ex. 1002 ¶ 105) (emphasis added). Petitioner
further contends that “Bruning discloses the LED circuits can be turned on
and off independently.” Id. at 50 (citing Ex. 1004 ¶¶ 11, 12, 25, 26, 42, 44,
46, Figs. 4, 4b–4d).
         Patent Owner addresses independent claims 1, 8, and 15 together, and
does not appear to make any arguments that are applicable to only
independent claim 15. See generally PO Resp. We rely on our analysis set
forth in Section III.G.2.



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     Bruning includes a Figure 4 as well as Figures 4a, 4b, 4c, and 4d.

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      For the foregoing reasons, Petitioner demonstrates by a preponderance
of the evidence that claim 15 is anticipated by Bruning.
                                8.     Dependent Claim 19
      Dependent claim 19 recites features substantially similar to claim 5.
Petitioner refers to its showing for dependent claim 5 in support of its
showing for dependent 19. We adopt our analysis with respect to claim 5 set
forth above. Supra § III.G.4. For the foregoing reasons, Petitioner
demonstrates by a preponderance of the evidence that claim 19 is anticipated
by Bruning.
         H.     Challenge 4—Obviousness over Bruning and Kabel
      Petitioner contends that claims 1–3, 5, 7–10, 12, 14–17, and 19 are
unpatentable as obvious under 35 U.S.C. § 103 over Bruning and Kabel. Pet.
53–61. For the reasons that follow, we are persuaded that Petitioner
demonstrates obviousness of claims 1, 2, 5, 7–9, 12, 14–16, and 19 over
Bruning in view of Kabel by a preponderance of the evidence.
                                 1.     Overview of Kabel
      Kabel is titled “Computer Program, Method, and Device for
Controlling the Brightness of a Display.” Ex. 1005, code (54) (Title). Kabel
relates to “displays used in electronic devices such as laptop computers and
avionics and marine equipment” and to “a computer program and method for
controlling the brightness of a display by proportionally modifying the
luminosity of each pixel in the display.” Id. ¶ 3. More particularly, Kabel
discloses a technique for controlling the brightness of a display by
proportionally varying the voltage delivered to each pixel in the display after
a back light for the display has been dimmed to its approximate lowest level.
Id. at code (57) (Abstract).



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      Figure 1 of Kabel, reproduced below, shows an exploded isometric
view of a display’s components. Id. ¶ 14.




Figure 1 of Kabel, reproduced below, shows an exploded isometric view of
   the components of a display including a backlight. Id. ¶¶ 14, 17–18.

      Display 10 illustrated in Kabel’s Figure 1 includes: a backlight 12,
which may include light-emitting diodes (LEDs), and is used to direct light
through a display module 16 to form images on the face thereof; a diffuser
panel 14 positioned between backlight 12 and display module 16 for
diffusing and uniformly polarizing light emitted from backlight 12; display
module 16; a color filter 18 which enables display 10 to display color
images; an anti-reflective lens 20 positioned in front of display module 16
and color filter 18, for polarizing light passing through color filter 18 to
sharpen images and eliminate glare; a brightness controller 22; and a user
interface 24. Id. ¶¶ 17–21, 23, 25.
      Backlight 12, diffuser panel 14, display module 16, color filter 18, and
anti-reflective lens 20 may be sandwiched between a mounting board 26 and
a frame 28, while controller 22 and user interface 24 may be integrally
mounted with the other components of display 10, or may be mounted in a


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separate enclosure attached to the other components of the display. Id. ¶ 18.
Display module 16 may be a thin-film transistor (TFT) liquid crystal display
(LCD) display module having an array of pixels arranged on a glass
substrate, whereby active matrix technology is used to activate each pixel by
a separate transistor. Id. ¶ 21. An image is then created on display module 16
by applying an electric charge to certain pixels to change the pixels’ light
absorption properties, to thereby vary the amount of light from backlight 12
that passes through the pixels. Id.
      Brightness controller 22 and user interface 24 are electrically coupled
to display module 16 and together control the brightness of display module
16. Id. ¶ 26. User interface 24 provides input to controller 22, and may be a
touch-screen menu display having up/down arrows, or a manually-
activatable slider bar. Id. Controller 22 and user interface 24 are operated to
brighten or dim images created on display module 16. Id. ¶ 27. For example,
an operator may press an up arrow or operate a slider bar on user interface
24 to increase the intensity of backlight 12. Id. Controller 22 and user
interface 24 cooperate for dimming the display module 16 in two ways: first
by dimming backlight 12, then by proportionally reducing the luminosity of
the pixels of display module 16. Id. ¶ 28. More specifically, display module
16 is first dimmed by decreasing the brightness of backlight 12, and once
backlight 12 has been dimmed to its lowest level before it turns off (or to a
selected threshold level), the display may then be further dimmed by
controlling the luminosity of each pixel of the display to limit the amount of
light that passes through display module 16. Id.




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                          2.     Independent Claims 1, 8, and 15
      Petitioner’s challenge to independent claims 1, 8, and 15 are
substantially similar to challenge 3 applying Bruning alone except that in its
fourth challenge Petitioner cites Kabel for the switch limitations––
limitations 1.d, 1.e, 8.d, 8.e, 15.d, and 15.e. Petitioner contends that “[u]nder
[Patent Owner’s] narrow construction of ‘switch,’ it would have been
obvious to implement Bruning’s ‘panel light setting’ switch as a ‘manually-
activatable slider bar’ with at least two positions as taught by Kabel.” Pet. 58
(citing Pet. § IX.C (Combination Rationale); Ex. 1002 ¶ 129).
                           Rationale for Combining
      As rationale for combining, Petitioner contends that “a POSITA
would have been motivated to investigate known implementation details for
the ‘panel light setting,’ and been led to Kabel’s teachings,” which include
“a ‘user interface’ for ‘selectively adjusting brightness of the back light.’”
Pet. 54 (citing Ex. 1004 ¶ 38, Fig. 4; Ex. 1005, code (57) (Abstract), ¶¶ 9,
26–28, 30; Ex. 1002 ¶ 118). Petitioner further contends that Bruning and
Kabel concern analogous art because they both disclose backlit LCD
displays having multiple LEDs in a laptop computer, they both disclose
“mix[] . . . red, green, and blue light to form different shades and hues of
light as perceived by the user,” and they both disclose “ways for a user to
control of the LCD display’s brightness.” Id. at 54–58.
      Petitioner alleges that a POSITA would have “fill[ed] Bruning’s gaps
with Kabel’s additional implementation details,” specifically by
implementing Bruning’s panel light setting using Kabel’s slider bar.
Petitioner contends that Kabel discloses brightening or dimming images on a




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display in a conventional manner––by using Kabel’s slider bar. Id. at 56–57
(citing Ex. 1005 ¶¶ 27, 28, 30; Ex. 1002 ¶ 125).
      Petitioner contends that the invention disclosed in Kabel includes “an
‘entirely conventional’ backlight that incorporates ‘any conventional light
source such as light-emitting diodes (LEDs),’ a ‘conventional’ LCD display,
and a ‘conventional controller.’” Id. at 57 (citing Ex. 1005 ¶¶ 18, 19, 21, 26).
Petitioner further contends that “Kabel also indicates that images on the
display can be brightened or dimmed ‘in a conventional manner’ and gives
as an example a slider bar.” Id. (citing Ex. 1005 ¶¶ 27, 28; Ex. 1027 ¶ 30;
Ex. 1002 ¶ 126).
      Petitioner further contends that
      [a] POSITA would have found that Bruning and Kabel’s
      teachings could have been predictably combined at least because
      of LED lighting art’s predictability and the various elements’
      known interchangeability. A POSITA would have had a
      reasonable expectation of success in combining Kabel and
      Bruning, at least because the references use known variations of
      existing technology (physical switches like slider bars as user
      interfaces) to solve routine and well understood problems (adjust
      settings of a laptop’s display, such as brightness) in predictable
      ways.
Id. at 58 (citing Ex. 1002 ¶ 127).
                         Patent Owner’s Arguments
      Patent Owner contends that “[n]othing cited in the Petition indicates
that Kabel operates by switching voltage levels to LEDs, or by switching
LED circuits on or off as required the claims,” and instead, “Kabel uses the
slider bar exclusively to provide a dimming function.” PO Resp. 62 (citing
Pet. 59–60; Ex. 1005 ¶ 28 (Patent Owner contending that the cited portion of
Kabel “explain[s] low brightness settings are achieved by dimming the back



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light 12 ‘to its lowest level before it turns off’”)). Patent Owner further
contends that “Kabel’s purpose would be frustrated if the back light were
completely shut off because vehicles like aircraft and boats would be at risk
of accidents if the display lights were entirely shut off.” Id. at 63 (citing Ex.
2008 ¶ 33).
    Analysis of Patent Owner’s Arguments and Rationale for Combining
      Patent Owner apparently distinguishes Kabel’s slider bar on the basis
that it performs the function of dimming back light 12, as contrasted with the
function of turning on or off back light 12. See PO Resp. 62–63 (Pet. 59–60;
Ex. 1005 ¶ 28). Patent Owner takes the position that, because Kabel
“explain[s] low brightness settings are achieved by dimming the back light
12 ‘to its lowest level before it turns off,’” this disclosure in Kabel
precludes back light 12 from actually turning off. Id. at 62 (quoting Ex. 1005
¶ 28). Even assuming, arguendo, that Kabel does not disclose turning off
back light 12, the independent claims only require “a switch cable of at least
one of: (a) switching a brightness level of at least one of the first operating
LED circuit or the at least one additional LED circuit, or (b) switching the at
least one additional LED circuit on or off, wherein (a) or (b) is selectable by
a user switching the switch.” That is, the switch need not be capable of both
functions (a) and (b)––if the reference or combination of references teaches
even one of the following three situations: a switch capable of function (a)
only; a switch capable of function (b) only; or a switch capable of functions
(a) and (b), then the cited reference(s) teach the subject matter of the claim.
Accordingly, even if Kabel’s slider bar is used exclusively for dimming,
independent claims 1, 8, and 15 are met by the cited teachings of Bruning
and Kabel because the combination teaches claimed function (a).



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      We have reviewed Petitioner’s contentions and cited evidence as to
claims 1, 8, and 15, summarized above. We are persuaded that the Petition’s
obviousness analysis articulates sufficiently how the teachings of Bruning
and Kabel would have been combined, why such a combination would have
been desirable to one of skill in the art, and that Petitioner’s rationale is
supported by sufficient rational underpinning and has a reasonable
expectation of success as is set forth above. We are persuaded, having
reviewed the cited portions of Bruning and Kabel, the limitations of
independent claims 1, 8, and 15 are taught or suggested by the combination.
      Based on the current record and for the foregoing reasons, we
determine that Petitioner establishes, by a preponderance of the evidence,
that independent claims 1, 8, and 15 are unpatentable as obvious in view of
the combination of Bruning and Kabel.
              3.     Dependent Claims 2, 3, 5, 7, 9, 10, 12, 14, 16, 17, and 19
      With respect to claims 3, 10, and 17, as we discussed above in Section
III.G.3, claims 3, 10, and 17 were indefinite under 35 U.S.C. § 112(b) under
our adopted definition of “forward voltage” recited in these claims. As we
are unable to ascertain the scope of these claims, we cannot reach the merits
of Petitioner’s prior art-based challenges to claims 3, 10, and 17.
      With respect to claims 2, 5, 7, 9, 12, 14, 16, and 19, we have reviewed
Petitioner’s contentions and the cited references, and we are persuaded that
Petitioner’s contentions are supported. See Pet. 58–61 (citing-in-part Ex.
1002 ¶¶ 134–142, 144–152). Patent Owner does not specifically contest any
of claims 2, 5, 7, 9, 12, 14, 16, and 19. See generally PO Resp.
      Claim 2 recites “[t]he LED lighting device of claim 1, wherein the




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switch has at least two positions.” Claim 9 depends from claim 8 and recites
substantially similar features. Claim 16 depends from claim 15 and recites
substantially similar features. Petitioner cites Kabel for these limitations and
argues that “it would have been obvious to implement the ‘panel light
setting’ switch as a ‘manually-activatable slide bar’ with at least two
positions as taught by Kabel.” Pet. 60–61. Having reviewed the cited
portions of Kabel discussing its slider bar, we are persuaded that Kabel
teaches that its “manually-activatable slider bar” has at least two positions.
      Claim 5 recites “[t]he LED lighting device of claim 1, wherein the
switching of the switch changes light output of the LED lighting device.”
Claim 12 depends from claim 8 and recites substantially similar features.
Claim 19 depends from claim 15 and recites substantially similar features.
Petitioner contends that “Bruning discloses the user can control a ‘panel
light setting’ switch that allows adjustment of the brightness, or maximum
light output of the LED backlight for a laptop’s display.” Pet. 58 (citing Ex.
1004 ¶¶ 17, 38, Figs. 2, 4). Petitioner alternatively contends that Kabel
“discloses the user can control user interface 24 to adjust brightness of the
laptop display’s backlight.” Id. at 59–60 (citing Ex. 1005 ¶¶ 9, 18, 26–32,
code (57) (Abstract), Fig. 1; Ex. 1002 ¶ 131). Petitioner further contends that
“Kabel discloses that the user interface 24 may be a ‘manually-activatable
slider bar’” and that user interface 24 may be “integrally mounted with the
other components of the display 10.” Id. at 60 (citing Ex. 1005 ¶¶ 18, 26,
30). We are persuaded that the cited portions support Petitioner’s
contentions.
      Claim 7 recites, “[t]he LED lighting device of claim 1, further




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comprising a driver electrically coupled to the switch and at least one of the
first operating LED circuit or the at least one additional LED circuit.” Claim
14 depends from claim 8 and recites substantially similar features. In its
fourth challenge, Petitioner does not specifically point to Kabel as teaching
the recited driver limitation. Pet. 58–59. We note, however, that with respect
to its third challenge, Petitioner persuasively cites Bruning to disclose the
recited driver limitation. See id. at 44–46 (citing Ex. 1004 ¶¶ 13, 31–44,
code (57) (Abstract), Figs. 3–4; Pet. § V.E.5; Ex. 1002 ¶¶ 86–88); supra
§ III.G.4.
      Based on the complete record developed during trial and for the
foregoing reasons, that Petitioner establishes, by a preponderance of the
evidence, that dependent claims 2, 5, 7, 9, 12, 14, 16, and 19 are
unpatentable as obvious in view of Bruning and Kabel.
        I.     Challenge 5—Obviousness over Dowling and Mueller
      Petitioner contends that claims 1, 2, 5, 7–9, 12, 14–16, and 19 are
unpatentable as obvious under 35 U.S.C. § 103 over Dowling and Mueller.
Pet. 61–83.
      As we determine that claims 3, 4, 10, 11, 17, and 18 are unpatentable
under 35 U.S.C. § 112, that claims 1, 5, 7, 8, 12, 14, 15, and 19 are
anticipated under 35 U.S.C. § 102 by Bruning, and that claims 1, 2, 5, 7–9,
12, 14–16, and 19 are unpatentable under 35 U.S.C. § 103(a) over the
combination of Bruning and Kabel (supra §§ II.D–E, G–H), we need not
specifically determine the unpatentability of claims 1, 2, 5, 7–9, 12, 14–16,
and 19 over the combination of Dowling and Mueller. See Boston Sci.
Scimed, Inc. v. Cook Grp. Inc., 809 F. App'x 984 (Fed. Cir. 2020); see also
Beloit Corp. v. Valmet Oy, 742 F.2d 1421, 1423 (Fed. Cir. 1984) (holding



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that once a dispositive issue is decided, there is no need to decide other
issues).

                               IV.     CONCLUSION19
          In summary:
                       35                           Claims      Claims Not
      Claims                    Reference(s)/
                      U.S.C.                        Shown         Shown
     Challenged                    Basis
                        §                         Unpatentable Unpatentable
                               Lack of written
                                description,
      3, 10, 17       112(a)                         3, 10, 17
                                  Lack of
                                enablement
      3, 10, 17       112(b)   Indefiniteness        3, 10, 17
                               Lack of written
                                description,
      4, 11, 18       112(a)                         4, 11, 18
                                  Lack of
                                enablement
      4, 11, 18       112(b)   indefiniteness         4, 11, 18
     1, 3, 5, 7, 8,                                1, 5, 7, 8, 12,
     10, 12, 14,      102            Bruning        14, 15, 1920
      15, 17, 19
                                                   1, 2, 5, 7–9,
 1–3, 5, 7–10,
               103             Bruning, Kabel       12, 14–16,
 12, 14–17, 19
                                                       1920
  1, 2, 5, 7–9,
                103                  Dowling,
 12, 14–16, 19

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   Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16,654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. § 42.8(a)(3), (b)(2).
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   As we are unable to ascertain the scope of these claims, we cannot reach
the merits of Petitioner’s prior art-based challenges to claims 3, 10, and 17.

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                    35                           Claims      Claims Not
      Claims                  Reference(s)/
                   U.S.C.                        Shown         Shown
     Challenged                  Basis
                     §                         Unpatentable Unpatentable
                                Mueller21
     Overall                                     1–5, 7–12,
     Outcome                                       14–19


                                  V.    ORDER
        For the reasons given, it is:
        ORDERED that Petitioner has established based on a preponderance
of evidence that claims 1–5, 7–12, and 14–19 of the ’341 patent are
unpatentable; and
        FURTHER ORDERED because this is a final written decision, the
parties to this proceeding seeking judicial review of our Decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




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  Because we determined that the challenged claims are unpatentable under
35 U.S.C. § 112, unpatentable as anticipated under 35 U.S.C. § 102 by
Bruning, or unpatentable under 35 U.S.C. § 103 as obvious over the
combination of Bruning and Kabel, we decline to address this ground.

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(12) United     States Patent
     Miskin et al .
                                                                        ( 10) Patent No .: US 10,932,341 B2
                                                                        (45 ) Date of Patent : * Feb . 23 , 2021
( 54 ) MULTI - VOLTAGE AND                                         ( 56 )                 References Cited
         MULTI- BRIGHTNESS LED LIGHTING
         DEVICES AND METHODS OF USING SAME                                            U.S. PATENT DOCUMENTS
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( 71 ) Applicant: Lynk Labs , Inc., Elgin , IL ( US )                       4,218,627 A     8/1980 Kiesel
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( 72 ) Inventors: Michael Miskin , Sleepy Hollow, IL
                  (US ) ; Robert L. Kottritsch , Shefford                        FOREIGN PATENT DOCUMENTS
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( 73 ) Assignee : Lynk Labs , Inc. , Elgin , IL (US )                                            ( Continued )
( * ) Notice:       Subject to any disclaimer, the term of this                       OTHER PUBLICATIONS
                    patent is extended or adjusted under 35
                    U.S.C. 154 (b ) by 0 days.                     European Search Report dated Oct. 22 , 2012 in related European
                    This patent is subject to a terminal dis       Application, seven ( 7 ) pages.
                    claimer .                                                                  (Continued )
                                                                   Primary Examiner Crystal L Hammond
( 21 ) Appl. No .: 16 /740,295                                     ( 74 ) Attorney, Agent, or Firm — K & L Gates LLP
(22 ) Filed :       Jan. 10 , 2020                                 ( 57 )                    ABSTRACT
                                                                   A single chip multi - voltage or multi -brightness LED light
( 65 )                 Prior Publication Data                      ing device having at least two LED circuits . Each of the at
         US 2020/0260554 A1          Aug. 13 , 2020                least two LED circuits having at least two LEDs connected
                                                                   together in series. Each of the at least two LED circuits are
                                                                   electrically unconnected to each other in a parallel relation
                                                                   ship, have a forward operating drive voltage of at least six
              Related U.S. Application Data                        volts and are monolithically integrated on a single substrate .
( 63 ) Continuation of application No. 16/ 274,164 , filed on      A method of manufacturing a single chip with two or more
       Feb. 12 , 2019 , now Pat . No. 10,537,001 , which is a      LED circuits configurable by means of connecting the
                                                                   circuits so as to provide optional operating voltage level
                         ( Continued )                             and / or desired brightness level wherein the electrical con
                                                                   nection may be achieved and / or completed at the LED
( 51 ) Int . Cl .                                                  packaging level when the single chips are integrated into the
         H05B 45/40              ( 2020.01 )                       LED package . Alternatively, the LED package may have
         H05B 45/00              ( 2020.01 )                       external electrical contacts that match the integrated chips
( 52 )   U.S. CI .                                                 within . Optionally allowable , the drive voltage level and / or
         CPC             H05B 45/40 (2020.01 ) ; H05B 45/00
                                                                   the brightness level select - ability may be passed on through
                                                                   to the exterior of the LED package and may be selected by
                         (2020.01 ) ; Y10T 29/49002 (2015.01 )     the LED package user, the PCB assembly facility, or the end
( 58 ) Field of Classification Search                              product manufacturer.
         None
         See application file for complete search history .                        20 Claims , 8 Drawing Sheets


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             HG.1            037       LED




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       FIG
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                             LED
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               MULTI - VOLTAGE AND                                   multi - current single chip LEDs or by selecting a specific
        MULTI -BRIGHTNESS LED LIGHTING                              voltage and / or current level when integrating the LED
    DEVICES AND METHODS OF USING SAME                                package onto a printed circuit board or within a finished
                                                                    lighting product. It would also be advantageous to have
                 RELATED APPLICATIONS                             5 multi - current LED chips and / or packages for LED lamp
                                                                    applications in order to provide a means of increasing
   The present application is a continuation of U.S. patent brightness in LED lamps by switching in additional circuits
application Ser. No. 16/ 274,164 , filed Feb. 12 , 2019 , which just as additional filaments are switched in for standard
is a continuation of U.S. patent application Ser. No. 15/685 , 10 incandescent lamps.
429 , filed Aug. 24 , 2017 , which is a continuation of U.S.           U.S. Pat. No. 7,525,248 discloses a chip - scale LED lamp
patent application Ser. No. 14 / 172,644 , filed Feb. 4 , 2014 , including discrete LEDs capable of being built upon elec
which is a continuation of U.S. patent application Ser. No. trically insulative , electrically conductive, or electrically
13 /322,796 , filed Nov. 28 , 2011 , which is a national phase semi conductive substrates . Further, the construction of the
application of International Application No. PCT /US2010 / 15 LED lamp enables the lamp to be configured for high
001597 , filed May 28 , 2010 , which claims priority to U.S. voltage AC or DC power operation . The LED based solid
Provisional Application No. 61 / 217,215 , filed May 28 , 2009 , state light emitting device or lamp is built upon an electri
and is a continuation - in -part of U.S. patent application Ser.
No. 12 /287,267 , filed Oct. 6 , 2008 , which claims the priority cally   insulating layer that has been formed onto a support
                                                                    surface of a substrate. Specifically, the insulating layer may
to U.S. Provisional Application No. 60 / 997,771, filed Oct. 6 , 20 be epitaxially grown onto the substrate, followed by an LED
2007 ; the contents of each of these applications are buildup                 of an n - type semiconductor layer, an optically active
expressly incorporated herein by reference .
                                                                    layer, and a p - type semiconductor layer, in succession .
                     TECHNICAL FIELD                                Isolated mesa structure of individual, discrete LEDs is
                                                                    formed by etching specific portions of the LED buildup
   The present invention generally relates to light emitting 25 down to the insulating_layer, thereby forming trenches
diodes (“LEDs” ) for AC operation . The present invention between adjacent LEDs . Thereafter, the individual LEDs are
specifically relates to multiple voltage level and multiple          electrically coupled together through conductive elements or
brightness level LED devices , packages and lamps.                   traces being deposited for connecting the n - type layer of one
                                                                    LED and the p - type layer of an adjacent LED , continuing
      FEDERALLY SPONSORED RESEARCH OR                            30 across all of the LEDs to form the solid - state light emitting
                      DEVELOPMENT                                   device . The device may therefore be formed as an integrated
                                                                    AC/DC light emitter with a positive and negative lead for
  None .                                                            supplied electrical power. For instance, the LED lamp may
                                                                    be configured for powering by high voltage DC power ( e.g. ,
           BACKGROUND OF THE INVENTION                           35 12V, 24V, etc. ) or high voltage AC power (e.g. , 110 /120V,
                                                                    220 /240V, etc. ).
                    Field of the Invention                           U.S. Pat . No. 7,213,942 discloses a single - chip LED
                                                                  device through the use of integrated circuit technology ,
   The present invention generally relates to light emitting which can be used for standard high AC voltage ( 110 volts
diodes (“ LEDs”) for multi-voltage level and /or multi-bright- 40 for North America, and 220 volts for Europe, Asia, etc.)
ness level operation . The present invention specifically operation. The single - chip AC LED device integrates many
relates to multiple voltage level and multiple brightness smaller LEDs , which are connected in series. The integra
level light emitting diode circuits, single chips, packages and tion is done during the LED fabrication process and the final
lamps " devices” for direct AC voltage power source opera product is a single - chip device that can be plugged directly
tion, bridge rectified AC voltage power source operation or 45 into house or building power outlets or directly screwed into
constant DC voltage power source operation .                      incandescent lamp sockets that are powered by standard AC
                                                                  voltages . The series connected smaller LEDs are patterned
                Description of the Related Art                    by photolithography , etching ( such as plasma dry etching ),
                                                                  and metallization on a single chip . The electrical insulation
   LEDs are semiconductor devices that produce light when 50 between small LEDs within a single - chip is achieved by
a current is supplied to them . LEDs are intrinsically DC etching light emitting materials into the insulating substrate
devices that only pass current in one polarity and historically so that no light emitting material is present between small
have been driven by DC voltage sources using resistors , LEDs . The voltage crossing each one of the small LEDs is
current regulators and voltage regulators to limit the voltage about the same as that in a conventional DC operating LED
and current delivered to the LED . Some LEDs have resistors 55 fabricated from the same type of material (e.g. , about 3.5
built into the LED package providing a higher voltage LED volts for blue LEDs) .
typically driven with 5V DC or 12V DC .                             Accordingly, single chip LEDs have been limited and
   With proper design considerations LEDs may be driven have not been integrated circuits beyond being fixed series
more efficiently with direct AC or rectified AC than with or fixed parallel circuit configurations until the development
constant voltage or constant current DC drive schemes . 60 of AC LEDs . The AC LEDs have still however been single
   Some standard AC voltage in the world include 12 VAC , circuit, fixed single voltage designs .
24 VAC, 100 VAC , 110 VAC , 120 VAC , 220VAC , 230 VAC ,               LED packages have historically not been integrated cir
240 VAC and 277 VAC . Therefore , it would be advanta-               cuits beyond being fixed series or fixed parallel circuit
geous to have a single chip LED or multi -chip single LED configurations.
packages that could be easily configured to operate at 65 The art is deficient in that it does not provide a multi
multiple voltages by simply selecting a voltage and /or voltage and / or multi - current circuit monolithically inte
current level when packaging the multi - voltage and / or            grated on a single substrate which would be advantageous.


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  It would further be advantageous to have a multi-voltage           or on a substrate providing a multi- voltage AC LED device
and / or multi-brightness circuit that can provide options in   for direct AC power operation. Each single voltage AC LED
voltage level , brightness level and / or AC or DC powering          circuit has at least two LEDs connected to each other in
input power preference.                                         opposing parallel relation .
   It would further be advantageous to provide multiple 5 According to another aspect of the invention , each single
voltage level and / or multiple brightness level light emitting voltage AC LED circuit is designed to be driven with a
LED circuits , chips, packages and lamps “ multi-voltage predetermined forward voltage of at least 6 VAC and pref
and / or multi-brightness LED devices ” that can easily be erably each single voltage AC LED circuit has a matching
electrically configured for at least two forward voltage drive forward voltage of 6 VAC , 12 VAC , 24 VAC , 120 VAC , or
levels with direct AC voltage coupling , bridge rectified AC 10 other
voltage coupling or constant voltage DC power source circuitAC         .
                                                                            voltage levels for each single voltage AC LED
coupling. This invention comprises circuits and devices that      According to another aspect of the invention , each multi
can be driven with more than one AC or DC forward voltage voltage        AC LED device would be able to be driven with at
“ multi - voltage ” at 6V or greater based on a selectable
desired operating voltage level that is achieved by electri least two different AC forward voltages resulting in a first
cally connecting the LED circuits in a series or parallel 15 forward voltage drive level by electrically connecting the
circuit configuration and / or more than one level of bright- two single voltage AC LED circuits in parallel and a second
ness “multi-brightness” based on a switching means that forward voltage drive level by electrically connecting the at
connects and /or disconnects at least one additional LED             least two single voltage level AC LED circuits in series. By
circuit to and / or from a first LED circuit . The desired           way of example, the second forward voltage drive level of
operating voltage level and / or the desired brightness level 20 the serially connected AC LED circuits would be approxi
electrical connection may be achieved and / or completed at mately twice the level of the first forward voltage drive level
the LED packaging level when the multi -voltage and / or of the parallel connected AC LED circuits . The at least two
multi -brightness circuits and / or single chips are integrated parallel connected AC LED circuits would be twice the
into the LED package , or the LED package may have current of the at least two serially connected AC LED
external electrical contacts that match the integrated multi- 25 circuits. In either circuit configuration , the brightness would
voltage and /or multi-brightness circuits and /or single chips be approximately the same with either forward voltage drive
within , thus allowing the drive voltage level and / or the selection of the multi - voltage LED device .
brightness level select -ability to be passed on through to the            According to another aspect of the invention, at least two
exterior of the LED package and allowing the voltage level single              voltage series LED circuits , each of which have at
oror brightness  level to befacility
     the PCB assembly          selected  at theendLED
                                    , or the           package
                                                   product     user, 30 least two serially connected LEDs, are formed on a single
                                                           manufac
turer.                                                                  chip or on a substrate providing a multi -voltage AC or DC
     It would further be advantageous to provide at least two operable            LED device.
                                                                           According to another aspect of the inv        each single
integrated circuits having a forward voltage of at least 12 voltage             series LED circuit is designed to be driven with a
VAC or 12 VDC or greater on a single chip or within a single
LED package that provide a means of selecting a forward 35 predetermined forward voltage of at least 6V AC or DC and
voltage when packaging a multi -voltage and /or multi-bright- preferably each single voltage series LED circuit has a
ness circuit using discrete die ( one LED chip at a time) and matching forward voltage of 6V, 12V, 24V, 120V, or other
wire bonding them into a circuit at the packaging level or AC or DC voltage levels. By way of example , each multi
when packaging one or more multi - voltage and / or multi- voltage AC or DC LED device would be able to be driven
brightness level single chips within a LED package .                 40 with at least two different AC or DC forward voltages
     It would further be advantageous to provide multi -voltage resulting in a first forward voltage drive level by electrically
and / or multi-brightness level devices that can provide elec- connecting the two single voltage series LED circuits in
trical connection options for either AC or DC voltage parallel and a second forward voltage drive level by elec
operation at preset forward voltage levels of 6V or greater. trically connecting the at least two single voltage level series
  It would further be advantageous to provide multi -bright- 45 LED circuits in series . The second forward voltage drive
ness LED devices that can be switched to different levels of         level of the serially connected series LED circuits would be
brightness by simply switching additional circuits on or off         approximately twice the level of the first forward voltage
in addition to a first operating circuit within a single chip and drive level of the parallel connected series LED circuits . The
or LED package . This would allow LED lamps to switch to at least two parallel connected series LED circuits would be
higher brightness levels just like 2 -way or 3 -way incandes- 50 twice the current of the at least two serially connected series
cent lamps do today .                                               LED circuits. In either circuit configuration, the brightness
   The benefits of providing multi -voltage circuits of 6V or would be approximately the same with either forward volt
greater on a single chip is that an LED packager can use this age drive selection of the multi- voltage series LED device .
single chip as a platform to offer more than one LED                  According to another aspect of the invention, at least two
packaged product with a single chip that addresses multiple 55 single voltage AC LED circuits are formed on a single chip
voltage levels for various end customer design requirements. or on a substrate providing a multi-voltage and /or multi
This also increase production on a single product for the chip brightness AC LED device for direct AC power operation.
maker and improves inventory control. This also improves              According to another aspect of the invention , each single
buying power and inventory control for the LED packager voltage AC LED circuit has at least two LEDs connected to
when using one chip .                                            60 each other in opposing parallel relation . Each single voltage
   The present invention provides for these advantages and AC LED circuit is designed to be driven with a predeter
solves the deficiencies in the art.                                 mined forward voltage of at least 6 VAC and preferably each
                                                                    single voltage AC LED circuit has a matching forward
             SUMMARY OF THE INVENTION                               voltage of 6 VAC , 12 VAC , 24 VAC , 120 VAC , or other AC
                                                                 65 voltage levels for each single voltage AC LED circuit . The
   According to one aspect of the invention at least two at least two AC LED circuits within each multi - voltage
single voltage AC LED circuits are formed on a single chip           and / or multi current AC LED device would be left able to be



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driven with at least two different AC forward voltages                 level that is twice the level of the first forward voltage drive
resulting in a first forward voltage drive level by electrically       level when the at least two LED circuits are connected in
connecting the two single voltage AC LED circuits in                   series .
parallel and a second forward voltage drive level by elec-       According to another aspect of the invention a multi
trically connecting the at least two single voltage level AC 5 voltage and / or multi -current AC LED circuit is integrated
LED circuits in series . The second forward voltage drive               within a single chip LED . Each multi -voltage and / or multi
level of the serially connected AC LED circuits would be                current single chip AC LED comprises at least two single
approximately twice the level of the first forward voltage voltage      circuit
                                                                                 AC LED circuits. Each single voltage AC LED
                                                                                has at least two LEDs in anti -parallel configuration to
atdriveleastleveltwoofparallel
                        the parallel connected AC LED circuits . The
                               connected AC LED circuits would be 10 accommodate        directcircuit
                                                                                                  AC may
                                                                                                       voltage
                                                                                                            haveoperation
                                                                                                                  may have. Each
                                                                                                                            at leastsingle
twice the current of the at least two serially connected AC voltage     voltage
                                                                                 AC LED
                                                                                 input  electrical  contact  at each opposing end  of
                                                                                                                                      one
                                                                                                                                       the
LED circuits . In either circuit configuration , the brightness circuit or the at least two single voltage AC LED circuits
would be approximately the same with either forward volt may                 be electrically connected together in series on the single
age drive selection of the multi -voltage LED device .
    According to another aspect of the invention at least two each and
                                                                     15 chip      have at least one voltage input electrical contact at
                                                                              opposing end of the two series connected single voltage
single voltage LED circuits are formed on a single chip or AC LED circuits and one voltage input electrical contact at
on a substrate, and at least one bridge circuit made of LEDs the center junction of the at least two single voltage AC LED
is formed on the same single chip or substrate providing a circuits connected in series . The at least two single voltage
multi-voltage and / or multi- brightness LED device for direct 20 AC LED circuits are integrated within a single chip to form
DC power operation . Each single voltage LED circuit has at a multi- voltage and / or multi- current single chip AC LED .
least two LEDs connected to each other in series. Each           According to another aspect of the invention , at least one
single voltage LED circuit is designed to be driven with a multi-voltage and / or multi-brightness LED devices may be
predetermined forward voltage and preferably matching integrated within a LED lamp. The at least two individual
forward voltages for each circuit such as 12 VDC , 24 VDC , 25 LED circuits within the multi-voltage and / or multi-bright
120 VDC , or other DC voltage levels for each single voltage ness LED device ( s) may be wired in a series or parallel
LED circuit . Each multi - voltage and /or multi -brightness           circuit configuration by the LED packager during the LED
LED device would be able to be driven with at least two                packaging process thus providing for at least two forward
different DC forward voltages resulting in a first forward voltage drive options , for example 12 VAC and 24 VAC or
voltage drive level when the two single voltage LED circuits 30 120 VAC and 240 VAC that can be selected by the LED
are connected in parallel and a second forward voltage drive packager.
level that is twice the level of the first forward voltage drive  According to another aspect of the invention a multi
level when the at least two LED circuits are connected in              voltage and / or multi - current AC LED package is provided ,
series.                                                            comprising at least one multi -voltage and / or multi -current
   According to another aspect of the invention at least two 35 single chip AC LED integrated within a LED package . The
single voltage LED circuits are formed on a single chip or multi - voltage and / or multi - current AC LED package pro
on a substrate providing a multi - voltage and / or multi -bright- vides matching electrical connectivity pads on the exterior
ness LED device for direct DC power operation . Each single of the LED package to the electrical connectivity pads of the
voltage LED circuit has at least two LEDs connected to each at least one multi-voltage and /or multi- current single chip
other in series . Each single voltage LED circuit is designed 40 AC LED integrated within the LED package thus allowing
to be driven with a predetermined forward voltage and the LED package user to wire the multi - voltage and / or
preferably matching forward voltages for each circuit such multi - current AC LED package into a series or parallel
as 12 VAC , 24 VAC , 120 VAC , or other DC voltage levels circuit configuration during the PCB assembly process or
for each single voltage LED circuit . Each multi -voltage final product integration process and further providing a AC
and / or multi -brightness LED device would be able to be 45 LED package with at least two forward voltage drive
driven with at least two different DC forward voltages options .
resulting in a first forward voltage drive level when the two        According to another aspect of the invention multiple
single voltage LED circuits are connected in parallel and a individual discrete LED chips are used to form at least one
second forward voltage drive level that is twice the level of multi-voltage and / or multi -current AC LED circuit within a
the first forward voltage drive level when the at least two 50 LED package thus providing a multi -voltage and/ or multi
LED circuits are connected in series .                             current AC LED package . Each multi -voltage and / or multi
   According to another aspect of the invention at least two current AC LED circuit within the package comprises at
single voltage LED circuits are formed on a single chip or least two single voltage AC LED circuits. Each single
on a substrate, and at least one bridge circuit made of LEDs voltage AC LED circuit has at least two LEDs in anti
is formed on the same single chip or substrate providing a 55 parallel configuration to accommodate direct AC voltage
multi- voltage and / or multi -brightness LED device for direct operation . The LED package provides electrical connectiv
DC power operation . Each single voltage LED circuit has at ity pads on the exterior of the LED package that match the
least two LEDs connected to each other in series. Each electrical connectivity pads of the at least two single voltage
single voltage LED circuit is designed to be driven with a AC LED circuits integrated within the multi- voltage and / or
predetermined forward voltage and preferably matching 60 multi- current AC LED package thus allowing the LED
forward voltages for each circuit such as 12 VDC , 24 VDC , package to be wired into a series or parallel circuit configu
120 VDC , or other DC voltage levels for each single voltage ration during the PCB assembly process and further provid
LED circuit . Each multi -voltage and / or multi-brightness ing a LED package with at least two forward voltage drive
LED device would be able to be driven with at least two options.
different DC forward voltages resulting in a first forward 65 According to another aspect of the invention a multi
voltage drive level when the two single voltage LED circuits voltage and /or multi - current single chip AC LED and / or
are connected in parallel and a second forward voltage drive multi -voltage and / or multi current AC LED package is


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integrated within an LED lamp. The LED lamp having a light, phosphor, nano -crystals or other light changing or
structure that comprises a heat sink, a lens cover and a enhancing substances. In sum , according to one aspect of the
standard lamp electrical base . The multi -voltage and / or invention , the LED circuits and AC drivers of the present
multi- current single chip AC LED and / or package is con- invention permit pre -packaging of the LED portion of a
figured to provide a means of switching on at least one 5 lighting system to be used with standardized drivers of
additional single voltage AC LED circuit within multi- known specified voltage and frequency output. Such pack
voltage and / or multi - current AC LED circuit to provide ages can be of varied make up and can be combined with
increased brightness from the LED lamp .                          each other to create desired systems given the scalable and
   According to anther broad aspect of the invention at least compatible arrangements possible with, and resulting from ,
one multi - current AC LED single chip is integrated within a 10 the invention .
LED package.                                                        According to one aspect of the invention , AC driven LED
   According to another aspect of the invention , at least one circuits (or “ driven circuits ” ) permit or enable lighting
single chip multi- current LED bridge circuit is integrated systems where LED circuits may be added to or subtracted
within a LED lamp having a standard lamp base . The single ( either by choice or by way of a failure of a diode) from the
chip multi -current LED bridge circuit may be electrically 15 driven circuit without significantly affecting the pre-deter
connected together in parallel configuration but left open to mined desired output range of light from any individual
accommodate switching on a switch to the more than one on LED and, without the need to : (i ) change the value of any
the single chip and have at least one accessible electrical discrete component; or , ( ii ) to add or subtract any discrete
contact at each opposing end of the two series connected components , ofany of the pre -existing driven circuit com
circuits and one accessible electrical contact at the center 20 ponents which remain after the change. During design of a
junction of the at least two individual serially connected lighting system , one attribute of the LEDs chosen will be the
LED circuits . The at least two individual circuits are inte- amount of light provided during operation. In this context, it
grated within a single chip .                                     should be understood that depending on the operating
   According to another aspect of the invention . When the at parameters of the driver chosen , the stability or range of the
least two circuits are left unconnected on the single chip and 25 voltage and frequency of the driver will vary from the
provide electrical pads for connectivity during the packaging nominal specification based upon various factors including
process, the LED packager may wire them into series or              but not limited to , the addition or subtraction of the LED
parallel connection based on the desired voltage level speci-       circuits to which it becomes connected or disconnected .
fication of the end LED package product offering.          Accordingly, as sometimes referred to herein , drivers
   According to another broad aspect of the invention a 30 according to the invention are described as providing “ rela
multi -brightness single chip AC LED is provided having at          tively constant ” or “ fixed ” voltage and frequency. The extent
least two LED circuits. Each LED circuit has at least two           of this relative range may be considered in light of the
diodes connected to each other in opposing parallel relation ,      acceptable range of light output desired from the resulting
at least one of which such diodes is an LED thus forming an         circuit at the before, during, or after a change has been made
AC LED circuit that is integrated on a single chip . Each LED 35 to the lighting system as a whole . Thus it will be expected
circuit within the multi-brightness single chip AC LED is           that a pre -determined range of desired light output will be
designed to be driven in parallel with the same matching            determined within which the driven LED circuits of the
forward voltage such as 12 VAC, 24 VAC , 120 VAC , or other         invention will perform whether or not additional or different
AC voltages level . Each multi-brightness single chip AC            LED circuits have been added or taken out of the driven
LED is designed to operate on at least one single circuit 40 circuit as a whole .
integrated within the multi -brightness single chip AC LED .      According to an aspect of the invention , an LED circuit
The multi-brightness single chip AC LED operates on a driver provides a relatively fixed voltage and relatively fixed
switch having at least two positions each of which is frequency AC output such as mains power sources . The LED
connected to at least one circuit within the multi -brightness circuit driver output voltage and frequency delivered to the
single chip AC LED .                                          45 LED circuit may be higher or lower than mains power
  It should be noted that " package ” or “ packaged ” is            voltage and frequencies by using an LED circuit inverter
defined herein as an integrated unit meant to be used as a          driver.
discrete component in either of the manufacture, assembly,         The higher frequency LED circuit inverter driver may be
installation , or modification of an LED lighting device or a electronic transformer, halogen or high intensity discharge
system . Such a package includes LED's of desired charac- 50 (HID ) lamp type driver with design modifications for pro
teristics with capacitors and or resistors sized relative to the viding a relatively fixed voltage as the LED circuit load
specifications of the chosen opposing parallel LED's to changes. Meaning if the LED circuit inverter driver is
which they will be connected in series and with respect to a designed to have an output voltage of 12V LED circuit
predetermined AC voltage and frequency.                          driver would provide this output as a relatively constant
   Preferred embodiments of a package may include an 55 output to a load having one or more than one LED circuits
insulating substrate whereon the LEDs , capacitors and or up to the wattage limit of the LED circuit driver even if LED
resistors are formed or mounted . In such preferred embodi- circuits were added to or removed from the output of the
ments of a package the substrate will include electrodes or LED circuit driver.
leads for uniform connection of the package to a device or     The higher frequency inverter having a relatively fixed
system associated with an AC driver or power source . The 60 voltage allows for smaller components to be used and
electrodes, leads , and uniform connection may include any provides a known output providing a standard reference
currently known means including mechanical fit, and / or High Frequency LED circuit driver.
soldering. The substrate may be such as sapphire, silicon          Prior art for single chip LED circuits, for example those
carbide, galium nitride, ceramics, printed circuit board mate- disclosed in 02004023568 and JP2004006582 do not pro
rial , or other materials for hosting circuit components.     65 vide a way to reduce the number of LEDs within the chip
   A package in certain applications may preferably also below the total forward voltage drop requirements of the
include a heat sink , a reflective material, a lens for directing   source . The present invention however, enables an LED



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circuit to be made with any number of LEDs within a single         16b and 16d, the circuit becomes a parallel circuit with a first
chip, package or module by using capacitors or RC networks         operating forward voltage . If only 16a and 16e are electri
to reduce the number of LEDs needed to as few as one single        cally connected and the AC voltage inputs are applied to
LEO . Improved reliability, integration, product and system        electrical contacts 16b and 16d, a second operating forward
scalability and solid state lighting design simplicity may be 5 voltage is required to drive the single chip 18. The single
realized with LED circuits and the LED circuit drivers.            chip 18 may also be configured to operate at more than one
Individual LED circuits being the same or different colors , brightness level “ multi-brightness " by electrically connect
each requiring different forward voltages and currents may ing       for example 160 and 16b and applying one side of the
be driven from a single source LED circuit driver. Each line of an AC voltage source to 16a ad 16b and individually
individual LED circuit can self- regulate current by matching 10 applying the other side of the line from the AC voltage
the capacitor or RC network value of the LED circuit to the source a second voltage to 26b and 26c .
known relatively fixed voltage and frequency of the LED            FIG . 2 discloses a schematic diagram of a multi -voltage
circuit driver whether the LED circuit driver is a mains and / or multi -brightness LED lighting device 20 similar to
power source , a high frequency LED circuit driver or other the multi - voltage and / or multi- brightness LED lighting
LED circuit driver capable of providing a relatively fixed 15 device 10 described above in FIG . 1. The at least two AC
voltage and relatively fixed frequency output.                   LED circuits 12 are integrated onto a substrate 22. The at
   According to other aspects of the invention , the LED least two AC LED circuits 12 configured in a imbalanced
circuit driver may be coupled to a dimmer switch that bridge circuit, each of which have at least two LEDs 14. The
regulates voltage or frequency or may have integrated at least two AC LED circuits have electrical contacts 16a ,
circuitry that allows for adjustability of the otherwise rela- 20 16b , 16c , and 16d on the exterior of the substrate 22 and can
tively fixed voltage and / or relatively fixed frequency output be used to electrically configure and /or control the operating
of the LED circuit driver. The LED circuits get brighter as voltage and / or brightness level of the multi -voltage and / or
the voltage and / or frequency of the LED circuit driver multi-brightness LED lighting device.
output is increased to the LED circuits .                           FIG . 3 discloses a schematic diagram of a multi -voltage
                                                               25 and / or multi-brightness LED lighting device 30 similar to
      BRIEF DESCRIPTION OF THE DRAWINGS                            the multi -voltage and /or multi -brightness LED lighting
                                                                   device 10 and 20 described in FIGS . 1 and 2. The multi
  FIG . 1 shows a schematic view of a preferred embodiment         voltage and / or multi-brightness LED lighting device 30
of the invention ;                                                 comprises at least two AC LED circuits 32 having at least
  FIG . 2 shows a schematic view of a preferred embodiment 30 two LEDs 34 connected in series and anti-parallel configu
of the invention;                                                  ration . The at least two AC LED circuits 32 have electrical
   FIG . 3 shows a schematic view of a preferred embodiment contacts 36a , 365 , 36c , and 36d at opposing ends to provide
of the invention ;                                              various connectivity options for an AC voltage source input.
   FIG . 4 shows a schematic view of a preferred embodiment For example, if 36a and 36c are electrically connected
of the invention ;                                           35 together and 365 and 36d are electrically connected together
   FIG . 5 shows a schematic view of a preferred embodiment and one side of the AC voltage input is applied to 36a and
of the invention ;                                              36c and the other side of the AC voltage input is applied to
   FIG . 6 shows a schematic view of a preferred embodiment 365 and 36d, the circuit becomes a parallel circuit with a first
of the invention;                                               operating forward voltage . If only 36a and 36c are electri
   FIG . 7 shows a schematic view of a preferred embodiment 40 cally connected and the AC voltage inputs are applied to
of the invention ;                                              electrical contacts 365 and 36d, a second operating forward
   FIG . 8 shows a schematic view of a preferred embodiment brightness
                                                                voltage is required
                                                                             lighting todevice
                                                                                          drive the
                                                                                                30. multi
                                                                                                     The -voltage and / or multi
                                                                                                          multi-voltage    and /or
of the invention ;
   FIG . 9 shows a schematic view of a preferred embodiment multi-brightness lighting device 30 may be a monolithically
of the invention ;                                           45 integrated single chip 38 , a monolithically integrated single
   FIG . 10 shows a schematic view of a preferred embodi- chip integrated within a LED package 38 or a number of
ment of the invention ;                                         individual discrete die integrated onto a substrate 38 to form
   FIG . 11 shows a schematic view of a preferred embodi- a multi -voltage and / or multi -brightness lighting device 30 .
ment of the invention ; and ,                                      FIG . 4 discloses a schematic diagram of the same multi
   FIG . 12 shows a schematic view of a preferred embodi- 50 voltage and /or multi-brightness LED device 30 as described
ment of the invention;                                          in FIG . 3 having the at least two AC LED circuits 32
                                                                connected in parallel configuration to an AC voltage source
       DETAILED DESCRIPTION OF PREFERRED                        and operating at a first forward voltage . A resistor 40 may be
                      EMBODIMENTS                               used to limit current to the multi - voltage and / or multi
                                                             55 brightness LED lighting device 30 .
   FIG . 1 discloses a schematic diagram of a multi -voltage       FIG . 5 discloses a schematic diagram of the same multi
and / or multi-brightness LED lighting device 10. The multi- voltage and / or multi-brightness LED device 30 as described
voltage and / or multi-brightness LED lighting device 10 in FIG . 3 having the at least two AC LED circuits 32
comprises at least two AC LED circuits 12 configured in a connected in series configuration to an AC voltage source
imbalanced bridge circuit, each of which have at least two 60 and operating at a second forward voltage that is approxi
LEDs 14. The at least two AC LED circuits have electrical          mately two times greater than the first forward voltage of the
contacts 16a , 166 , 16c , and 16d at opposing ends to provide     parallel circuit as described in FIG . 4. A resistor may be used
various connectivity options for an AC voltage source input.       to limit current to the multi - voltage and /or multi- brightness
For example, if 16a and 16c are electrically connected             LED lighting device.
together and 16b and 16d are electrically connected together 65 FIG . 6 discloses a schematic diagram of a multi -voltage
and one side of the AC voltage input is applied to 16a and and /or multi -brightness LED lighting device 50. The multi
16c and the other side of the AC voltage input is applied to       voltage and / or multi -brightness LED lighting device 50


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comprises at least two AC LED circuits 52 , each of which            can be monolithically integrated within a single chip or
have at least two LEDs 54 in series and anti -parallel relation .    discrete individual die can be integrated within a substrate to
The at least two AC LED circuits 52 have at least three              form an LED package 100. The LED package 100 has
electrical contacts 56a , 56b and 56c . The at least two AC          electrical contacts 102 that are used to wire the at least two
LED circuits 52 are electrically connected together in par- 5 series LEDs circuit into a series circuit, a parallel circuit or
allel at one end 56a and left unconnected at the opposing in anti -parallel to form an AC LED circuit all within a single
ends of the electrical contacts 56b and 56c . One side of an        LED package.
AC voltage source line is electrically connected to 56a and            What is claimed is :
the other side of an AC voltage source line is individually            1. An LED lighting device comprising:
electrically connected to 56b and 56c with either a fixed 10 a first operating LED circuit and at least one additional
connection or a switched connection thereby providing a                   LED circuit,
first brightness when AC voltage is applied to 56a and 56b                at least one of the first operating LED circuit or the at
and a second brightness when an AC voltage is applied to                       least one additional LED circuit including at least
56a , 56b and 56c . It is contemplated that the multi - voltage                two LEDs connected in either series or parallel, and
and / or multi-brightness LED lighting device 50 is a single 15           the at least one additional LED circuit being configured
chip, an LED package , an LED assembly or an LED lamp.                         to emit a different color light compared to the first
The multi - brightness switching capability ,                                  operating LED circuit ; and
   FIG . 7 discloses a schematic diagram similar to the                a switch capable of at least one of:
multi - voltage and / or multi -brightness LED device 50 shown            (a ) switching a voltage level input to at least one of the
in FIG . 6 integrated within a lamp 58 and connected to a 20                   first operating LED circuit or the at least one addi
switch 60 to control the brightness level of the multi-voltage                 tional LED circuit , or
and / or multi -brightness LED lighting device 50 .                       ( b ) switching the at least one additional LED circuit on
   FIG . 8 discloses a schematic diagram a multi -brightness                   or off,
LED lighting device 62 having at least two bridge rectified            wherein ( a) or (b ) is selectable by a user switching the
68 series LED circuits 69. Each of the at least two bridge 25             switch , and
rectified 68 series LED circuits 69 that are connected to and          wherein the LED lighting device is configured to connect
rectified with an LED bridge circuit 68 comprising four                   to an AC voltage power source .
LEDs 70 configured in a bridge circuit 68. The at least two            2. The LED lighting device of claim 1 , wherein the switch
bridge rectified 68 series LED circuits 69 have at least two has at least two positions .
LEDs 71 connected in series and electrical contacts 72a , 720 30 3. The LED lighting device of claim 1 , wherein the
and 72c . When one side of an AC voltage is applied to 72a switching of the switch provides at least two different DC
and the other side of an AC voltage line is applied to 72b and forward voltages to at least one of the first operating LED
72c individually , the brightness level of the multi -brightness circuit or the at least one additional LED circuit .
LED lighting device 62 can be increased and / or decreased I           4. The LED lighting device of claim 1 , wherein the switch
a fixed manner or a switching process .                          35 is connected between the AC voltage power source and the
   FIG.9 discloses a schematic diagram the multi-brightness LED lighting device .
LED lighting device 62 as shown above in FIG . 8 with a                5. The LED lighting device of claim 1 , wherein the
switch 74 electrically connected between the multi -bright- switching of the switch changes light output of the LED
ness LED lighting device 62 and the AC voltage source 78 . lighting device .
   FIG . 9 discloses a schematic diagram of at least two single 40 6. The LED lighting device of claim 1 , wherein the AC
voltage LED circuits integrated with a single chip or within voltage power source includes one of at least two different
a substrate and forming a multi -voltage and / or multi-bright- AC voltage power sources .
ness LED device .                                                      7. The LED lighting device of claim 1 , further comprising
   FIG . 10 discloses a schematic diagram of a single chip a driver electrically coupled to the switch and at least one of
LED bridge circuit 80 having four LEDs 81 configured into 45 the first operating LED circuit or the at least one additional
a bridge circuit and monolithically integrated on a substrate LED circuit .
82. The full wave LED bridge circuit has electrical contacts           8. An LED lighting device comprising:
86 to provide for AC voltage input connectivity and DC                 a first operating LED circuit and at least one additional
voltage output connectivity.                                              LED circuit,
   FIG . 11 discloses a schematic diagram of another embodi- 50           at least one of the first operating LED circuit or the at
ment of a single chip multi -voltage and / or multi -brightness                least one additional LED circuit including at least
LED lighting device 90. The multi -voltage and / or multi                      two LEDs connected in either series or parallel, and
brightness LED lighting device 90 has at least two series                 the at least one additional LED circuit being configured
LED circuits 92 each of which have at least two LEDs 94                        to emit a different color light compared to the first
connected in series . The at least two series LED circuits 92 55               operating LED circuit ; and
have electrical contacts 96 at opposing ends to provide a              a switch capable of at least one of:
means of electrical connectivity. The at least two series LED             (a) switching a brightness level of at least one of the
circuits are monolithically integrated into a single chip 98 .                 first operating LED circuit or the at least one addi
The electrical contacts 96 are used to wire the at least two                  tional LED circuit , or
series LEDs circuit 92 into a series circuit, a parallel circuit 60       (b ) switching the at least one additional LED circuit on
or an AC LED circuit all within a single chip .                                or off,
   FIG . 12 discloses a schematic diagram of the same                  wherein ( a) or (b ) is selectable by a user switching the
multi - voltage and / or multi-brightness LED lighting device             switch, and
90 as shown above in FIG . 11. The multi-voltage and /or               wherein the LED lighting device is configured to connect
multi -brightness LED lighting device 90 has at least two 65              to an AC voltage power source .
series LED circuits 92 each of which have at least two LEDs            9. The LED lighting device of claim 8 , wherein the switch
94 connected in series. The at least two series LED circuits         has at least two positions .



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  10. The LED lighting device of claim 8 , wherein the              a switch capable of at least one of:
switching of the switch provides at least two different DC             (a ) switching a voltage level input to at least one of the
forward voltages to at least one of the first operating LED                 first operating LED circuit or the at least one addi
circuit or the at least one additional LED circuit .                       tional LED circuit , or
   11. The LED lighting device of claim 8 , wherein the 5              ( b ) switching the at least one additional LED circuit on
switch is connected between the AC voltage power source                    or off,
and the LED lighting device .                                       wherein (a ) or (b ) is selectable by switching the switch ,
   12. The LED lighting device of claim 8 , wherein the                and
switching of the switch changes light output of the LED 10          wherein      the LED lighting device is configured to connect
lighting device .                                                      to an AC voltage power source .
   13. The LED lighting device of claim 8 , wherein the AC          16. The LED lighting device of claim 15 , wherein the
voltage power source includes one of at least two different switch has at least two positions .
AC voltage power sources .                                          17. The LED lighting device of claim 15 , wherein the
                                                                 switching of the switch provides at least two different DC
   14. The LED lighting device of claim 8 , further compris 15 forward
ing a driver electrically coupled to the switch and at least one circuit orvoltages
                                                                               the  at
                                                                                        to at least one of the first operating LED
                                                                                       least one additional LED circuit .
of the first operating LED circuit or the at least one addi         18.   The    LED    lighting device of claim 15 , wherein the
tional LED circuit .
   15. An LED lighting device comprising:                        switch is connected between the AC voltage power source
   a first operating LED circuit and at least one additional 20 and19.theThe LED lighting device .
                                                                                 LED lighting device of claim 15 , wherein the
      LED circuit ,
                                                                 switching of the switch changes light output of the LED
      at least one of the first operating LED circuit or the at lighting
         least one additional LED circuit including at least                 device.
                                                                    20. The LED lighting device of claim 15 , wherein the AC
         two LEDs connected in either series or parallel, and voltage
      the at least one additional LED circuit being configured               power source includes one of at least two different
       to emit a different color light compared to the first 25 AC voltage power sources.
       operating LED circuit ; and




                                                      Appx0101
